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 1                      UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA
 2

 3   UNITED STATES OF AMERICA, )
                               )
 4          Plaintiff,         )
                               )
 5   vs.                       )          CASE NO. 3:19-cr-00003-RRB
                               )
 6   TRISTAN GRANT,            )
                               )
 7          Defendant.         )
     __________________________)
 8

 9
             TRANSCRIPT OF TRIAL BY COURT, TRIAL DAY 1
10    BEFORE THE HONORABLE RALPH R. BEISTLINE, DISTRICT JUDGE
                     April 12, 2021; 8:46 a.m.
11                       Anchorage, Alaska

12

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22   ________________________________________________________

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25        Transcript Produced from the Stenographic Record




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 1               (Call to Order of the Court at 8:46 a.m.)

 2               DEPUTY CLERK:      All rise.     His Honor, the Court,

 3   the United States District Court for the District of

 4   Alaska is now in session, the Honorable Ralph R.

 5   Beistline presiding.

 6               Please be seated.

 7               THE COURT:     Good morning.      Are we ready to go?

 8   Everybody looks good.        Is the government ready?

 9               MR. REARDON:      The United States is ready to

10   proceed, Your Honor.

11               THE COURT:     Is the defense ready?

12               MR. WENDT:     We are.

13               THE COURT:     We're going to have opening

14   statements briefly from the government.

15               MR. REARDON:      The United States --

16               DEPUTY CLERK:      Would you like me to call the

17   case?

18               THE COURT:     Go ahead and call the case.

19               DEPUTY CLERK:      We're on record in United States

20   of America versus Tristan Grant, Case Number

21   3:19-criminal-3-RRB.

22               Counsel, if you will please identify yourselves

23   for the record.

24               MR. REARDON:      Good morning, Your Honor.           Kyle

25   Reardon and Jennifer Ivers for the United States.




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 1               MR. WENDT:     James Wendt for Mr. Grant.

 2               THE COURT:     And we have Mr. Grant.

 3               MR. REARDON:      Your Honor, four things this

 4   morning.     First, the government has elected not to give

 5   an opening statement.        We filed a trial brief that was

 6   fairly detailed and so we're not going to do an opening

 7   statement.

 8               One of the government's subpoenaed witnesses

 9   was Julissa Carter.        The United States has elected not

10   to call her.      However, after speaking with Mr. Wendt on

11   Friday and then again this morning, we have kept her

12   under subpoena because she is a possible defense

13   witness.     We have excused her today and asked her to

14   come back tomorrow.

15               As it relates to Ms. Carter, when she arrived

16   this morning, she expressed some concern about needing

17   to speak with a lawyer.         She was previously involved in

18   a federal case that has since been dismissed.               She was

19   represented in that case by John Murtagh.              The advice we

20   gave her, again, with Mr. Wendt present, was to contact

21   Mr. Murtagh this morning if she has any concerns.                 And

22   so we may be coming back to Your Honor with a request to

23   appoint Mr. Murtagh for purposes of advising her, but

24   we'll keep the Court advised as to that issue.

25               THE COURT:     I have no problem with appointing




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 1   Mr. Murtagh if he's willing, but my understanding is you

 2   weren't going to call her anyhow.

 3               MR. REARDON:      We were not, but it's a defense

 4   witness.     I have provided to Mr. Wendt a copy of the

 5   stipulations that were agreed to previously.               I have

 6   signed them, and I'm asking Mr. Wendt and his client to

 7   sign those.      And if they are agreeable and if they are

 8   signed, then we will file them with the Court.

 9               And then finally, I don't know if the Court saw

10   her not, Mr. Wendt filed his speedy trial motion

11   yesterday.     The United States has not obviously had a

12   chance to respond, and, again, it's our understanding,

13   consistent with the Court's prior order on this issue,

14   that we will be ordered to file a response, if

15   necessary, at the conclusion of the trial.

16               THE COURT:     Well, I would say just respond in

17   due course.      You should obviously respond to it in due

18   course.

19               MR. REARDON:      If the defendant is aquitted,

20   then it becomes moot.        We will respond in due course.

21   Those are the four issues that the United States had

22   prior to beginning the trial.

23               THE COURT:     Thank you.     Mr. Wendt?

24               MR. WENDT:     As far as opening statement, we

25   would like to reserve our opening statement until the




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 1   the conclusion of the government case at the beginning

 2   of the defense case.

 3               THE COURT:     Did you take care of those

 4   stipulations?

 5               MR. WENDT:     My client is reading the

 6   stipulations now.       I received them some time ago.             I

 7   remember talking to Mr. Reardon that there was no

 8   problem with them.        I think they are relatively generic.

 9               Candidly, I don't remember if I told my client

10   about them.      I thought I did, but it's possible he is

11   seeing them for the first time and he's looking them

12   over right now.

13               THE COURT:     Do you need some time?

14               THE DEFENDANT:      Yes, sir.

15               THE COURT:     How long do you need?

16               THE DEFENDANT:      Five minutes.

17               THE COURT:     Give him five minutes, and then the

18   government should be ready with your --

19               MR. REARDON:      Your Honor, if I could put on the

20   record what our witness order is expected to be.                  The

21   first witness will be Dr. Sharon Cooper.              The second

22   witness will be Ajela Banks.          The third witness today

23   will be Officer Seth McMillan from APD.             The fourth

24   witness, if we get that far, is expected to be FBI

25   Special Agent Lisa Watson.




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 1               THE COURT:     Let's take a five-minute recess so

 2   Mr. Grant can take a look at that stipulation, and when

 3   you're ready, we'll come back.

 4               DEPUTY CLERK:      All rise.     The court now stands

 5   in a brief recess.

 6               (Recessed from 8:50 a.m. to 8:59 a.m.)

 7               DEPUTY CLERK:      His Honor, the Court, the United

 8   States District Court is again in session.

 9               Please be seated.

10               THE COURT:     Okay.    Where are we, Counsel?

11   Mr. Wendt?

12               MR. REARDON:      Your Honor, the stipulations have

13   been signed.      We're having copies made and we will get

14   those filed and a copy delivered to Your Honor.

15               That is all we have from the United States.               I

16   believe Mr. Wendt has an issue he would like to raise.

17               THE COURT:     Mr. Wendt?

18               MR. WENDT:     Yes, Your Honor.       We will be

19   presenting a mistake of age defense, and the government

20   is aware of that, there's not a problem with that.

21               Also, speaking with my client, he wants to ask

22   to continue this trial.

23               THE COURT:     Okay.

24               MR. WENDT:     There is a witness outside who has

25   flown from North Carolina, an expert witness, and we are




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 1    willing to have her testify today so she doesn't have to

 2    come back.     My understanding is she is here.           The

 3    expert, Dr. Cooper, is here.          With an expert in kind of

 4    sex trafficking to educate the Court on that, we have no

 5    problem with her testifying today.

 6               I believe all the other witnesses are local.

 7    And my client feels he needs more time now to spend with

 8    me and to go over some of the discovery.             He hasn't seen

 9    all of the discovery, but he's seen most -- the vast

10    majority of it, but he needs to go through all the

11    discovery.

12               And he has some witnesses that he would like to

13    discuss with me.       So he's asked to have this continued,

14    I think, for approximately a month.            Is that right?

15    Approximately one month.

16               THE COURT:      Very well.     Mr. Reardon?

17               MR. REARDON:      Your Honor, the government is

18    opposed to a continuance.         As Mr. Wendt says, we have

19    called a witness from North Carolina.            She will testify

20    this morning.      I understand he's going to accommodate

21    that, but she is not the only witness who is impacted by

22    this trial.

23               The government's first witness is a witness who

24    has a matter pending before Judge Gleason.              Resolution

25    of that matter is dependent upon her testimony here




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 1    today.    There are also two victims who have been waiting

 2    to testify.     Continuing the case would impact those

 3    victims causing them further stress and anxiety as they

 4    wait to testify against the man the government has

 5    accused of being their the victimizer.

 6               In addition, Your Honor, the Court is well

 7    aware of the fact that for a substantial period of time,

 8    as detailed in the defendant's motion filed last night,

 9    he has been demanding to go to trial at the earliest

10    possible opportunity, and yet here we are and he wants a

11    continuance.

12               I would note for the record when it comes to

13    discovery, according to a letter that the government

14    obtained written by the defendant to Marika Alex, who

15    will be a witness in this trial as well, written on

16    November 24th of 2020, included in that letter was a

17    letter from Mr. Scott Dattan, who was the defendant's

18    original attorney, from June 27th of 2019.              This came

19    into the United States' possession because it was sent

20    by the defendant to Ms. Alex and Ms. Alex provided it to

21    to us.

22               At that point, he had six DVDs of discovery in

23    his possession.      In reviewing what had been produced on

24    June 27th of 2019, there was approximately 6500 pages of

25    discovery, to include statements from the defendant,




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 1    from Ms. Banks, from Ms. Carter, from the victims, not

 2    the entirety of their statements, some of that material

 3    was withheld for Jenks purposes and to protect their

 4    identity, but he had 6500 pages of discovery at that

 5    time.

 6               According to DOC records, the defendant,

 7    between February 25th of 2020 and January 10th of 2021,

 8    he asked to review his discovery on seven occasions:

 9    February 25th, February 29th of 2020, March 6th,

10    March 13th, August 22nd, December 20th and January 10th.

11               After that, there was a hearing in which the

12    defendant sought to be released from Ms. Carter.                  The

13    defendant's release was denied, but Judge Scoble ordered

14    that he be granted up to four hours a day of discovery

15    review time.

16               After being -- after the marshals were ordered

17    to provide that, the records show that the defendant

18    reviewed his discovery between February 4th and

19    February 15th.      He reviewed it twice on February 4th,

20    and then on the 5th, 6th, 7th, 8th, 9th and 10th, he

21    refused, according to DOC notes.           He reviewed again on

22    February 11th, and then did not ask to see his discovery

23    on the 12th, 13th, 14th, 15th or 16th.

24               And then finally, Your Honor, as it relates to

25    the defendant's demand to see discovery or be prepared




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 1    because he hasn't seen discovery, this defendant was

 2    then, after given the four hours by Judge Scoble, he was

 3    then ordered released -- ordered to be released on day

 4    passes for three days prior to the start of the last

 5    trial.    The purpose of that was to allow him to meet

 6    with his attorney and prepare.

 7                The defendant chose after the first day to

 8    abscond, escape, run away, not return to the jail.                 And

 9    so his demands now on the day of trial that he has been

10    asking for for over a year appear to the government to

11    be nothing more than a game to attempt to delay the

12    inevitable.

13                We would ask the Court to deny his motion to

14    continue.

15                THE COURT:     Thank you.     The Court, and I think

16    the parties, have bent over backwards to try to attempt

17    to accommodate defendant's various requests.              He's had

18    three different defense counsel appointed.              He's had

19    many opportunities to review discovery.             He's been

20    released even on one occasion to meet with counsel and

21    he absconded on that occasion.

22                It's the Court's view that defendant is

23    attempting to manipulate the system.            The Court is

24    concerned about the welfare and availability of

25    witnesses.     I think it would be abuse of discretion to




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 1    continue this matter at this time, and certainly would

 2    not be in the interest of justice.

 3               THE DEFENDANT:        Can I speak?

 4               THE COURT:      No.     So --

 5               THE DEFENDANT:        It's my trial.

 6               THE COURT:      So I deny the motion.

 7               Are you ready for your first witness?

 8               MS. IVERS:      Yes, Your Honor.       We're ready.

 9               If I remember correctly, are we to stay seated?

10               THE COURT:      Yes, I think that's what the

11    protocol requires.

12               MS. IVERS:      If we're ready, the United States

13    would like to call Dr. Sharon Cooper.

14               THE COURT:      Okay.     Very well.

15               THE DEFENDANT:        Your Honor, can I speak?

16               THE COURT:      I'm going to let your attorney

17    speak on your behalf.

18               THE DEFENDANT:        I'm trying to speak on my

19    behalf.    This man just lied.

20               THE COURT:      That telephone is for you to speak

21    to your attorney with.        If you want to talk to your

22    attorney, you can speak to your attorney through

23    recesses and breaks, but we need to keep this matter

24    moving.

25               THE DEFENDANT:        I'm trying to speak about this




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 1    continuance.     My rights are being violated.           I haven't

 2    seen none of my discovery.

 3                THE COURT:     I understand, sir, but I have

 4    already ruled on that issue.

 5                THE DEFENDANT:      I ain't going through with this

 6    trial, bro, for real.        You all ain't about to railroad

 7    me like this without seeing none of my shit.              This is

 8    not fair.     I have a Fifth Amendment right and a Sixth

 9    Amendment right to have counsel, to see my counsel and

10    to go through my discovery, and I haven't seen none of

11    it.     I seen six fucking disks.       I ain't seen none of

12    this.

13                THE COURT:     Good morning, ma'am.

14                THE DEFENDANT:      What the fuck is --

15                THE COURT:     Just one second.

16                Sir, I understand that this is --

17                THE DEFENDANT:      Come on.     When he wanted a

18    continuance, he got all of those continuance.               When I

19    want a continuance, it's a problem.            Yeah, I wanted to

20    go to trial, but I didn't want to go to trial and get

21    railroaded like this.        I have been asking to see my

22    discovery for two and a half years.

23                He gave me this discovery the last time and

24    then give me a protective order.           Now I can't see it.

25    Come on, man.




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 1               THE COURT:      Here is the deal, if you want to

 2    attend the trial, you're going to have to be quiet.

 3    Otherwise, you're going to have to attend remotely.

 4               THE DEFENDANT:       I don't have to attend.           I got

 5    a right to ask for a continuance.           You denied me my

 6    continuance.

 7               You ain't even let me reserve my right to state

 8    why this is a violation.         This is a Fifth Amendment and

 9    Sixth Amendment violation.

10               THE COURT:      All right.     Can we swear the

11    witness in, please.

12               THE DEFENDANT:       Pussy-ass shit, man.

13               (Oath administered to the witness)

14               DEPUTY CLERK:      For the record, can you please

15    state and then spell your full name.

16               THE WITNESS:      My name is Sharon Cooper.

17               THE COURT:      Speak loud.

18               THE WITNESS:      My name is Sharon Cooper.

19               THE COURT:      You have a soft voice.

20               THE WITNESS:      S-h-a-r-o-n, C-o-o-p-e-r.

21               DEPUTY CLERK:      Thank you.

22               THE COURT:      Okay, Counsel.

23               MS. IVERS:      Yes, Your Honor.

24              SHARON COOPER, GOVERNMENT WITNESS, SWORN

25                            DIRECT EXAMINATION




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 1    BY MS. IVERS:

 2       Q.    Dr. Cooper, welcome.

 3             What is your occupation?

 4       A.    I'm a developmental and forensic pediatrician.

 5       Q.    Please explain those words.          "Developmental" and

 6    "forensic," what do those mean?

 7       A.    A developmental pediatrician has extra training

 8    in the area of pediatrics for children and adolescents

 9    who have any type of developmental problems:              Learning

10    disabilities, attention deficit hyperactivity disorder,

11    autism, and who may therefore require medical management

12    for those particular problems.

13             A forensic pediatrician is a pediatrician who

14    works in the field of child maltreatment and all types

15    of other versions of child maltreatment, such as sexual

16    exploitation.

17       Q.    Within that area of forensic pediatrics, do you

18    have a specific area of expertise?

19       A.    Yes, I do.

20       Q.    What is that area?

21       A.    I work specifically in the area of child sexual

22    exploitation.

23       Q.    How long have you been studying child sexual

24    exploitation?

25       A.    I began studying it in 1998 when I was approached




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 1    by the United States Postal Inspection Service asking me

 2    to facilitate training for USPIS inspectors who were for

 3    the first time starting to get digital images on the

 4    internet and trying to have to ascertain the likely age

 5    of the children that were in those images.

 6               And from that particular time, as far as child

 7    sexual exploitation is concerned, I have continued to

 8    work nonstop to the present.

 9                 COURT REPORTER:       Your Honor, does the witness

10    have to wear the plastic shield?           I'm having difficulty

11    hearing.

12                 THE COURT:     Are you comfortable wearing a

13    regular mask instead of that shield?

14                 THE WITNESS:     I can, sir.

15                 THE COURT:     Let's give it a try.

16                 COURT REPORTER:       Thank you, Your Honor.

17                 THE COURT:     I was just waiting for you to speak

18    up.

19                 MS. IVERS:     Just for the record, Ms. Cooper has

20    switched from a face shield to a facemask --

21                 THE COURT:     Yes.

22                 MS. IVERS:     -- so that the court reporter can

23    hear her better.

24    BY MS. IVERS:

25          Q.   So we'll get back to your sort of history of




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 1    studying child sexual exploitation in a few minutes.

 2             Can you please explain your educational

 3    background, Dr. Cooper?

 4       A.    Yes.   I got my bachelor's degree from Fisk

 5    University, and I went to medical school at Meharry

 6    Medical College in Nashville, Tennessee.

 7             Then I volunteered and joined the Army, and did

 8    my internship and residency at Tripler Army Medical

 9    Center in Honolulu, Hawaii.          When I finished that

10    training, I began the rest of a military career.

11             But relevant to this issue, after I finished my

12    internship and residency, I was assigned to another

13    medical center in San Francisco, but most importantly

14    was given the tasking of becoming the child abuse

15    physician at that installation for the next three years.

16             And because of that initial training in child

17    maltreatment, the remainder of my 22-year career in the

18    military was always associated with seeing and caring

19    for child abuse cases at all of the subsequent

20    installations where I was assigned.

21             When I had finished my fellowship in

22    developmental pediatrics, which was between '84 and '86,

23    and I had become the chief of the developmental

24    pediatric service back again at Tripler in Hawaii for

25    the next five years, the Army Medical Education




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 1    Department approached me and talked to me about becoming

 2    a trainer and an instructor for all branches of the

 3    military with respect to child maltreatment.

 4             In keeping with that particular component of my

 5    duties, I was provided a significant amount of

 6    particularly federal training by the FBI, the Department

 7    of Justice, and other federal agencies, because all

 8    military installations are federal jurisdictions, and so

 9    we were not bound by state rules as much as we were

10    bound by federal rules.

11             I became a team member of a deployable team

12    worldwide for any type of significant child abuse,

13    sexual abuse, sexual exploitation involving multi

14    victims.    So a coach on a military installation who had

15    sexually abused multiple children, may have taken

16    pictures, things of that nature were the kinds of cases

17    that I had to work in prior to my retirement from the

18    military.

19             In 1990, I was assigned to my last military

20    assignment, which was Fort Bragg, and I was the chief of

21    pediatrics at Fort Bragg, which has the largest

22    pediatric population in the Army; nearly 47,000 children

23    that we were responsible for.

24             And in that position, not only was I responsible

25    for all aspects of all pediatric care that was provided




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 1    for the next seven years at the installation, but I also

 2    became more of a trainer for the Army, Navy, Air Force

 3    and Marine Corps with respect to the issues of child

 4    sexual abuse, child sexual exploitation.

 5              I retired in 1997 and started my own corporation,

 6    Developmental and Forensic Pediatrics, which is

 7    incorporated in the state of North Carolina, and began

 8    to see patients as a civilian, but also then began to

 9    see patients outside of North Carolina.             I began to see

10    patients around the United States who were victims of

11    crime.

12              And because of that, the Department of Justice

13    sent me to Europe for a major training, a conference

14    that was held on child sexual exploitation involving

15    abusive images.      In those days, these were still called

16    child pornography images.

17              And I began to network with many agencies that

18    worked in that particular field.           And within that

19    relationship, was invited to the National Center for

20    Missing and Exploited Children.           That occurred in the

21    beginning of 2000.       And I was asked to provide training

22    on sexual maturation for images so that we could discern

23    whether these looked like children, teenagers, et

24    cetera.

25              And I began to -- they asked me to become an




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 1    instructor for them after I had taken all of their

 2    courses.     They had 40-hour courses for prosecutors,

 3    judges, investigators, victims advocates, et cetera.

 4              And I made specific recommendations in two of

 5    their courses.      One had to do with child abuse images or

 6    the child pornography course, as it was called then.

 7    And also the sex trafficking course, because in the sex

 8    trafficking course, which was a 40-hour course, there

 9    was very little information regarding victims.               The

10    majority of the course was focused on offender behavior,

11    investigations, trial strategy and things of that

12    nature.

13              So consequently, after I had become a trainer in

14    that area, we would have -- I taught about four times a

15    year specifically in sex trafficking victimization

16    starting around 2003, and taught until about 2017.                 We

17    were teaching on the average of 80 to 90 students per

18    class, and there were usually three classes a year.

19              So I had the opportunity to teach and learn from

20    thousands actually of investigators who had worked

21    already in this particular area because most of the

22    attendees to this training were undercover vice agents.

23    They were individuals who had already been working in

24    trafficking circumstances and were now beginning to

25    understand some of the nature of victim impact.




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 1             I continued to train not only in the United

 2    States, but I also trained for INTERPOL, international

 3    police agency, in fact.         The North American Chapter of

 4    INTERPOL asked me to write the chapter in their handbook

 5    on child sexual exploitation, which I did.

 6             I have also been the lead author of some books,

 7    the most significant of which is a two-volume set of

 8    books from 2005 and 2007 called The Medical, Legal and

 9    Social Science Aspects of Child Sexual Exploitation,

10    which was seen as one of the most comprehensive

11    textbooks in the United States on this particular

12    subject.

13       Q.    You mentioned that you retired from the military.

14    What was your rank when you retired?

15       A.    I retired as a full Colonel.

16       Q.    And so you currently -- are you still working in

17    the private practice office that you established after

18    you retired?

19       A.    Yes, I do.

20       Q.    And are you currently affiliated with any

21    universities?

22       A.    Yes.   I am adjunct professor of pediatrics at the

23    University of North Carolina Chapel Hill.

24       Q.    Are you a board certified physician?

25       A.    Yes, I am, in pediatrics.         Yes.




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 1       Q.    Are you licensed to practice?

 2       A.    Yes, I am, in the state of North Carolina.

 3       Q.    Okay.   Are you a member of any professional

 4    organizations?

 5       A.    Yes, I am.     I am a board member of the Academy on

 6    Violence and Abuse.       I'm a past board member of the

 7    American Society on Prevention of Abuse to Children.                       I

 8    am a board member for the National Center for Missing

 9    and Exploited Children.         And I am a board member for the

10    MACE Foundation, which is a foundation on maternal

11    adverse childhood experiences.

12       Q.    Have you received any awards in the course of

13    your work on child exploitation?

14       A.    I have been honored in several locations.                I

15    received the Outstanding Speaker and Contributor Award

16    in Los Angeles, California from the ICAN Organization,

17    which is its interstate organization on advocacy and

18    child maltreatment.

19             I received a Congressional award when I retired

20    from the Army.      It's called a Legion of Merit.           It

21    requires Congressional approval.           I've received some

22    other citations over the years for the work that I have

23    done.

24       Q.    You mentioned that you started becoming

25    interested in child sexual exploitation in around 1998.




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 1    Is that still your primary focus in your work?

 2       A.     Yes, it is.

 3       Q.     When you say "child exploitation," what kind of

 4    categories are we talking about here?

 5       A.     There is several different types of child sexual

 6    exploitation.      Child abuse images or child sexual abuse

 7    images.     Some systems refer to this as child sexual

 8    abuse material, is what we used to called child

 9    pornography.

10              We do not call it child pornography anymore

11    because the term pornography infers voluntary modeling

12    and consent, and we're talking about children.               So now

13    the term that the National Center for Missing and

14    Exploited Children and other agencies worldwide use are

15    either child sexual abuse material, CSAM, or child

16    sexual abuse images, CSAI.

17              A second type of child sexual exploitation

18    includes the sex trafficking of children.             That term is

19    probably the most universally used term, but it used to

20    be referred to as the commercial sexual exploitation of

21    children, CSEC, which was a term given to use by

22    Dr. Richard Estes from the University of Pennsylvania

23    School of Social Work.

24              And CSEC is an internally accepted term to this

25    moment.     I'm on a European organization, not board, but




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 1    staff with respect to training in 57 countries, and they

 2    refer to the sexual exploitation of children from

 3    trafficking internationally as CSEC crimes.              So you will

 4    almost always see that terminology.

 5             We also have the issue of ICT.          A lot of alphabet

 6    soup in this, but ICT crimes against children means

 7    information and communication technology, ICT,

 8    information and communication technology crimes against

 9    children.     This entails online grooming, something that

10    we used to refer to as cyber enticement cases, but they

11    are often online grooming and online marketing, which is

12    the opposite of grooming, but facilitates a wider

13    diaspora of buyers, for example, in children who are

14    being marketed online.

15             There is also the intrafamilial trafficking of

16    children, families who are selling their own children

17    for many reasons.       There is cyber extortion, and

18    sextortion is what it's frequently referred to where you

19    have blackmail of children into producing typically

20    abusive images through the use of spyware, et cetera.

21             We also have cyber enticement, cyber harassment.

22    And the other most recent type of child sexual

23    exploitation is referred to as Pay Per View.              This is

24    live streaming sexual abuse of children often in foreign

25    countries with individuals who would be called sex




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 1    tourists if they had traveled outside our country, but

 2    are now looked upon as sex tourists remotely because

 3    they are in the United States but paying money to

 4    traffickers outside the United States so that they can

 5    look at children performing sexual acts on demand.                So

 6    this is one of the most recent new types of child sexual

 7    exploitation.

 8       Q.    Let's focus on commercial sexual exploitation,

 9    child sex trafficking.        Are those essentially synonyms?

10       A.    Yes, they are.

11       Q.    Have you reviewed research and literature written

12    on child sex trafficking or on sex trafficking of adults

13    as well?

14       A.    Yes, I have.     I repeat that kind of information

15    every week, yes.

16       Q.    Please explain to us what kinds of literature and

17    research is out there.

18       A.    The majority of research that I stay abreast of

19    is health based because I'm a physician, and information

20    regarding how to detect survivors who come into

21    healthcare systems, that's one category.

22             But another important category is the category of

23    assessment of survivors.         And probably one of the most

24    commonly cited papers that I usually mention is an

25    article called The Garden of Truth, which is research on




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 1    100 indigenous women in Minnesota, all of who were

 2    trafficking victims, sex trafficking victims.               And the

 3    reason that I tend to really refer to that article

 4    frequently is because out of all the articles that I

 5    have read, it has the most simplistic and clear

 6    definition of the difference between prostitution and

 7    sex trafficking.

 8             That is a frequent point of confusion for

 9    individuals.     It helps us to understand based upon their

10    evaluation of these more than 100 indigenous women and

11    the long-term outcomes.         And by the way, the researchers

12    of that documentary are very well-known and respected

13    researchers from the United States.

14             What they help us to understand is that

15    prostitution is the exchange of sex, typically for

16    money, influence, or other desired things between two

17    consenting adults.       They must be adults and it must be

18    consent, and, therefore, there is no force, fraud,

19    coercion, et cetera, then no longer considered

20    prostitution.

21             And trafficking, on the other hand, entails

22    third-party control.        So if you have a minor or an adult

23    who is exchanging sex for money, influence, drugs or

24    anything else, and they do not get to keep that money,

25    that money goes to a third-party, that is the definition




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 1    of trafficking, for the general population, as compared

 2    to the federal definition, which, of course, always has

 3    recruitment, enticement, obtaining, harboring, provision

 4    of and transporting minors and/or adults for commercial

 5    sexual acts, for which force, fraud and coercion are

 6    required if they are an adult, but not so if they are

 7    minors.

 8       Q.     In addition to this literature and research

 9    that's done by others that you keep up with, have you

10    also reviewed first-person narratives written by

11    traffickers themselves?

12       A.     Yes, I have.    Generally speaking, I try to keep

13    abreast of the literature.         There is popular literature

14    written by self-professed traffickers.             I have probably

15    12 or more books that have been written on how to be a

16    trafficker, how to exploit others, what to look for in

17    others in order to be able to be successful.

18              And some of these are self-published and some of

19    them are published by the publishers, by recognized

20    publishers, but this is not an uncommon topic that can

21    be found available.

22       Q.     You mentioned I think previously that you have

23    been both a trainer and received training in the area of

24    child exploitation.       Have you also received training

25    specifically with regard to trafficking of minors and




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 1    adults?

 2       A.     Yes, very much so.      I have received training by

 3    the FBI.     I have been -- I received training by

 4    INTERPOL.     I have also received training through In

 5    Hope.     In Hope is an international organizational of

 6    hotlines where the national center is an example of one

 7    of those hotlines.

 8              And the National Center for Missing and Exploited

 9    Children, which I'll just call NCMEC -- everybody calls

10    it that just to shorten that -- has these hotlines where

11    many people make reports of witnessing or seeing online

12    some indication of a minor that is being sold.               And so I

13    receive ongoing training from those kinds of

14    organizations as well as continue to stay abreast of new

15    changes with respect to victimization.

16       Q.     And how long have you been involved in the

17    trafficking part of child exploitation?

18       A.     It started about 2002 of this century.

19       Q.     I think you mentioned that you have personally

20    interviewed trafficking victims as part of your

21    practice?

22       A.     Yes, I have.    I have interviewed about 100, a

23    little bit more than 100 victims.

24       Q.     Does that include -- are we talking mostly minor

25    victims, all minor victims?




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 1       A.     No, they are not all minor victims, but I would

 2    say 80 percent are minors, 20 percent are adults, but

 3    the majority of even the adults were brought into

 4    victimization when they were minors.

 5       Q.     Okay.   Have you also reviewed clinical studies

 6    about sex trafficking?

 7       A.     Yes, I have.    There is quite a bit of information

 8    now for physicians on how to understand the nature of

 9    the medical problems that we see in sex trafficking

10    victims.     We now know that there are four categories of

11    medical problems we should be looking for.

12              One has to do with physical violence.           If the

13    victims are adults, this would fall under the incident

14    crimes of violence kinds of injuries that you often see.

15    If the victims are children, they are also injuries that

16    we would consider battering injuries.

17              The second category has to do with drug use and

18    misuse and the fact that many victims are either coerced

19    to use drugs or drugs are facilitated as far as being

20    available to victims in order to maintain control of the

21    victim.     And also sometimes victims will begin to seek

22    the use of drugs in order to cope with what they are

23    having to deal with, having multiple sexual encounters

24    and sometimes assaults daily.

25              The third category has to do with the physical




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 1    health impact from a genital/urinary perspective:

 2    Sexually transmitted infections, lots of genital trauma,

 3    internal trauma, anal trauma, et cetera.

 4             And then the fourth category of medical problems

 5    that we see in the trafficking population, sex

 6    trafficking population is psychological.             And we know

 7    that the three most common diagnoses will be anxiety,

 8    depression and posttraumatic stress disorder, but recent

 9    literature since 2016 has helped us to recognize that if

10    children were already abused and in foster care

11    settings, out-of-home care a lot during their younger

12    years before they were brought in as trafficking

13    victims, the kind of PTSD they are going to experience

14    is more likely to be called complex PTSD.

15             And the literature tells us that those kinds of

16    children have had something called polyvictimization.

17    They have been victims of sexual abuse, neglect,

18    physical abuse, exposure to violence.            They are

19    polyvictimization survivors.          And that term, which was

20    researched by David Finkelhor in his Crimes Against

21    Children Research Institute in New Hampshire, that term

22    which came into the literature around 2007, has now

23    helped us to understand that these victims who become

24    trafficking victims are much more likely to have complex

25    posttraumatic stress disorder.




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 1       Q.     Dr. Cooper, have you previously testified in

 2    court?

 3       A.     Yes, I have.

 4       Q.     How many times have you been qualified as an

 5    expert?

 6       A.     About 300 times, because I testify in a lot of

 7    juvenile and family court cases as well as routine state

 8    cases, and then, of course, federal cases and

 9    court-martial proceedings.

10       Q.     Do you know about how many federal cases you have

11    been qualified as an expert in?

12       A.     In federal cases, I would say over the years

13    certainly more than 50 to 75 federal cases.              Sex

14    trafficking cases would be close to about maybe 20 to

15    25 cases in sex trafficking.

16       Q.     Okay.   So 20 to 25 times you have been qualified

17    as an expert in sex trafficking?

18       A.     Yes, that's correct.

19       Q.     You get paid to testify when you come to court,

20    right?

21       A.     Yes, I do, for my time.

22       Q.     Have you been qualified previously as an expert

23    to express your opinions on the characteristics of sex

24    traffickers?

25       A.     Yes, I have.




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 1       Q.    And on the dynamics of sex trafficking?

 2       A.    Yes, I have.

 3       Q.    And that would include things like grooming,

 4    control, force?

 5       A.    Yes, that's correct.

 6       Q.    Have you been qualified to express opinions on

 7    victim vulnerabilities to trafficking and the mental and

 8    emotional effects of that?

 9       A.    Very much so, yes.

10       Q.    And as well as the medical, mental health and

11    substance abuse issues that relate to sex trafficking?

12       A.    Yes, I have.

13               MS. IVERS:      At this point, Your Honor, I move

14    to qualify Dr. Cooper as an expert on the dynamics and

15    mental health impacts of sex trafficking and the

16    commercial sexual exploitation of children and adults.

17               THE COURT:      Any questions, Mr. Wendt?

18               MR. WENDT:      No, Your Honor, no objections.

19               THE COURT:      Thank you.     She can be received.

20    Dr. Cooper can be received as an expert in the field so

21    requested.     Thank you.

22    BY MS. IVERS:

23       Q.    Dr. Cooper, the first kind of topic area I want

24    to talk to you about is how victims come into the

25    trafficking world.




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 1             Are there certain vulnerable characteristics that

 2    victims might have that might make it easier for them to

 3    be trafficked?

 4       A.    Yes.   What we know about victims of commercial

 5    sexual exploitation or sex trafficking victims is that

 6    they have a significantly higher incidence of adverse

 7    childhood experiences that includes the five different

 8    types of child abuse; physical abuse, neglect, sexual

 9    abuse, psychological maltreatment, emotional

10    maltreatment; and five types of family dynamics, which

11    would include exposure to intimate partner violence,

12    being in a home where a parent or caregiver had a drug

13    or alcohol addiction, being in a home where someone has

14    been incarcerated before, being in a home where there

15    has been separation of family members, and being in a

16    home where adequate provisions have not been made

17    available for the child.

18             These ten adversities we now know can be

19    tabulated, and the more adversities that you have, the

20    higher your risk to become a trafficking victim.                  And

21    the reason for that is because the more adversities that

22    you have, the more likely you are to be removed from

23    your home, placed in foster care or congregate care

24    outside your home, the more likely you are to have

25    already been a victim of sexual abuse, which then




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 1    increases your risk to become a runaway or homeless

 2    youth.     And if you've had a significant number of these

 3    adversities, you are also more likely to have what's

 4    referred to in the literature as neurodevelopmental

 5    disruption.

 6              So these survivors do not -- frequently have

 7    learning problems, speech and language delay problems,

 8    individualized educational plans in school, higher

 9    incidence of dropping out of school after eighth or

10    ninth grade, et cetera.

11              And because they are polyvictims and have

12    untreated trauma from all of the victimization in their

13    childhood, they tend to have uncontrolled behaviors that

14    send them on a trajectory to juvenile justice outcomes.

15    So therefore, you will also have a higher incidence of

16    victims in sex trafficking who have had some type of

17    interaction or intersection with the juvenile justice

18    system.

19       Q.     Can you explain how age could play into a

20    vulnerability to trafficking?

21       A.     Yes.   Since 1960, we have had an understanding of

22    sexual maturation of the human body.            What we have found

23    is that since 1960 to the present, for every decade,

24    children, especially girls, are entering into puberty at

25    a younger age.      For every decade, it's one year earlier




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 1    than the original ages that were given to us by

 2    Dr. Tanner with the Tanner stages of sexual maturation,

 3    now referred as SMR, sexual maturation ratings.

 4             So the challenge for us today is that the average

 5    age of onset of puberty, which is usually discerned in

 6    the United States by breast development, but not in

 7    every country is breast development that marker, in the

 8    United States, the average age of breast development for

 9    girls is eight to nine years of age, eight to nine

10    years.

11             It takes approximately five years from the onset

12    of breast development to complete sexual maturity.                So

13    consequently, a child can be 13 or 14 years of age and

14    be completely sexually mature as far as their body

15    appears, but definitely not mentally mature, and not

16    from a brain development perspective.

17             That's the other unfortunate fact.           We have these

18    children who are maturing earlier and earlier

19    physically, but since the year 2000, with the research

20    where serial MRIs were taken of otherwise normal

21    children starting at the age of five looking at brain

22    maturity, we now know that the brain matures from the

23    back of the brain forward, with the forward part of the

24    brain from the prefrontal cortex is located being the

25    last part of the brain to be completely mature.




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 1             Now that we know this, we also know that the

 2    prefrontal cortex is not completely mature until almost

 3    26 years of age.       So here you have this body that is

 4    physically and sexually mature, but you have the

 5    judgment capability that is far from mature.              It's very

 6    easy therefore to dupe, convince, cajole a seemingly

 7    physically mature person, especially a girl, into some

 8    of the dynamics that we see in the grooming of sex

 9    trafficking.

10       Q.    And so when we're talking about a teenager --

11    well, let me ask you this:         Based on your research, what

12    is the average age of a minor to enter the world of

13    trafficking?

14       A.    In the United States, the average age is between

15    11 and 12, generally speaking.          We can see victims as

16    old as 15 or 16 who have been brought into what's

17    referred to as "the life," but many times the reason

18    they are so young is because the first and most common

19    trafficker, the most frequent type of trafficker of

20    children are their own family members.

21       Q.    And so when we have got someone who is a younger

22    age, they're less mature, and then on top of that we can

23    layer these other things you discussed like

24    developmental problems, adverse childhood experiences?

25       A.    Yes, that's correct, especially the presence of




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 1    learning disabilities, because if you have a teenager

 2    who has learning disabilities, as they move forward in

 3    school, they see themselves in the classroom setting,

 4    you know, as the bottom of the class.            It affects their

 5    self-esteem, so they find school to be not a place that

 6    they basically want to be, so you have a higher

 7    incidence of school dropout.

 8       Q.     And then as far as other vulnerabilities, does

 9    someone who has previously been trafficked, do they

10    become more vulnerable to being trafficked again in the

11    future?

12       A.     Absolutely.    Sex trafficking victimization is

13    highly recidivistic, and the average number of times

14    that victims may be returned to the life under the guise

15    of getting a better life or being with someone who is

16    going to take care of them is anywhere from five to

17    seven times before they are able to actually completely

18    exit the life, and that just requires the kinds of

19    systems that are available state by state.

20       Q.     And then you also mentioned folks who were

21    involved in the juvenile justice system being

22    vulnerable.      Is there also a substance abuse aspect?               I

23    don't think you mentioned that yet, if there is a

24    substance abuse element to vulnerability to trafficking.

25       A.     Yes.   What we know about substance use or misuse




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 1    is that it is a very common dynamic that contributes to

 2    victimization.      Either children are given drugs in order

 3    to intentionally addict them so they will keep coming

 4    back for drugs and do whatever is necessary to get

 5    drugs, or children will begin to find drugs and take

 6    drugs on their own to cope, because being sexually

 7    assaulted by eight to ten to twelve people a night,

 8    seven nights a week, is highly traumatizing, and it's

 9    very difficult.

10             So children and adults frequently will try to

11    find some type of chemical system that will help them

12    get through that degree of victimization.

13       Q.    Okay.   So let's talk about how traffickers might

14    see these vulnerabilities and bring someone into the

15    life of trafficking.

16             Have you heard the term "grooming"?

17       A.    Yes, I have.

18       Q.    Can you explain to the Court what that term

19    means?

20       A.    When an individual, potential victim is noted to

21    be down and out, I'll use that term, it's very easy to

22    groom them into believing that an individual can offer

23    them a better life.       They very often will do so under

24    the guise of romance and convince the victim that they

25    are in love with them and they want to take care of




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 1    them, but they also are clear that you have to be part

 2    of this solution, not just the savior here, you have to

 3    be part of this solution, and the role that you will

 4    play is that you will help us to make money, and I will

 5    take care of you and try to make sure no one hurts you

 6    and the two of us will have money.            And the long-term

 7    goal is life ever after, a permanent relationship.

 8       Q.    And so it's common, in your experience, for a

 9    trafficker to have other romantic or sexual relationship

10    with the victim at least at first?

11       A.    Very much so, yes.

12       Q.    And does that relationship change over time?

13       A.    Yes, it does.

14       Q.    How does that happen?

15       A.    After, sometimes not a very long time, the

16    trafficker begins to establish or make the victim

17    understand that there is actually power control dynamic

18    in this relationship.        The victim follows the rules and

19    the trafficker will be good to them, but if the victim

20    doesn't make enough money, becomes recalcitrant, is

21    using drugs too much and is not as marketable, then the

22    trafficker will begin to use much more power-based

23    consequences, usually physical, physical violence is

24    more common, but other types of circumstances, such as

25    threats to the victim.




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 1       Q.    Are traffickers always the ones that are out on

 2    the streets talking to these potential victims, or do

 3    they -- what strategies do they use to recruit victims

 4    into the life?

 5       A.    Typically what happens is that, depending upon

 6    the size of the enterprise that a trafficker controls,

 7    you will see that there is a recruiter in the

 8    enterprise.     The recruiter may be another trafficked

 9    victim very similar in age to the victim who is being

10    recruited, but the victim -- but the recruiter may be

11    something called a "bottom," a person who has a lot of

12    understanding of the rules and the requirements by the

13    trafficker.

14             The bottom may be a -- is usually a woman who has

15    had experience in knowing the trafficker and understands

16    how much money is to be made, how that money is to be

17    given to the trafficker, where the children and

18    adolescents are to be sold and all of the nuts and

19    bolts.

20             And the bottom is often the person who first

21    responds to lack of compliance by a victim and will try

22    to keep all of that under her control before it gets to

23    the level of the trafficker, because the trafficker

24    could be much more violent.

25       Q.    And I think you and I have both used a term "the




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 1    life."     Can you just quickly define that so no one is

 2    confused?

 3       A.     Yes.   One of the strategies that traffickers

 4    frequently use with victims is to help them understand

 5    that this is the life you have been in:             Homeless, run

 6    away, juvenile detention, et cetera.            I'm going to offer

 7    you a better life.

 8              And that terminology "better life" is extremely

 9    common.     It is referred to in books that are written by

10    traffickers as selling a potential victim a dream,

11    selling them a dream so that they will believe that it's

12    worth doing whatever he tells me to do because

13    eventually my life is going to be better.

14              "The life" though is not that life.           "The life"

15    is the life every day of having to go out to have sex

16    with X number of people, to make X amount of money, to

17    follow the rules, to not get drunk or drugged out so

18    much that you can't be marketed, and then everything

19    will be fine as long as you follow the rules of the

20    organization.

21       Q.     And you mentioned using a recruiter, potentially

22    a bottom or another trafficking victim.             Why would

23    someone do that?       Why would someone go out and recruit

24    another trafficking victim?

25       A.     Because typically they were recruited in the very




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 1    beginning.     And they also typically would do this

 2    because a trafficker is not going to be hanging out on

 3    the streets trying to flag down a minor victim.               That

 4    would be very problematic.         They could easily be

 5    arrested for some type of associated crime or reported

 6    by a bystander.

 7             So the trafficker elevates their position in the

 8    organization by having other people under them to be the

 9    individuals who recruit, educate, and eventually

10    introduce the victim to the actual trafficker

11    themselves, so there is this hierarchy that therefore

12    raises the importance of the trafficker in the whole

13    enterprise.

14       Q.    And what types of locations are common places

15    that a victim might be recruited into the trafficking

16    world?

17       A.    In the olden days, which was the eighties and the

18    nineties, it would usually be hubs of transportation,

19    bus stations where runaways could be found, places of

20    that nature.

21             But nowadays, because of the internet, youth can

22    be recruited almost anywhere.          They are often recruited

23    from Facebook and dating sites online.             They also though

24    are recruited by individuals who are in school systems.

25    They could be actually traffic victims themselves who




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 1    are still going to school.         They absolutely are

 2    recruiting in foster care homes, in congregate care

 3    systems.    And they are frequently recruited in juvenile

 4    detention centers and short-term incarceration settings.

 5       Q.    Speaking of sort of the role of the internet in

 6    the trafficking world, can you explain how internet has

 7    changed things, specifically with regard to not so much

 8    recruitment, but on the marketing side, how advertising

 9    is done through the internet?

10       A.    Yes, I can.     The internet first became recognized

11    as a conduit for victimization in about 1996 or 1997.

12    It warp speed sped us to the present, and it's almost

13    hard to keep up with what new way are people being

14    marketed online.

15             However, from a marketing perspective, the

16    internet has changed sexual exploitation so much because

17    the general public think that the term "prostitution"

18    means driving down the street at night and seeing people

19    walking up and down the street sort of looking for

20    buyers in cars.      That does consider, but that's not the

21    common way anymore, and hasn't been for almost 20 years

22    now.

23             Because victims are sold and shown in social

24    networking sites, in online classified ads.

25    Backpage.com was a huge vendor for a very long time




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 1    until only about 18 months ago when they were put out of

 2    business in the United States, but that business has

 3    been picked up by other online classified sites.

 4             The deal is that the online use will make the

 5    victim appear to be selling themselves, number one, that

 6    it's all their idea about how they are out there, so to

 7    speak.

 8             And the marketing is in code.          "I would like to

 9    have a date with a nice man and I'd really like 150

10    roses," which means it's going to cost $150.              And people

11    who are knowledgeable about online marketing know

12    exactly what those mean.

13             The other part of the use of the internet is that

14    from the time this victim leaves wherever they may be

15    housed, the internet is part of that process.               The

16    internet can be how an Uber is hired in order to

17    transport that victim to a hotel.

18             The internet is how the victim will locate that

19    buyer.    And the internet is how the victim will get paid

20    because the buyer will already know long before they got

21    there exactly how much it's going to cost and they have

22    to pay up front.

23             All of those, we call them technology-facilitated

24    crimes are the name of the game with respect to victims

25    of sex trafficking.




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 1       Q.    And just a couple more questions sort of on the

 2    recruitment side of things.

 3             Do traffickers employ strategies to sort of

 4    separate victims from their prior life and keep them

 5    engaged in the trafficking life?

 6       A.    Yes, they do, in several ways.          But two of the

 7    most common ways is to rename the victim so that they no

 8    longer have their birth name and they are never referred

 9    to by their birth name typically, so they see themselves

10    as that new person, often a name that is glamorous.

11    Many times geological, such as "Emerald" or "Diamond" or

12    things of that nature.

13             And then the second thing is that the trafficker

14    is able to convince the victim that they are a new

15    person because they don't even talk about whatever

16    happened to them in the past, except to say, "I have

17    rescued you from what has happened to you in the past

18    and so now you're in a new life."

19             So this being renamed and being given a new

20    location and a new vocation is how they are able to

21    convince victims that this is the life they are supposed

22    to lead.

23       Q.    You previously mentioned sort of physical

24    violence might be used to keep someone from leaving.                   Is

25    verbal abuse also something that you see as a part of




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 1    that?

 2       A.     Very much so.     And actually psychological

 3    maltreatment in the literature is seen as more damaging

 4    than physical maltreatment, because physical

 5    maltreatment goes away, the trafficker often will remind

 6    the victim it was their fault, that they had to get a

 7    beating and that if they toe the line everything will be

 8    fine.

 9              But if you have an individual who psychologically

10    batters a person over and over again and tears down

11    their self-esteem and self-worth for long periods of

12    time, that is far more wounding and that lasts a lot

13    longer.

14       Q.     Dr. Cooper, do you have an opinion about whether

15    trafficking victims can appear to be doing this all

16    willingly?

17       A.     Yes, I do have an opinion on that.

18       Q.     Please share your opinion.

19       A.     That is the name of the game, which is another

20    term beside "the life."         Sometimes it's referred to as

21    "the game."     Absolutely victims are told and shown how

22    to make it appear that everything that's happening is

23    all their thought process, that they control everything.

24              They control the money that they receive from the

25    buyer and the buyer never knows that that money stays in




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 1    their hand for only a short period of time.              Often it's

 2    given to the bottom.        Or if they are a favored victim in

 3    the enterprise, they may actually get to give it to the

 4    trafficker themselves directly.

 5             The key component of the game is to convince a

 6    victim that they have to play their role, and if they

 7    do, they will move up in the pecking order and maybe one

 8    day they will become a bottom.          So there is this

 9    promotion dynamic, almost a business manner of keeping

10    control over victims.

11       Q.    Have you heard the term "compliant victim"?

12       A.    Yes.

13       Q.    Please explain what that means.

14       A.    The term "compliant victim" was given to us by

15    Ken Lanning from the Behavioral Science Division of the

16    FBI in Quantico.       In fact, Ken Lanning wrote a long

17    chapter in our textbook on the compliant victim, because

18    sexual exploitation is frequently associated with victim

19    compliance.

20             And in his chapter that he wrote, he talked about

21    the fact that people think that anybody who is a victim

22    of a sexual assault or sexual abuse or in this case

23    sexual exploitation will be your typical dragged away

24    from a safe environment, screaming and hollering,

25    mugged, drugged, et cetera, in order to be brought into




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 1    this new form of captivity.          But Ken Lanning is very

 2    clear that, no, that's not often how it happens.                  What

 3    often happens is that someone grooms this child or adult

 4    into believing that they can offer something better for

 5    them in life, that they will have money when they have

 6    always been broke, they will have a place to stay when

 7    they have always been homeless or frequently been

 8    homeless, they will be the antithesis of whatever is

 9    happening in their life is offered to them by a

10    trafficker.

11             And this makes the victim therefore compliant

12    with what the trafficker asks them to do.             And that is

13    confusing to many people because they really want force,

14    fraud and coercion to be the reason that these victims

15    are in the situation that they are in, but many times

16    the fraud component of how "this is going to just be

17    your idea and I'm just going to be here to just make

18    things easier for you" is one of the ways in which these

19    individuals become compliant, and in fact protect the

20    identity and whereabouts, et cetera, of the trafficker.

21       Q.    And we have been talking a little bit about

22    bottoms and their role, potential role in an enterprise.

23    And you mentioned they sort of go up this hierarchy.

24             Is it common for a bottom to be older than some

25    of the other victims?        Is there an age dynamic there?




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 1       A.    Very much so.      Typically, the bottom has had much

 2    more experience with the trafficker and understands the

 3    rules of the game and is the person who will enforce

 4    those rules, sometimes with violence.            The bottom can be

 5    quite violent towards girls who are under their control,

 6    but they are absolutely part of that process.

 7       Q.    And it sounds like based on your testimony so far

 8    that a bottom could be the one that's doing a lot of the

 9    sort of on-the-ground work for the trafficking

10    enterprise?

11       A.    Yes.

12       Q.    So how does the trafficker play a role in that

13    compared to the bottom?

14       A.    Typically, the trafficker calls the shots.               They

15    let them know how much money is to be made, they let

16    them know where they are going to -- what he wants the

17    victims to be dispersed at times.           If it's an online

18    situation, they want to make sure that the victim is

19    having sexual contact with a certain number of buyers a

20    night so that they get a certain amount of money.

21             They have a quota.       Many times victims have a

22    quota of money that they have to make nightly, or daily.

23    It's not always at night.         And the bottom may be the

24    person who enforces that.         And the bottom may also be

25    the person who reminds the victim that if they are not




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 1    completely compliant, there will be significant

 2    consequences.

 3       Q.    In this type of scenario, is it possible for the

 4    trafficker to be pretty hands off?

 5       A.    Very often, that's the case.          It is a way of

 6    being able to deny culpability and any kind of

 7    relationship with respect to criminal acts.

 8       Q.    And so we know a trafficker is probably

 9    collecting some money potentially.            Is it necessarily

10    all of the money or part of the money?

11       A.    Most of the time, it's the majority of the money.

12    The bottom may get a small amount of money.              The victim

13    gets almost no money.

14       Q.    And is it -- are you aware of cases where a

15    trafficker might be getting gifts or other sort of

16    benefits in lieu of actual cash?

17       A.    Definitely.     Sometimes there is a barter system,

18    which you can easily see within the life of sex

19    trafficking.     Sometimes traffickers will get vehicles if

20    they have had a big party, et cetera, and provided a

21    bunch of girls for that purpose.           They can get paid in

22    drugs.     They can be paid in weapons.         They can be paid

23    in cash.

24             And they can be also paid in access.            For

25    example, high rollers at casinos will get paid by




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 1    getting -- be given a topnotch room and entrance into

 2    those particular gambling areas so that their victims

 3    can be made available to potential buyers.

 4       Q.    In your experience interviewing past victims of

 5    trafficking, have they told you that they just gave the

 6    trafficker money voluntarily?

 7       A.    They initially, in my experience in talking to

 8    survivors, the majority of them at first would say,

 9    "This was my idea."       However, it doesn't take a long

10    time in talking to them to recognize that they're

11    homeless, they have no money, they have no access to

12    money.     Everything that they get has to come from the

13    trafficker, so, therefore, once you have established

14    rapport with them and they feel safe to be able to be

15    more candid, they are much more forthcoming with respect

16    to the fact that they have nothing but the clothes on

17    their back, generally speaking.

18       Q.    Let's dig into that a little bit about when

19    victims are talking about this how they might sort of

20    appear to people who are interviewing them.

21             What happens when victims have contact with law

22    enforcement?

23       A.    Victims will deny, first of all, that they are

24    victims.     That is the most common reaction as far as law

25    enforcement is concerned.         And then if law enforcement




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 1    convinces them that they have enough evidence, that they

 2    actually have been exchanging sex for money, and if law

 3    enforcement is enlightened enough to recognize that this

 4    is a 13-, 14- or 15-year-old, they probably have

 5    somebody that is getting that money and making them

 6    available, they will pretty categorically deny that

 7    there is anybody else as part of that enterprise.

 8             So therefore, we know that in an investigative

 9    interview victims will not be able to give you as much

10    information for a couple reasons.           One, because they

11    have may have been coerced to not tell the truth.                 Even

12    if they are at a point of being ready to disclose

13    information, their disclosures are often not

14    chronological and sound as if they are not cohesive

15    because these victims, as compared to other types of

16    victims, have some of the highest level of posttraumatic

17    stress disorder.

18             Research on trafficking victims has revealed that

19    the PTSD incidence is higher than 87 percent, which is

20    higher than veterans who have been to war.              And so

21    because of this high degree of PTSD, an investigative

22    interview is very difficult for them to be able to

23    chronologically fill in the blanks.

24             What research has shown is that -- there is

25    another reason for that that I'll explain in just a




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 1    second.     What research has shown is that your best

 2    information from a victim, chronologically speaking and

 3    as far as details are concerned, comes from a

 4    therapeutic relationship where a victim has been meeting

 5    with the same therapist for a period of time and now is

 6    able to recall in a less stressful environment

 7    information because the investigative -- the

 8    investigative interview is highly stressful so their

 9    cortisone levels get very high and it causes the brain

10    to have most of its blood flow to the mid brain where

11    fear and flight and fight are located.             So they are very

12    unable to provide some of the important details that

13    they would otherwise.

14       Q.     You are using the term "investigative interview."

15    Just quickly what do you mean by that?

16       A.     That's typically a law enforcement interview as

17    compared to a therapist or psychologist or social worker

18    who is talking to the victim in a different way.

19       Q.     Why might a trafficking victim have some

20    skepticism with law enforcement?

21       A.     Because sometimes trafficking victims are

22    exploited by law enforcement.          We certainly have police

23    officers, and have read about this many, many times

24    where law enforcement will arrest a victim, maybe

25    sexually assault the victim and then let the victim go,




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 1    but not give them any money for that process.               Or a

 2    trafficker may know of a certain part of town where they

 3    -- the trafficker has paid law enforcement to look the

 4    other way, so to speak, so that the kinds of sex crimes

 5    that are going to take place in that particular part of

 6    town will be less likely to be associated with an

 7    arrest.

 8       Q.     Would a trafficker also potentially coach a

 9    victim on what to say if they have contact with law

10    enforcement?

11       A.     Very much so.     In one particular case that I

12    worked in in New York, a very long-term trafficker was

13    finally successfully arrested by law enforcement, and in

14    his home he had more than 50 DVDs of very young girls

15    repeating a different name.          "What is your name?"          They

16    would have to repeat in this video a new name that he

17    had given to them and a new Social Security number that

18    was linked to an adult, so, therefore, if they were ever

19    arrested, that Social Security number would not show

20    that this victim was a minor.

21              There were over 50 victims, videotapes of that

22    that the FBI sent to me to review because they were

23    trying to identify these particular victims.

24       Q.     Do you have an opinion about whether a victim

25    might minimize or even forget what has happened to them?




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 1          A.   Yes.    We know that PTSD causes a lot of

 2    difficulty in ancillary details.           A victim will

 3    typically remember what we refer to as core components

 4    of victimization.        Did this person strangle you, Did

 5    this person punch you out, et cetera, versus when did

 6    this happen, what time of day, what day of the week,

 7    what month, year, et cetera.

 8               The more frequently a victim is victimized, it's

 9    much harder for them to be able to say, "Oh, yeah."

10    They might be able to remember that there was a

11    Christmas tree on that street corner when he picked me

12    up as the clue as to the exact date of when something

13    may have happened to them.

14          Q.   And could a victim have trouble remembering how

15    many dates they went on, for instance?

16          A.   Oh, absolutely.    It would be very hard for them

17    to be able to give you that detail sometimes.

18          Q.   I just used the term "date."        I don't think we

19    have I defined that yet.         Could you explain what that

20    is?

21          A.   Sure.    In the olden days, which was, again, back

22    in the eighties and early nineties, the term used for

23    trafficking victimization was "tricks," you know, a

24    person was a "trick," and, "How many tricks did you have

25    tonight," used to be the question.




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 1             Once we started having online dating and dating

 2    websites, the term "date" became much more acceptable,

 3    because when, for example, Craigslist was one of the

 4    first online sites to begin selling people and they

 5    would talk about, "I would like to have a date and I

 6    would like X number of roses," to mean how much the date

 7    would cost.

 8             So the term "date" or "escort" -- "escort" is a

 9    more generalized term, but "date" is absolutely the most

10    commonly used term for when you're using terminology on

11    the internet.      So the person who is buying you is

12    usually referred to as a "date."

13       Q.    Would guilt -- in your experience, could guilt

14    and self-blame have an impact on a victim's ability to

15    share the full extent of what happened to them?

16       A.    Yes.   That research came from, again, the Crimes

17    Against Children Research Center in New Hampshire.

18    Dr. Kathleen Kindell-Tackett wrote a book called Child

19    Victimization.

20             In her section on what happens when victims are

21    trying to make a disclosure, she described in the

22    literature that the three most common deterrents and

23    prevalent problems are guilt, self-blame and shame.

24    These three dynamics, guilt, self-blame and shame, are

25    the most common dynamics that hinder a victim being able




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 1    to become completely honest with as many details that

 2    they may know, because it's, unlike a robbery or some

 3    other type of crime, this is a highly stigmatizing

 4    scenario and it causes victims to have very great

 5    difficulty laying themselves out to be judged by the

 6    public.

 7       Q.     So I want to go through a few more terms.

 8                THE COURT:     At some point we're going to have

 9    to take our morning recess, so in the next few minutes,

10    whenever you feel comfortable.

11                MS. IVERS:     I have sort of two fairly short

12    topic areas and then I'll be done.

13    BY MS. IVERS:

14       Q.     Have you heard the term "gorilla"?

15       A.     Yes, I have.

16       Q.     What does that refer to?

17       A.     So the term "gorilla" was a term used again about

18    maybe up until 2016 or so.         The original terminology,

19    finesse versus gorilla pimps.          These are definitions of

20    individuals who are traffickers, were given to us by Dr.

21    Cecilia Williamson out of Ohio in her research.

22              And the term -- that term "gorilla" referred to a

23    very violent person versus a Romeo-type of individual.

24    In the more recent years, maybe in the last three years

25    or so, there has been movement from not characterizing




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 1    an individual in that manner, and so the terminology now

 2    is vicious-violent offender, as compared to a finesse or

 3    romance-type of offender.         One will use physical force.

 4    The other will use psychological means in order to exert

 5    control over trafficking victims.

 6       Q.    Have you heard the terms "renegade" or

 7    "independent"?

 8       A.    Yes.

 9       Q.    Please define those.

10       A.    There is a whole lexicon of terms in trafficking.

11    And a "renegade" is a victim who is becoming more and

12    more self-sufficient and independent and who is begining

13    to sort of buck the rules, regulations and all of the

14    things that have to be complied with as far as the

15    offender is concerned.

16             So one of the rules of the game, for example, is

17    if a girl is in a group of offenders who are talking,

18    and she is supposed to look subservient and keep her

19    eyes on the ground typically, but if she glances up at a

20    different offender in that group, that's referred to

21    oftentimes as choosing up, meaning that she prefers to

22    be with that individual than the person who is

23    trafficking her.

24             That means exchange of money.          She has to work

25    off money as if she is selling herself to this other




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 1    person.     She has to pay money to that first trafficker

 2    in order -- because she has chosen that, but because she

 3    appears to have chosen a different person, she is

 4    running the risk of being labeled a "renegade," meaning

 5    that eventually she may leave the life altogether as a

 6    victim and she may in fact become a trafficker.

 7              So "renegade" is a negative term used to describe

 8    children and adults who are becoming more and more

 9    self-sufficient.

10       Q.     So you mentioned the vicious, violent versus the

11    finesse.     Are those -- can a trafficker embody both of

12    those traits at different points?

13       A.     Yes, they can.     In fact, that's not an uncommon

14    dynamic if you have a single trafficker, in that they

15    will always, almost always remind the victim that once

16    they become violent with them, it was because of the

17    victim that they had to become violent.

18              If they really love them and they wanted to take

19    care of them, but they didn't make their quota, they

20    didn't follow all the rules, so then they have to be

21    taught a lesson.       So it is not unusual to see both of

22    those terms really for the same person.

23       Q.     With regard to a renegade, is that a person who

24    is just a prostitute of their own free will, or does

25    that also imply that there is still a trafficking




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 1    relationship?

 2       A.    Yes, in a renegade situation, typically there is

 3    a trafficking relationship specifically.             Simply because

 4    in prostitution, there is consent, no one is keeping the

 5    money, there is not third-party control in that

 6    situation.

 7             So in a renegade situation, when you are talking

 8    about that, generally speaking, it's going to be in a

 9    trafficking circumstance, although there will be

10    traffickers who have seen another trafficker who is a

11    woman who became a trafficker as she became a renegade

12    and she decided to become in charge rather than being

13    the victim.

14       Q.    And when we're talking about -- we talked

15    previously about who a bottom might be and they might

16    appear to be a renegade at some point.             Is that person

17    likely to get involved in the criminal justice system

18    and eventually charged with a crime?

19       A.    Yes.   Would a bottom be at risk of being charged

20    with a crime?      Not only is a bottom often at risk to

21    being charged with a crime, but many times it is a setup

22    so that the trafficker themselves will not be charged

23    with a crime.      The bottom can be the sacrificial lamb,

24    so to speak, so that the trafficker can bail them out

25    and do other things of that nature, but the goal is to




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 1    protect the trafficker from being arrested.

 2       Q.    Have you heard the term "pimp"?

 3       A.    Yes, I have.

 4       Q.    Can you explain how that relates to this?

 5       A.    The term "pimp" and "trafficker" are somewhat

 6    interchangeable.       "Pimp" is more commonly sort of a

 7    street term, and then it became a noun and a vowel -- a

 8    noun, sorry, and a verb, because you would pimp people

 9    out and the car was pimped out.

10             It just became a very popular term used

11    universally that had nothing to do so much with sex

12    trafficking.       But the correct terminology is trafficker

13    because we're talking about the act of sex trafficking.

14       Q.    Can pimp be abbreviated to just a letter P?

15       A.    Yes.     In fact, there have been individuals who

16    were music video performers and sometimes gang members

17    who would use just the initial P as part of their

18    moniker, if you will, so that you know that this person

19    is, oh, also, by the way, a pimp.

20             It is a common phrase for people who are working

21    to become a pimp, learning how to be a pimp, to be

22    referred to as a PIT, which stands for pimps in

23    training.       So the P letter has a lot of amazing

24    significance in this kind of crime.

25       Q.    Might a trafficker, instead of referring to




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 1    themselves as a pimp, use other words to describe their

 2    trafficking enterprise?

 3       A.    Yes.   They may call themselves a daddy.            They may

 4    call themselves, you know -- they won't call themselves

 5    a John because a John is a buyer, but they will call

 6    themselves a king.       They have many different kinds of

 7    street names that are often used for recognition of

 8    their role as the trafficker.

 9       Q.    Have you heard the terms "player" or "hustler"

10    being used to describe a pimp?

11       A.    Definitely.     In fact, still in the United States,

12    there are players balls, which are very well-known,

13    highly attended fashion show kind of things where pimps

14    will come with girls and women showing how grandiose

15    they can appear in that situation, and they often refer

16    to themselves as pimps.

17             And even movies are named after hustlers.                And

18    everyone understands that a hustler in the olden days

19    was somebody who was like a person who played cards and

20    knew how to cheat, but a hustler today is going to be a

21    trafficker.

22       Q.    Have you hear the term "snatch up"?

23       A.    Snatch up, yes.

24       Q.    What does that mean?

25       A.    Snatch up means that they are going to sort of




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 1    kind of grab you up and take control of what you're

 2    doing.      I'm going to snatch up -- snatch you up so to

 3    speak, but the word "you" is left out, because I have

 4    control over you and you have to do what I tell you to

 5    do.

 6          Q.   What about break in?

 7          A.   Breaking in is a strategy and actions that breaks

 8    the will of a potential victim so that they are not

 9    likely to try to run away or leave the offender.                  It

10    entails many times sexual assault, and it could be

11    violent sexual assault.

12               It also sometimes entails memorialization of that

13    sexual assault with videos, et cetera, but it also can

14    entail so-called running a train, that is multiple

15    people sexually assaulting a victim.            This is very

16    common in gang related sex trafficking and breaking in,

17    sometimes referred to as being "sexed in."

18               But breaking in is to teach a victim that this is

19    what you're going to do for me and you are going to do

20    it as I tell you to do it.         It's not about I'm going to

21    pay you money to do it; it's about I have the power and

22    control to coerce you to do this.

23          Q.   In your experience, have you heard of traffickers

24    viewing themselves as businessmen or entertainers?

25          A.   I have testified in cases like that where the




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 1    trafficker was highly respected, but everyone knew that

 2    he was going to be the person to provide women and girls

 3    at high roller situations and casino gatherings or at

 4    entertainers' parties, for example.

 5             In one case that I testified in in California,

 6    all of the women and girls that he had recruited were

 7    from Oregon and were brought down to be the dates for

 8    only people who were in the entertainment industry.

 9       Q.    Might a trafficker have sort of other enterprises

10    that he's working on in addition to the trafficking

11    part?

12       A.    Sex trafficking might be part of it, but there

13    may also be weapons trafficking and there may also be

14    drug trafficking.       I definitely testified in cases where

15    the trafficker had more than one line of business and

16    they therefore had a significant amount of money.

17       Q.    What about pornography, can that be related to

18    trafficking?

19       A.    Very much so.      And adult pornography and

20    pornography of adolescents that are made to look like

21    adults is highly lucrative.          It's in fact seen as one of

22    the most lucrative internet businesses around the world.

23    And I have spoken at three Congressional briefings to

24    this point on that whole issue of pornography,

25    pornography addiction, the marketing of pornography and




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 1    it's a huge amount of money that is contributed to this

 2    and how it normalizes sexual harm.

 3       Q.    In a scenario where a trafficker might have sort

 4    of multiple enterprises, would he in that case rely more

 5    on the bottom to sort of run the trafficking day to day?

 6       A.    Yes.   Typically, the trafficker will be front and

 7    center in the most dangerous and the most lucrative of

 8    his enterprises, if he has multiple enterprises, the

 9    ones that he wants to keep his eye on the money the

10    most.

11             This is when he would designate other individuals

12    to be responsible for the lower hanging fruit, which

13    would often be the sex trafficking component.

14       Q.    In preparation -- you met with us to prepare for

15    your testimony today, right?

16       A.    Yes, I did.

17       Q.    During that preparation, did you meet with or

18    examine any of the victims in this case?

19       A.    No, I did not.

20       Q.    Were you told significant details about this

21    case?

22       A.    No, I did not.

23       Q.    So what is your testimony today based on?

24       A.    It's based upon my knowledge of the literature,

25    my experience in the field, and the fact that I continue




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 1    to work in this particular area.

 2               MS. IVERS:      No further questions for Dr. Cooper

 3    from the government, Your Honor.

 4               THE COURT:      Okay.    Do you need an extensive

 5    cross examination or what do you think?

 6               MR. WENDT:      I have some questions.        I don't

 7    know if it will be extensive.          It certainly won't go on

 8    for 30 minutes or so.

 9               THE COURT:      Will it go five minutes?

10               MR. WENDT:      Yes, it will go on for five.

11               THE COURT:      Let's take a 15-minute recess.

12    Thank you.

13               DEPUTY CLERK:      All rise.      This matter now

14    stands in recess for 15 minutes.

15               (Recessed from 10:22 a.m. to 10:40 a.m.)

16               DEPUTY CLERK:      His Honor, the Court, the United

17    States District Court is again in session.

18               Please be seated.

19               THE COURT:      Okay.    Welcome back.      Mr. Wendt?

20               MR. WENDT:      Thank you, Your Honor.

21                            CROSS EXAMINATION

22    BY MR. WENDT:

23       Q.    Good morning, Dr. Cooper.

24       A.    Good morning.

25       Q.    We're quite a ways away.         Can you hear me all




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 1    right?

 2       A.    Yes, I can.     Thank you.

 3       Q.    I have some questions for you, not too many, but

 4    I have some.     I want to start off with something you

 5    recently said that I just don't understand and I would

 6    like to have you explain for me.

 7             You said pornography is lucrative.

 8       A.    Yes, it is.     It's a multibillion dollar

 9    administration.

10       Q.    I can get on the internet and type in "sex

11    pictures" or "sex videos," and there is more to look at

12    than I could look at in ten years.

13       A.    That's correct.

14       Q.    How would people make money with pornography?

15       A.    The ads that are associated with the running of

16    those particular images are what makes so much money.

17    And it is thought to be one of the -- it is a huge

18    public health concern in the United States and other

19    countries as well.

20       Q.    Who pays for ads on pornography?           I don't think

21    Coca-Cola wants their soft drinks on pornography

22    websites.     Who puts ads on pornography websites?

23       A.    Well, there are quite a few that are associated

24    with sexually -- sexual things, such as Trojan for

25    condoms.    You have alcohol companies that frequently are




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 1    part of that process.        You also have dummy agencies so

 2    that you don't know who the real vendor is that is

 3    paying money for those images on the internet.

 4             But I was part of a research presentation at

 5    Princeton on this subject.         And a book came out of that

 6    called The Social Cost of Pornography, and it was

 7    stunning to understand how lucrative this industry is.

 8    It is no longer so much in the United States because the

 9    CDC called the pornography producers, the video

10    producers out on the fact that all of these images

11    depicted unsafe sex, no use of condoms or anything of

12    that nature.

13             So the majority of the studios that were making

14    adult pornography in the United States moved from

15    California to Germany.

16       Q.    Okay.   How does an amateur person who just wants

17    to -- thinks he or she can make money with pornography

18    and gets the camera equipment and gets the room, gets

19    the actors, or whatever you want to call them, how does

20    that person make money from pornography?

21       A.    Well, often what happens is that if the images

22    are of underage minors, they are frequently sold as if

23    the minor made the images themselves.            That's how they

24    are labeled, "Hot Teen, Want to Have Fun with Me," these

25    kinds of titles that infer that they are self-produced




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 1    images.     There are many 1-900 calls, et cetera, that

 2    links the video, not necessarily at all with who is in

 3    the video, but links the video with a telephone number

 4    for the purpose of a sex trafficking encounter.

 5       Q.     Okay.   So what would a person do if he or she

 6    wanted to make money from pornography after getting all

 7    the equipment and stuff together, I have got all the

 8    stuff, I have got the models that are going to do the

 9    sex acts, I got everything together and they take the

10    pictures, what actually do they actually have to do to

11    sell that pornography?

12       A.     They would interact with industries, all the

13    different industries for which pornography is part of

14    what they do, the entertainment industry, the gambling

15    industry, the industries that are associated with

16    casinos, industries that are associated with alcohol,

17    tobacco and firearms are sometimes also involved with

18    respect to the marketing of pornography because they are

19    seeing the role of pornography is to enforce male

20    dominance, a lot of those kinds of things.

21              The other thing is that pornography is on the

22    internet, is also part of what you see that is sold

23    through hotels that are now not referred to anymore as

24    clean hotels.      Clean hotels don't have internet

25    pornography available on the television sets, because




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 1    there are internet TVs in those hotels.             Clean hotels

 2    are now, you can look up on the internet if you're going

 3    to stay in a hotel and find out if a hotel is a clean

 4    hotel or not, which means the entire hotel chain has

 5    agreed, has signed papers that they will not show

 6    pornography on their Pay Per View that they have on the

 7    televisions in their various rooms.

 8             But the market for pornography remains extremely,

 9    extremely active, and the most -- the best resource that

10    you could get about this whole dynamic is a book written

11    by Dr. Gail Dines called Pornland, P-o-r-n-l-a-n-d, one

12    word.    Dr. Dines is a retired professor, social media

13    professor, who has spent 25 years studying pornography

14    and is the most, I would say, knowledgeable person in

15    our country that focuses on the money that is associated

16    with the production of adult pornography.

17             Of course, we know that child pornography also --

18    and, again, we don't call it child pornography anymore;

19    we call it child sexual abuse images -- that's also a

20    multibillion dollar industry, and it's, of course, under

21    the table, it's illicit contraband, people pay money in

22    order to have access to these kind of images.

23             And that paying of money started back when people

24    were just -- not just -- when people were purchasing

25    videos, VHS videos.       In fact, the biggest investigation




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 1    in the United States that started the whole process of

 2    sale of, at that time referred to as child pornography,

 3    was from the United States called Operation Avalanche

 4    where individuals were making images, making them into

 5    VHS tapes, selling them on the internet for $29.95 a

 6    tape.    And there were so many buyers from around the

 7    world that the owners of that particular business were

 8    pulling in close to $3 million a month in money that

 9    they were making from those types of images.

10             There is a huge market for this particular kind

11    of content, and that's where the money comes from.

12       Q.    Okay.   So the people who are engaged or beginning

13    to get engaged in that business, so to speak, there

14    would be records, bank records, phone records of those

15    people who do those things; is that right?

16       A.    Well, I don't know if they are reporting their

17    income to tax individuals.         They may be undercover-type

18    of businesses that have a different name.             For example,

19    when I think about some of the Congressional briefings

20    that we have provided, we have had in those

21    Congressional briefings individuals who were in those

22    videos, in adult pornography videos, talking about the

23    labor law violations, the labor trafficking situations

24    that were very common in the production of these kinds

25    of videos, that the actors and actresses were paid very




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 1    little, but the producers were making millions of

 2    dollars over the process of the diaspora of those kinds

 3    of images that are available.

 4             Every time you type in the word "porn" on Google,

 5    and the entire first page comes up with all, remember

 6    these will come up with all the adult pornography sites,

 7    they will usually say 12,000 videos or 15,000 videos,

 8    and they will talk to you, the viewer, and let you see

 9    35 minutes or 45 minutes of a given video, but then if

10    there is another type of video for which they have a

11    trailer, then you have to use your credit card in order

12    to pay $29 in order to see this next type of video or

13    this next genre of video, which may be all gay, which

14    may be all lesbian.       It may be all definitely S&M type

15    of content.

16             And the more that you see of free videos, the

17    more you're going to be pulled in to pull out your

18    credit card to pay for Pay Per View videos, and this is

19    a major contributor to its immense amount of money

20    that's being spent on adult pornography.

21       Q.    Okay.   But the people who do receive that money,

22    if they are making as much -- if they are really

23    successful, there should be a record of that somehow?

24       A.    Oh, yes.    If they are really successful, that

25    would be true.      If they are receiving money on the




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 1    internet as compared to someone who sends a link or a

 2    trailer from their own cell phone, you know, they are

 3    not using the internet and marketing that way.               If they

 4    have made on a video on their cell phone and now they

 5    are getting ready to market for actual sexual contact,

 6    hands-on sexual contact, they sometimes will send a

 7    video clip of the victim that they are going to buy to

 8    have sex with from their cell phone.

 9                 The money will never be recovered because that's

10    a hand-to-hand payment once that victim is delivered to

11    that hotel room or to that individual who was seeing the

12    video on their cell phone.           In fact, it was in 2003 that

13    the marketing of children in Japan rose 95 percent,

14    children for sex rose 95 percent, and the reason for

15    that was because in 2003, 3G technology came out so that

16    you could then take a picture of a girl and send it to

17    somebody else's phone and say, "Is this the one that you

18    want," and no one has seen that even on the internet per

19    se.        It's all 3G technology.

20                 So that's why we refer to these crimes as

21    information, that would be internet; and communication,

22    that means 3G, 4G, 5G technology; technology, ICT crimes

23    against children.

24          Q.     Are most of these people who engage in this

25    technology savvy?




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 1       A.     Savvy enough to know how to make money, yes.

 2       Q.     All right.    Savvy about technology though?

 3       A.     It's not hard.     In fact, unfortunately,

 4    six-year-old children can take pictures of themselves

 5    and send to somebody that they met in a video game.                  I

 6    have had patients in my emergency room who have done

 7    that.     It doesn't take a lot of technology knowledge to

 8    do that.

 9       Q.     When you started testifying, you were talking

10    about sexual abuse and you were talking about sexual

11    exploitation.

12       A.     Yes.

13       Q.     And do I have this right that child sexual

14    exploitation is a form of child abuse, but child abuse

15    has a wider net of which exploitation is one part?

16       A.     I would say it's the other way around.            Child

17    sexual abuse is a form of abuse.           Child sexual

18    exploitation almost always involves child sexual abuse

19    but may involve many, many additional forms of harm.

20              So a child is sexually abused in a home, let's

21    use that as an example.         The offender may be a parent.

22    In fact, parents are the most common offenders who make

23    child sexual abuse material or child sexual abuse

24    images.     They take those images that they've made of

25    themselves sexually abusing their child, they put them




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 1    on the internet to market their child for someone else

 2    to come and have sex with their child to their home.

 3    This is called intrafamilial trafficking.

 4             And once that has happened, they may bring in one

 5    person at a time to sexually abuse their child for

 6    money, or they may bring in several people at a time,

 7    so-called organized abuse, which is written about in

 8    great depth in a document that you can access online

 9    called The Survivors' Survey from the Canadian Center on

10    Child Protection that came out in 2017.

11             I was on their international working group.              More

12    than 150 responded about how now-adults' images were

13    made of them as children and are now circulating out

14    there where people will download, trade and possess

15    those images.      And now that these individuals are

16    adults, they are helping us to understand the nature of

17    organized abuse, much to our surprise.

18             We never thought that there would be multiple

19    offenders in one home sexually abusing the child, taking

20    turns sexually abusing a given child while the cameras

21    were rolling for the purpose of production of images.

22             So sexual abuse is the source.          It's the core, if

23    you will, victimization.         But sexual exploitation

24    frequently entails making that one sexually abusive act

25    become an act that can harm the victim from many, many,




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 1    many offenders, which is why when I teach on this

 2    subject, I talk about child sexual abuse, that means

 3    sexual abuse involving one offender, one victim.                  Then

 4    the more difficult type of case is the multi victim

 5    case, a coach or a pediatrician who sexually abuses

 6    multiple of his players and/or his patients.              That's a

 7    multi victim case.

 8             But the most difficult types of cases to

 9    investigate and understand are the multi offender cases,

10    because multi offender cases are such that a victim

11    can't tell you who did this to me because there were

12    just too many people who did that.            That's what you see

13    in sex trafficking.       It's a multi offender case.

14       Q.    Okay.   And I think you testified that as young

15    people, children, get into the life or whatever, become

16    victims of sexual trafficking, as they move along and

17    get older, it's easier and easier, they become more

18    vulnerable to other traffickers; is that right?

19       A.    I don't know if I said it's easier and easier for

20    them to become more vulnerable to other traffickers.                     If

21    a child is brought into sex trafficking victimization,

22    it is a life changing experience.           And there are some

23    articles that say that the expected life span of a sex

24    trafficking victim is about seven years.

25             They often have suicidality -- their leading




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 1    causes of death are suicide, homicide and HIV/AIDS.

 2    Those are the three leading causes of death in sex

 3    trafficking victimization.

 4             And so I did not say it's easier and easier for

 5    them, because it's not easier and easier.             But if they

 6    have been broken in by one trafficker, to be sold to

 7    another trafficker is not uncommon.            And so it's not

 8    unusual for a victim to perhaps have run away from a

 9    trafficker, but now they are homeless, they have no

10    skills and they are on the streets, and so another

11    person may recruit them or pick them up and bring them

12    back into another aspect of victimization.

13             So from that perspective, it is not unusual to

14    see a victim who is trafficked by multiple traffickers

15    over time.

16       Q.    You didn't say easier, but you did say more

17    vulnerable?

18       A.    Yes, they are.

19       Q.    Okay.   You talked about Tanner stages.            And when

20    were the Tanner stages first developed?

21       A.    In the 1960s by Dr. James Tanner in the UK.              He

22    made -- helped us to understand the progress of sexual

23    maturation, which for girls starts with breast

24    development, then pubic hair, then axillary hair, the

25    hair underneath the armpits, and finally the onset of




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 1    menses or having periods.         Those are the Tanner stages.

 2             Around 1999 or so, Dr. Tanner and Dr. Arlan

 3    Rosenbloom from the University of Florida, also a

 4    pediatric endocrinologist -- both of these were

 5    pediatric endocrinologists -- wrote a letter to the

 6    editor of the Journal of Pediatrics saying, "You should

 7    not be using Tanner stages when you're talking about,"

 8    in those days, "child pornography investigations."

 9             Because what started happening is that Dr. Tanner

10    and Dr. Rosenbloom and other endocrinologists in the

11    country were being hammered by investigators to testify

12    as an expert witness that this image is consistent with

13    an underage child, a child who is not an adult.               Adult

14    being defined as 18 years or older.

15             These endocrinologists did not want to spend

16    their time looking at abusive images.            It's very

17    vicariously traumatizing.         And Dr. Tanner and

18    Dr. Rosenbloom wrote this one short letter to the editor

19    that said, "Do not use Tanner stages when you are

20    talking about child pornography investigations.               Tanner

21    stages are for us to tell if the child has delayed

22    puberty or getting them ready for sports physicals or

23    things of that nature."

24             This stopped a lot of healthcare providers from

25    even acting at all in investigations of child




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 1    pornography because we all were only trained on Tanner

 2    stages.     It was about -- there was about a three-year

 3    hiatus until the World Health Organization and other

 4    international organizations changed that terminology to

 5    SMR, sexual maturation rating.

 6              SMR now is the terminology in all pediatric and

 7    endocrinology books because the Tanner stages just

 8    happen to be named after Dr. Tanner.            But there were

 9    other people who studied sexual maturation, and so as to

10    not give it that moniker and make it more generic and

11    meaningful, the term sexual maturation rating is now

12    used fairly universally.

13              So when I see a patient in my clinic and I have

14    to discern and make a physical examination, I want to

15    make sure that I have documented what stage of pubertal

16    development they are in.         I no longer, and have not for

17    more than 15 years, used the term Tanner stage 2 or

18    Tanner stage 3.      I will refer to the patient as SMR.

19              And we use the SMR rating by body part, so breast

20    development would be from stage 1, which would be no

21    breast development, to stage 5, which would be

22    equivalent to an adult woman.

23              The other one would be genital development, pubic

24    hair is typically what we would get.            So pubic hair will

25    be totally absent in a stage 1 sexual maturation rating




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 1    normal, and very characteristic in a female triangular

 2    shaped, very thick pubic hair in a stage 5.              So now

 3    almost across the world, if we read an investigative

 4    assessment that's been done by a healthcare provider and

 5    they are talking about the sexual maturation of a child,

 6    it will read something like, "This patient has B2 PH3,

 7    for example.     Breast development is stage 2, pubic hair

 8    distribution is stage 3, not stage 5, which is

 9    completely adult.

10       Q.    Okay.   That was a little more information than I

11    wanted to know, but it's very interesting.

12             The reason I brought it up is you said something

13    extremely interesting.        When you were testifying you

14    didn't say when Tanner was, and that's why I asked when

15    those were.

16             You had said, and correct me if I'm wrong, that

17    the maturation of children -- and I don't know if you

18    just meant females or all children.

19       A.    All children.

20       Q.    -- all children has happened one year earlier for

21    every decade since the Tanner stages began.

22       A.    That is correct.

23       Q.    And the Tanner stages began in the sixties.

24    We're up to at least five or six years --

25       A.    Younger, that is correct.




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 1       Q.     -- that people are maturing younger?

 2       A.     That is correct.      It used to be that the onset of

 3    breast development for girls in the United States would

 4    be 13, and now girls are starting to have breast

 5    development at ages 8 and 9.

 6              There are several reasons for this, but the

 7    research from Dr. Steingraber -- I forgot her first

 8    name, but her last name is Dr. Steingraber -- on the --

 9    the title of the research is The Falling Age of Puberty

10    in U.S. Girls.      That's the name of research, which was

11    funded by the Breast Cancer Fund in fact.             Helped us to

12    understand many of the reasons for this younger and

13    younger age of onset puberty in girls in particular.

14              It's more rapid in girls than it is in boys, but

15    boys are also developing at a younger age as well.                 The

16    primary reason that they believe children are entering

17    into puberty at younger ages are the chemicals that we

18    give to animals, the meat of which we eat.              The most

19    important one is recombinant growth hormone.

20              Recombinant growth hormone is a very common

21    hormone given to poultry.         It's also given to beef.          And

22    recombinant growth hormone is a hormone that then gets

23    into all of our systems.         It causes us to have more

24    hunger.     And because we become more hungry, we become

25    more overweight.




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 1             In girls, estrogen is stored in fat cells so the

 2    more overweight a child is, the younger they will enter

 3    into puberty because they will have more estrogen in

 4    their systems.      So that's why there is movement in our

 5    country regarding foods that don't have these added

 6    hormones and don't have added chemicals that actually

 7    change the neuroendocrine function of our brains and

 8    cause us to have more endocrinological problems.

 9       Q.    So is it fair to say then that your average 13-

10    or 14- or 15-year-old today looks like the 18- or

11    19-year-old of a few decades ago?

12       A.    That is true.      That is true.

13       Q.    Talking about drug -- I'm sorry, not drug -- sex

14    traffickers, it's true, isn't it, they are not always

15    men; they can be women as well?

16       A.    Absolutely, yes.       You do have sex traffickers who

17    are female, yes.

18       Q.    And you mentioned about the exchange of money or

19    goods, and correct me if I'm misstating you again, but

20    these are just my notes.         I think what you said was when

21    that exchange happens from a customer to a victim, it

22    goes on up the chain eventually and the trafficker gets

23    most of it, the bottom gets some, and the victim gets a

24    very little bit?

25       A.    If any.    If any.




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 1       Q.    If any?

 2       A.    Yes.   And I didn't use the term "up the chain."

 3       Q.    No, you didn't, that was me.

 4       A.    I didn't use that terminology, but generally

 5    speaking, when you have this kind of crime against

 6    persons, the key thing is that money is given to the

 7    victim at the time of the beginning of the sexual act or

 8    you have now arrived at a hotel room or wherever you are

 9    going to be, and you announce that you are Diamond or

10    whoever and it's going to cost this.

11             Money is usually obtained first before any sexual

12    acts take places, usually.         If the victim is very

13    trustworthy, the victim may be able to keep the money

14    during the sexual act and leave with the money and

15    return back to wherever she has to go in order to

16    relinquish the money.        But for young victims and new

17    victims, it is not uncommon for the bottom to come into

18    that hotel room with the victim, and when the offender

19    pays the money, he may give it to the victim and the

20    victim must turn and give it to the bottom, so that the

21    money is never really in the victim's hand for a long

22    period of time before they have to perform the sexual

23    acts that the buyer has paid for.

24       Q.    And in turn, the bottom gives the majority of the

25    money to the sex trafficker?




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 1       A.    That's correct, yes.

 2       Q.    You had -- I think you testified that the victims

 3    may minimize or forget what they have been through for

 4    whatever reason; is that right?

 5       A.    I didn't say that they would forget.            What I said

 6    was that if a victim has been a victim of

 7    polyvictimization before they were ever brought into the

 8    life, they will already have complex posttraumatic

 9    stress disorder.

10             Therefore, once they begin to be revictimized,

11    sexually assaulted, as would be seen in a sex

12    trafficking circumstance, their ability to

13    chronologically recall every single thing that has

14    happened over time will be impaired for two reasons.

15             One, their brain from the polyvictimization has

16    already experienced what's referred to in the literature

17    as neurodevelopmental disruption.           So they are already

18    children who have poor memories, have difficulty with

19    cognition, have learning disabilities, long before they

20    were ever brought into a life of sexual exploitation.

21             They already are wounded and injured children in

22    that sense from a learning perspective.             Then if they

23    come under the control, the power and control of a

24    trafficker and are now being presented or provided to

25    buyers for sexual acts, many traffickers, if there is no




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 1    bottom that is monitoring them, many traffickers require

 2    that these girls and boys write down in a little

 3    notebook every single encounter that they have and how

 4    much money they were to have received or did receive,

 5    almost like a receipt book.          They don't give a receipt,

 6    but they have to write it down.           Otherwise, the

 7    trafficker will not know for sure how much money did you

 8    really make, are you cheating me, et cetera.

 9             But they have to do it because they for sure

10    would not be able to add it all up so well because they

11    are already learning disabled young people to start out

12    with.    Then to be sold multiple times a day for sexual

13    acts worsens their degree of posttraumatic stress, and

14    they become really functionally disabled adults.

15       Q.    Okay.   Is that similar in a sense -- that sounds

16    similar to a drug trafficker who has a type of ledger

17    about the drugs he sold and who owes him money, and this

18    is frankly used in court to prove that the person is

19    indeed a drug trafficker, not just a drug user?

20       A.    The difference is that for a drug trafficker, the

21    drug trafficker is not using the drugs.             For a sex

22    trafficking victim, the sex trafficking victim has to

23    succumb to being sexually assaulted multiple times.

24             I have testified in court cases where the little

25    Hello Kitty spiral bound books were there showing the




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 1    number of sexual encounters by day.            I have definitely

 2    testified in cases like that, and that's part of the

 3    contraband that was part of the investigation.               But the

 4    difference is that in a drug trafficker situation, a

 5    drug trafficker is not using those drugs, so it's not

 6    impairing their ability to tell you about what has

 7    happened.     It only affirms how many different deals were

 8    made on a given day, et cetera.

 9       Q.     No, but it's still a business record that they're

10    keeping?

11       A.     It a business record.

12       Q.     Similar to the business record that a sex

13    trafficker is having their victims keep?

14       A.     Yes, if the sex trafficker keeps that ledger.

15    Many times the victims show that ledger to the sex

16    trafficker, but they have to keep it for the next night,

17    the next time they have to write down encounters.

18       Q.     I wanted to ask you, we did speak about the

19    victim minimizing.       And I know that something I heard of

20    that's been around for a long time with victims of

21    kidnappings.     I think it was called the Stockholm

22    effect.     Have you heard of that?

23       A.     The Stockholm syndrome.

24       Q.     The Stockholm syndrome, that's right, where the

25    victim actually likes the kidnapper and speaks favorably




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 1    of them and the thought is, I believe, if I'm not

 2    mistaken, after you get them away from the kidnapper,

 3    eventually they will come back to normal and see what

 4    happened.

 5       A.    Yes.   What you're describing is trauma bonding,

 6    more so than Stockholm syndrome.           Stockholm syndrome was

 7    specifically devised to describe how the victim would

 8    become an offender.

 9             In Stockholm syndrome, they get abducted, for

10    example, and they begin to identify with the abductor.

11    And then they begin to be willing to commit the same

12    kind of crimes that the abductor committed, so they

13    become a partner in crime, if you will.

14             They are brainwashed to believe that this is what

15    they are supposed to do and this is the way it's going

16    to be.

17             Trauma bonding, on the other hand, is a situation

18    that's frequently described in sex trafficking

19    victimization where an individual is absconded, if you

20    will, by the trafficker.         They are given the rules.

21    They are expected to follow those rules.             They are

22    punished if they do not follow those rules.              And they

23    will go on to become compliant.           They become a compliant

24    victim in that interim.

25             A Stockholm person would become the bottom, so




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 1    the Stockholm syndrome would be a person who is the

 2    bottom because they now are the enforcer.             They are

 3    acting like the trafficker.          They are giving the

 4    punishments or letting the victims know how much trouble

 5    they are in and that they are going to rat them out or

 6    tell the trafficker that they didn't make all the money

 7    they were supposed to make, so they begin to act like

 8    the trafficker.

 9             On the other hand, when you have a victim who is

10    bonded psychologically to the trafficker, what happens

11    is that they will not tell the police who it is who is

12    controlling them, they will continue the script that it

13    was my idea, I was the one -- nobody is controlling me,

14    I get to keep all of this money, et cetera, although

15    that's not true.

16             And there is nothing to show you they have kept

17    all this money because they have nothing to show for it.

18    They have no place to live except with the trafficker.

19    They have nothing, no jewelry, nothing that would

20    indicate that they are selling themselves and keeping

21    all the money.

22             Instead the trauma bonding is that they have come

23    to psychologically believe that what is happening to

24    them by the offender is in their best interest.               And so,

25    therefore, they don't try to run away, they don't try to




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 1    tell the police or anybody else this is what has

 2    happened to me.      In fact, they will deny that if they

 3    ever get questioned by authorities.

 4       Q.     But as time goes by, do they reverse, so to

 5    speak?

 6       A.     If they are rescued.       If they are rescued and

 7    they are able to appreciate that the things that they

 8    were doing were not their choice, because they have been

 9    told this is your choice, it's your life, you made this

10    decision.     And so as a developing prefrontal cortex as a

11    child adolescent who doesn't have that judgment yet in

12    the front part of their brain, they will believe that.

13       Q.     So it would be unusual for a person who is

14    rescued from sex trafficking to immediately point the

15    finger at the trafficker and say, "He's beaten me," he

16    did this, he did that, and then as time goes on actually

17    soften?     That would be the reverse of what you would

18    expect to see?

19       A.     That is -- let me restate what you just said so

20    that it's clear for me.

21              Typically victims who are rescued do not tell you

22    up front that they are being trafficked.             They have been

23    told time and time again they are not to say that, that

24    it was all their idea, because if they're minors, the

25    consequences will be far less, the trafficker will not




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 1    get into trouble, but the trafficker will be there for

 2    them.    It's usually the trafficker posing as a parent

 3    who will come and bail them out of juvenile detention,

 4    for example.     That's a very common scenario when you

 5    have minors who are arrested for what is seen as

 6    malingering or sometimes seen as soliciting and some of

 7    other minor charges that we bring against individuals

 8    who might be exchanging sex for money or drugs.

 9       Q.    All right.     In the cases you are involved in,

10    have the victims ever had a psychological or psychiatric

11    evaluation and treatment as a result of the trafficking?

12       A.    Yes, I have.     Yes, definitely.

13       Q.    Is that frequently done?

14       A.    I would say I have seen psychological assessments

15    in less than 50 percent of the victims, for several

16    reasons.    One is that sometimes these victims are very

17    unstable.     They don't have a stable home.          Many times

18    their parents have rejected them or they were out of

19    their home anyway starting out because they were already

20    in foster care and situations like that, so they didn't

21    have a concerned caregiver for them.

22             And because of that reason, it's very hard for

23    them to even have the capability of making healthcare

24    decisions, agreeing to have any therapy.             If a victim is

25    rescued in our country, they need to be placed in some




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 1    type of residential treatment facility that will be safe

 2    for them and where they can receive appropriate mental

 3    healthcare services.        We as yet in our country do not

 4    have the capacity to be able to provide that 100 percent

 5    of the time.      We don't even have yet the capacity to

 6    provide that 50 percent of the time, but it is a goal on

 7    the part of our country.

 8       Q.    You spoke a bit about a renegade/independent.

 9    Are those two terms equivalent, or is there a difference

10    between a renegade and an independent?

11       A.    I would say they are not the same.           They are not

12    the same.     A renegade is a person who may choose to not

13    go along with the rules and regulations eventually of a

14    trafficker and may run away from that individual or may

15    actually be ousted by that individual because they are

16    not obedient enough.

17             But they do not necessarily become a trafficker

18    themselves.      They may be picked up by another trafficker

19    who will sell them but treat them differently.

20       Q.    Okay.    I misunderstood.      I thought a renegade was

21    someone who was, for instance, a bottom, who then went

22    into business for him or herself away from the main

23    trafficker.

24       A.    They can be, but not always.          They can be that

25    kind of person but they have to have the capability of




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 1    being able to be smart enough to do that.             And so

 2    sometimes, you know, they have had brain injuries from

 3    strangulations and blunt force trauma to the head, et

 4    cetera, and many times they are unable to do that.

 5             If they are capable of establishing their own

 6    enterprise and grooming and bringing in other girls to

 7    sell, then that would be one of the outcomes that you

 8    could see for a renegade, but not every victim who is

 9    referred to as a renegade will have that kind of

10    cognitive capability.

11       Q.    Can a sex trafficker or a renegade, whether it's

12    a renegade or just a common sex trafficker, can they

13    have a social life of their own apart from the sex

14    trafficking?

15       A.    Yes, absolutely.

16       Q.    Can they have a significant other that's not

17    involved in sex trafficking?

18       A.    Yes, they can.

19               MR. WENDT:      Thank you very much.        Those are all

20    the questions I have.

21               THE COURT:      Redirect?

22               MS. IVERS:      Yes, Your Honor.

23                           REDIRECT EXAMINATION

24    BY MS. IVERS:

25       Q.    Dr. Cooper, just going back to the porn thing,




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 1    one quick question on that.          So are you familiar with

 2    amateur porn websites?

 3       A.    Yes, I am.

 4       Q.    Can you just explain what those are?

 5       A.    Amateur pornography websites are also on the

 6    internet, and they are made by people who are not

 7    professional videographers, who don't have studios, and

 8    many times they are homemade images.

 9             And the nature of those images, the purpose of

10    having those images are, A, to make money for the person

11    who is selling those images online, or, B, those images

12    may be used to sell the person of which those images are

13    made online, so it's like a teaser.            "Look at this,

14    she's available to you, it will cost you whatever," or

15    "Get in touch with me," may not mention how much it will

16    cost to actually have sex with this person.              But it is a

17    marketing tool that's used sometimes.

18       Q.    Okay.    And kind of in that realm, you were asked

19    a lot of questions about making money as a pornographer,

20    and also even making money as a pimp, you referred to

21    very successful pimps or traffickers.

22             Are traffickers necessarily rich or high rollers?

23    Are there traffickers who make not a ton of money

24    through their businesses?

25       A.    Right.    I think we see all different kinds.            I




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 1    have testified in court cases where a particular

 2    trafficker in Connecticut was a millionaire and had a

 3    lot of money.      He was a diversified trafficker, not just

 4    a sex trafficker, but also a weapons trafficker.

 5             On the other hand though, the majority of the

 6    traffickers that I have -- whose cases I have testified

 7    in are not wealthy people.         They are not living hand to

 8    mouth, but they are not well to do.            And they will --

 9    and they do not spend a lot of money on the girls that

10    they are trafficking either.

11             So it's common, for example, to find a trafficker

12    renting a Motel 6, two or three rooms for a couple of

13    weeks and have everybody between these two or three

14    rooms, and they will only provide sexual acts as

15    callouts, where the victim goes to where the person

16    online says I want them to come to my hotel room or to

17    my house or whatever.

18             So no, they are not always well to do at all.                 I

19    think most of the ones that I have testified in -- cases

20    I have testified in have not been wealthy people.

21       Q.    Is there a reason that they might want people to

22    think that they have a lot of money?

23       A.    Yes, because if it looks like you have a lot of

24    money, groupies or people will want to gravitate toward

25    you because you look successful.           That both enhances




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 1    your ability to recruit women and girls because you look

 2    successful, and also it facilitates your being able to

 3    arrange sexual dates because buyers will feel that this

 4    looks like a pretty successful person, so I can probably

 5    trust them, not only to provide safe sex for me, but

 6    also discretion.

 7       Q.    And you also were asked a couple questions about

 8    repeated victims of trafficking.           Have you seen

 9    instances where a victim runs away and then comes back

10    to the same trafficker?

11       A.    Yes, I have.

12       Q.    What's the dynamic there?

13       A.    It is very similar to the dynamic that we see in

14    intimate partner violence where a wife or a girlfriend

15    leaves, but after she's gone, if that individual is in

16    touch with her, they often promise this will never

17    happen again, I just lost control, all of those kinds of

18    things and it's very common for them to return.

19             So the dynamics of the violence in the

20    relationship are probably the most compelling to bring

21    that victim back into that relationship.

22       Q.    Moving on to sort of the sexual maturity

23    discussion that you just had.          So you said -- I think

24    you said like a 13- or 14-year-old would look like an

25    18- or 19-year-old from the sixties.            Am I understanding




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 1    that correctly?

 2       A.    Right.    A 13-year-old today and a 14-year-old can

 3    be completely sexually mature; whereas in the sixties,

 4    that person would have been 16 or 17 years of age as far

 5    as sexual maturation was concerned.

 6       Q.    But that was like, what, 60 years ago?

 7       A.    Right, it has been that long.

 8       Q.    And so you -- so we're talking about physical

 9    maturity.     How do you tell that -- can you tell that

10    someone is 14 or 15 and not 18 or 19?

11       A.    I sure can.     All I have to do is talk to them,

12    because even though there is sexual maturation, there is

13    not brain maturation.        And, if anything, the brain is

14    less mature than we thought from before.

15             And so these victims who are 12 or 13 years of

16    age who may have a perfectly mature body will be very --

17    they will either come across as highly naive or very

18    immature, or you will talk to them and it will be very

19    clear that you can suggest pretty much anything to them

20    and they will buy into it, because they are not -- they

21    don't have the brain maturation to be able to discern

22    what is in their best interest and what is not.

23             I have spoken to many 13-, 14- and 15-year-olds

24    who were trafficking victims, that's how I came to be

25    speaking to them, and they would talk to me for 10 or




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 1    15 minutes, and then they would stop and say, "Do you

 2    know what really has happened to me," and I would say,

 3    "Yes, you're in the life, right?"           And they would

 4    breathe a sigh of relief and then be able to continue

 5    their conversation.

 6              Which a person who is cognitively the 18-, 19- or

 7    20-year age is going to be a totally different kind of

 8    person.     They are going to have a lot more, not just

 9    sophistication, but they will have more cognitive

10    capabilities, unless they are so disabled and drugged

11    out or have been brain injured because of closed head

12    injuries, et cetera.

13       Q.     And you're a doctor, you work with these patients

14    all the time.      Can someone who is a layperson -- is it

15    your opinion that someone who is a layperson would also

16    be able to pick up on these cues as far as cognitive

17    development?

18       A.     Yes.   It is my opinion that they would.           For one

19    reason, teachers can tell this, coaches can tell this,

20    scout masters can tell this.          People who interact with

21    children can tell pretty quickly if you have a child who

22    is not at their age level.

23              It's very -- it's much more apparent when

24    children get into their teens as it is in the five-,

25    six-, seven-year-old child.




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  1       Q.   On the topic of forgetting, so you seem to

  2   distinguish between things that a victim actually

  3   remembers and that he or she is able to explain to

  4   someone else.

  5            So is it your experience that someone might

  6   remember and say that they forget what happened to them?

  7       A.   What I have seen and what the literature says is

  8   that victims often can recall the core elements of what

  9   has happened to them, especially life-threatening

 10   circumstances, because that's very front and center in

 11   their thought process.

 12            However, chronologically, they are unable to

 13   consecutively say this happened first and then this

 14   happened next, and then it was in 2011 that such and

 15   such happened, and so on and so forth.

 16            It is their chronological thinking that becomes

 17   significantly impaired.         And so consequently when they

 18   bring up new issues that have happened to them to a

 19   therapist or an interviewer, the interviewer will think

 20   this person is all over the place, they are just

 21   mentioning all of these different things, I don't know

 22   what's true and what's not true.

 23            That is the nature of complex PTSD, which is why

 24   it's called complex PTSD as compared to traditional

 25   PTSD.    Because remember, especially in trafficking




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  1   victims, the most common preceding life experiences has

  2   been polyvictimization.         One other thing that is

  3   relevant to that is that research has shown if you have

  4   been abused the same, like sexual abuse, pretty much all

  5   of your life, your prognosis is much better than if

  6   you've had four or five different kinds of abuses often

  7   during your life.

  8            It leaves your brain in a state of poor

  9   regulation.      That's the term that's used in the

 10   literature, poor regulation.          Because if you're always

 11   sexually abused, your brain -- you can accommodate to

 12   that.    You anticipate it.        You understand what's going

 13   to happen.     It's the same person.         You can dissociate

 14   yourself from it, if you're able to do that.               But it's

 15   not going to be you're also going to get beaten, you're

 16   also going to be tied up, you're not going to get to eat

 17   food for three days.        You're not going to have all that

 18   other stuff.

 19            Those are the kinds of additional forms of

 20   assault to your psyche, have much more outcomes.                   And I

 21   would say that the person who has written a lot about

 22   this, the two people who have written a lot about that

 23   started with Dr. Bruce Perry.           Dr. Bruce Perry from the

 24   Trauma Academy, both in the United States, he's at

 25   Baylor, and also has a site in Canada.




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  1             And then Dr. Julian Ford from the University of

  2   Connecticut has been the second really renowned writer

  3   in this particular area.

  4       Q.    How might drugs have an effect on a trafficking

  5   victim's ability to remember what happened?

  6       A.    It would have a huge effect.         It depends -- and

  7   it does depend also on what kind of drugs the victim has

  8   been provided.       Marijuana is not so difficult, but once

  9   you start having heroin and Ecstasy and many of those

 10   kinds of drugs, it's harder for a victim to be able to

 11   be, again, chronological or even recall all the details

 12   at all.

 13       Q.    So you mentioned -- you said that it's certainly

 14   possible for a woman to be a sex trafficker, and you

 15   also mentioned -- we have also been talking a lot about

 16   bottoms.     Can a bottom be mistaken for a trafficker?

 17       A.    Yes, because a bottom is -- if you have a bottom

 18   who's very experienced, she may be willing to be the

 19   face of the trafficker to protect the trafficker,

 20   especially if the trafficker is a high-level person.

 21             And so you may very well not know that a person

 22   is a sex trafficker at all because this is the front for

 23   them.     This person is the front for them.

 24       Q.    And why would she be willing to be the front?

 25       A.    Because she has bought into her devotion to that




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  1   individual.      Usually there is a close relationship that

  2   started out, remember, as a sex trafficking victim

  3   relationship.      And the fact that she has remained with

  4   that individual over a period of time lets you know that

  5   psychologically she is bonded to that individual and

  6   also she sees benefits for herself in that process.

  7            Many bottoms will say they couldn't imagine any

  8   other work that they would be suited for because they

  9   know so much about the life and how to market girls

 10   and/or boys and how to deal in the system, so this is

 11   why they are so devoted and remain in that situation.

 12       Q.   And they know how this works, they have

 13   experience in this.        What barriers are there to prevent

 14   someone like a bottom or someone who has got a lot of

 15   experience from just becoming a trafficker with no one

 16   else above them?

 17       A.   Well, one of the barriers is how she feels about

 18   that trafficker.       I forgot to mention that many bottoms

 19   see themselves as in love with the trafficker, and many

 20   times they see themselves as common law wives to the

 21   trafficker as well.        I forgot to mention that component.

 22            So could you repeat your question again?              I

 23   apologize.

 24       Q.   So what barriers stand in the way of a bottom

 25   becoming just her own trafficker with no one else above




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  1   her?

  2       A.   A bottom may be a believer in the tradition of

  3   sex trafficking and sees the male trafficker, if that's

  4   who the individual is, as the father, boyfriend,

  5   spiritual leader in the whole culture of pimping.                  That

  6   is a dynamic that was not well understood until we

  7   started to really research what is the role of the

  8   trafficker in the family so to speak.

  9            They play three roles.         One is the father.

 10   That's why it's often referred to as the daddy, but he's

 11   the person who provides shelter and sometimes food for

 12   the women and girls who he is trafficking.              He is an

 13   incestuous father, because he also sexually assaults

 14   these women and girls at will, et cetera.

 15            He is also the husband/boyfriend in the culture

 16   of pimping.      In fact, terminology in sex trafficking of

 17   women and girls is that everyone is married to that

 18   trafficker, and they refer to each other as

 19   "wife-in-laws."       That's the terminology that is used.

 20            And the reason that that's important is because

 21   when I get ready to interview a survivor, it's important

 22   for me to know what she sees her relationship to be with

 23   that person.      Because if she says, "Well, that's my

 24   husband," even though there is no legal marriage that

 25   has ever taken place, it's a common law marriage type of




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  1   perception on the part of that victim, then I am going

  2   to have to be careful about how I ask questions because

  3   she's going to not want to provide information that way.

  4            And then from a spiritual perspective, spiritual

  5   wounding is written about quite a bit from the Office of

  6   Victims of Crime and other agencies and in lots of child

  7   victimization research.

  8            Spiritual wounding is when an individual reminds

  9   a victim many times over, "God put me in your life, you

 10   better thank God, I was the one who rescued you from

 11   that foster care facility or from that homeless

 12   shelter," et cetera.        They not only will attribute their

 13   position in the life of the victim as something that was

 14   meant to be theologically, they also will carry that a

 15   step further and often even read holy books every day to

 16   the victims in a given family, reminding them that we

 17   are -- I'm in charge because this is the way God would

 18   have it to be, et cetera.

 19            It doesn't have to be God.          It can be Allah.        It

 20   can be whomever they are lifting up, but for the

 21   victims, once they are rescued and have had therapy,

 22   they often become -- they often have a loss of faith

 23   after such a circumstance, which is referred to in the

 24   literature as spiritual wounding.

 25       Q.   You mentioned this husband/boyfriend dynamic.                   Is




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  1   it common for a trafficker and one or multiple victims

  2   to have children together?

  3       A.   Yes.    What is interesting is that you never know

  4   that it's the trafficker's child.            The trafficker almost

  5   always claims paternity, but because the victim is

  6   having sex with 8 to 10 to 12 people a night, I have not

  7   -- I have testified in court cases where the trafficker

  8   claimed paternity.        I have never seen a paternity test

  9   to prove that fact in any of the cases I have ever

 10   testified in.

 11       Q.   How might having a child together influence the

 12   victim either to not leave or to not go into business on

 13   her own?

 14       A.   It has a huge impact, especially if the victim is

 15   an adolescent, because once the trafficker claims

 16   paternity of a pregnancy that a victim now has

 17   developed, the victim is very bonded then to the

 18   trafficker.

 19            In some of the rap music that you hear, they will

 20   talk about that's my baby's daddy, and what that means

 21   is I'm never turning on that person because they are the

 22   father of our children or my child, et cetera.               So that

 23   is a very highly successful manipulative ploy on the

 24   part of traffickers who have women and girls they are

 25   controlling become pregnant.




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  1             They have frequently immediately said, "That's my

  2   baby and so we're going to take care of that baby," but

  3   they don't.      Usually the child is given up to social

  4   services or sent to some extended family member to be

  5   raised, not usually within the household of the

  6   trafficker and the victims.

  7       Q.    So we talked about, just kind of on this topic of

  8   renegades or bottoms and going into business on their

  9   own.     What do you look for to distinguish between

 10   someone who is a bottom, who is kind of running the

 11   business, and someone who is a true trafficker like

 12   potentially a female trafficker?

 13       A.    For one thing, a bottom tends to verbally protect

 14   the trafficker and is pretty adamant that he is just a

 15   friend, he just drives the cars for us, I'm the one who

 16   is responsible for all of the negotiations.               They kind

 17   of voluntarily take ownership.

 18             Wherein the true trafficker doesn't ever

 19   voluntarily take ownership for what is going on, so that

 20   would be one of the first components that one would want

 21   to consider.

 22             And then the second point would be what evidence

 23   of finances exist for the bottom.            A trafficker

 24   typically has money.        They tend to make a lot of money,

 25   for which they never pay taxes, so they have -- if they




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  1   are investigated, many times you will find money.                  It

  2   may be -- it's not in banks very often, but it's in

  3   places where you can see there is a significant amount

  4   of cash money.

  5            Whereas the bottom does not usually have access

  6   to that kind of money.         She may have a certain amount

  7   for bail money that has been set aside specifically for

  8   that purpose, but she does not have the equity or the

  9   wealth that the trafficker would usually have.

 10               MS. IVERS:     No further questions, Your Honor.

 11               THE COURT:     Recross?

 12               MR. WENDT:     Hold on just a second.

 13               (Pause.)

 14                           RECROSS EXAMINATION

 15   BY MR. WENDT:

 16       Q.   If someone was just around for a week or two, a

 17   victim, is it true that they are less likely to minimize

 18   or forget what had occurred to them?

 19       A.   I want to make sure I understand the question.

 20   If someone was around a victim for a week or two?

 21       Q.   No, if the victim herself was only in the life

 22   for a week or two, for a brief period of time, would

 23   they be less likely to suffer these effects that you

 24   discussed, some of which is minimizing or forgetting

 25   what happened to them?




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  1       A.   It would depend upon what the victim has

  2   experienced in that week or two.           It is not unusual, for

  3   example, for a victim to be brought in with a train,

  4   with multiple individuals sexually assaulting the victim

  5   the very first night that they have come under the

  6   control of a trafficker.

  7            And that in and of itself is highly traumatizing

  8   for a victim, so they very often will not be unscathed

  9   and they would have difficulties.            On the other hand, if

 10   a victim has been in and out of home care, has been

 11   sexually assaulted on numerous occasions and now they

 12   are, for two weeks, as you described, under the power

 13   and control of the specific individual, the trafficker,

 14   for a short period of time, is your question will they

 15   be less affected?       Is that your question?

 16       Q.   Basically, yes.

 17       A.   I would certainly say that there is a definite

 18   relationship between the longer time -- longer period of

 19   time an individual is under the power and control of a

 20   trafficker and all of those sexual exposures that they

 21   experience from that process, to include use of drugs

 22   and infections and medical complications, yes, the

 23   longer, the worse the outcome will usually be.

 24       Q.   One other thing you just mentioned is that

 25   sometimes these victims, they have no place else to




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  1   turn, they have no place else to go.             What if a victim,

  2   a young woman or girl, did have someplace else to go,

  3   she actually had a decent home to go to.              Would that

  4   person be less affected than the person who didn't have

  5   a place to go?

  6       A.   It would all depend upon why the victim is not in

  7   that home that has resources to support her.               Often

  8   children who have homes like that are not in their home

  9   because they have been thrown away from the home because

 10   they have been using drugs or have not been following

 11   the rules and the parents see the presence of that child

 12   as a risk for other children in the household or safety

 13   in the household, so they may have been thrown out.

 14   These are called throwaway children.

 15            Or they may have been a victim in that home that

 16   for all other reasons appears to be a stable, reasonable

 17   home, but this victim may have been a child sexual abuse

 18   victim in that home for a period of time, so for them

 19   running away from that home or leaving that home to

 20   them, to the victim, is their way out.

 21            So in answer to your question, having been out of

 22   a home for not a long time, and having been brought into

 23   the life, does not necessarily mean that they are going

 24   to have the major impacts that I have been describing if

 25   in fact there is a safe, secure and nurturing




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  1   environment for them to be in and they are in that kind

  2   of environment, even if it's a best friend's house or

  3   something like that.

  4       Q.   Okay.    And then my last question is:           If they did

  5   come from a good home, if they were never abused in the

  6   home and if they were only away for one or two weeks,

  7   typically that person would not forget what happened to

  8   them during those two weeks; is that true?

  9       A.   I think that would be true.          They might not

 10   forget -- it's unlikely they would forget, but that

 11   doesn't necessarily mean that they would disclose what

 12   has happened to them, because there may be guilt, shame

 13   and self-blame.

 14       Q.   I just wanted to understand what you had

 15   testified to on redirect.          Correct me if I'm wrong, but

 16   you said when apprehended -- I don't know if you used

 17   the terms apprehended -- but when caught, the bottom

 18   will protect the trafficker and the trafficker never

 19   takes ownership, the trafficker never admits to it, but

 20   the bottom will protect the trafficker?

 21       A.   I think what I said was that the bottom will

 22   typically protect the trafficker.            I very rarely use

 23   terms like "never," but it is unlikely that the

 24   trafficker would just choose to confess out of love and

 25   support for the bottom.         I have not seen that occur




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  1   typically, but I have seen bottoms certainly protect the

  2   trafficker under the belief that the trafficker will

  3   come to their rescue at some point either by paying for

  4   a lawyer or paying for bail or some other means.

  5         Q.     All right.      And I believe you also testified, I

  6   don't know if this is typical or not, but the victim

  7   would have 8 to 10 to 12 experiences a night.               I don't

  8   know if they are called tricks or dates or whatever they

  9   are, but that 8 to 10 to 12 number seems likes a lot to

 10   me.        Is that typical that they are that active?

 11         A.     Yes, that is very typical.      It is very common for

 12   victims to have one hour, typically an encounter for one

 13   hour or so, and that usually starts sometimes at 3:00 in

 14   the afternoon and goes until 6:00 the next morning.

 15         Q.     Geez.   Okay.

 16                All right.      If a bottom is involved in drug

 17   trafficking and has a social life or a significant

 18   other, that person is only around for a short time -- I

 19   meant sex trafficking.            I apologize.   Sex trafficking.

 20         A.     Could you start again?

 21         Q.     If someone thought to be a bottom has a lot of

 22   experience in sex trafficking, and that person has a

 23   social life, a significant other or boyfriend who does

 24   not know about what the bottom, or what in this case the

 25   trafficker is doing who is thought to be a bottom, would




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  1   that person still have loyalty to their boyfriend or

  2   would they perhaps turn on him?

  3       A.   I'm not sure that I have seen that particular

  4   scenario, and so I would hate to opine having not seen

  5   that particular scenario.

  6            What I do know -- I know and continue to

  7   communicate with former bottoms, and what I believe is

  8   that if they were involved with a trafficker and they

  9   also had a romantic relationship with someone else, and

 10   if I'm correct with what you opined, what your

 11   hypothetical was, and the real boyfriend did not know

 12   about the presence of the trafficker, if that's the

 13   original hypothetical that you presented --

 14       Q.   Or if the bottom is actually the trafficker.

 15       A.   Those are two different things altogether.                So if

 16   the bottom is still working for a trafficker, has a

 17   boyfriend, would she still be devoted to the trafficker;

 18   is that your question?

 19       Q.   What loyalty does she have to her boyfriend?

 20       A.   She may -- I don't know.         It would depend upon

 21   the relationship with the boyfriend.             If the boyfriend

 22   is the kind of boyfriend that accepts pretty much

 23   everything, she could remain loyal to that boyfriend.

 24   On the other hand, if she has a relationship with a

 25   trafficker and has a boyfriend, the boyfriend may be her




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  1   cover so that she appears to have a legitimate

  2   relationship with somebody so that the trafficker would

  3   not be seen as that person.

  4               MR. WENDT:     Thank you very much.        Those are the

  5   only questions I have.

  6               THE COURT:     Okay.    Looks like we're done.

  7   Thank you very much, Doctor.          You're excused.

  8               (Witness excused)

  9               THE COURT:     Do you want to start a new witness

 10   now, or do you want to come back in an hour with the

 11   next witness?

 12               MR. REARDON:      Your Honor, given the next

 13   witness needs to come from downstairs, it's going to

 14   take five or so minutes to get her up here.

 15               THE COURT:     Start at ten until 1:00 p.m.

 16               MR. REARDON:      We're prepared to go earlier than

 17   that if need be, Your Honor.

 18               THE COURT:     I'm prepared to go whenever you

 19   are.

 20               MR. REARDON:      I think there is other people who

 21   need an hour.

 22               THE COURT:     Let's start at ten until 1:00 p.m.

 23               DEPUTY CLERK:      All rise.     This matter now

 24   stands in recess until 12:50 p.m.

 25               (Recessed from 11:51 a.m. to 12:42 p.m.)




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  1               DEPUTY CLERK:      His Honor, the Court, the United

  2   States District Court is again in session.

  3               Please be seated.

  4               THE COURT:     Okay.    We're back.      Good afternoon,

  5   ma'am.    If you could stand just for a second, she's

  6   going to swear you in and we'll get going.

  7               MR. REARDON:      Your Honor, the United States

  8   calls Ajela Banks to testify.

  9               THE COURT:     Very well.

 10               (Oath administered to the witness)

 11               DEPUTY CLERK:      For the record, can you please

 12   state your full name and then spell your full name.

 13               THE WITNESS:      Middle name too?

 14               DEPUTY CLERK:      Full name.

 15               THE WITNESS:      Ajela Akesi Iyakarmeya Banks,

 16   A-j-e-l-a, A-k-e-s-i, I-y-a-k-a-r-m-e-y-a, and Banks,

 17   B-a-n-k-s.

 18               AJELA BANKS, GOVERNMENT WITNESS, SWORN

 19                           DIRECT EXAMINATION

 20   BY MR. REARDON:

 21       Q.   Thank you, Your Honor.

 22            Ms. Banks, just to remind you that everything is

 23   being recorded and the court reporter in front of you

 24   needs to be able to hear everything that you say, so we

 25   need you to speak into the microphone and try to speak




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  1   as slowly and clearly as you can.            I know it's difficult

  2   because of the mask.        Do you understand?

  3       A.   (Witness nods head.)

  4       Q.   Do you know Tristan Grant?

  5       A.   Yes.

  6       Q.   Do you see him in the courtroom today?

  7       A.   Yes.

  8       Q.   Can you identify him in the courtroom?

  9       A.   Sitting to my left.

 10       Q.   Item of clothing that he might be wearing or a

 11   hairstyle or anything that distinguishes him?

 12       A.   He's in oranges.

 13               MR. REARDON:      Your Honor, let the record

 14   reflect that the witness has identified Mr. Grant.

 15               THE COURT:     Yes, so noted.

 16   BY MR. REARDON:

 17       Q.   How do you know Mr. Grant?

 18       A.   We were like involved.         We have a child together.

 19       Q.   And when was that child born?

 20       A.   July 24, 2019.

 21       Q.   When you say "involved," what do you mean beyond

 22   having a child together?

 23       A.   Like we had a relationship.

 24       Q.   Do you recall when that relationship began?

 25       A.   I believe we started talking like late June,




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  1   July-ish on social media basically.

  2       Q.   Okay.    And late June or July-ish of what year?

  3       A.   2018.

  4       Q.   Before we get into the details of that

  5   conversation, let me ask a couple of questions.

  6            You are currently in jail, correct?

  7       A.   Yes.

  8       Q.   Why are you in jail?

  9       A.   You mean state my charge?

 10       Q.   Yes.

 11       A.   Conspiracy sex trafficking of minors.

 12       Q.   And did you plead guilty to that charge?

 13       A.   Yes.

 14       Q.   And you're testifying here today as part of a

 15   cooperation agreement, correct?

 16       A.   Yes.

 17       Q.   What do you understand the terms of that

 18   agreement to be?

 19       A.   To tell the truth, if I'm asked to tell the

 20   truth.

 21       Q.   And are you expecting to receive a benefit as a

 22   result of your cooperation?

 23       A.   That's not my understanding.

 24       Q.   Okay.    So getting back to your relationship with

 25   Mr. Grant, you said you started to talk to him, was it




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  1   social media you said?

  2       A.   Yes.

  3       Q.   In July of 2018 or June of 2018?

  4       A.   Yes.

  5       Q.   Do you remember what social media platform you

  6   used to communicate with him initially?

  7       A.   Facebook.

  8       Q.   And who was it that initiated the communications,

  9   do you recall?

 10       A.   I think it was like him.         He sent me a friend

 11   request, and then I think I responded with like a wave

 12   or a quote.

 13       Q.   And what was the nature of that initial

 14   communication on Facebook?

 15       A.   It was just like formal greeting, getting to know

 16   each other, asked some questions about, like, our

 17   lifestyles because they like kind of had some stuff in

 18   common where I had the escorting and then him saying

 19   that he's a business kind of guy, could like get me into

 20   like other aspects of like entertainment and modeling

 21   and stuff.

 22       Q.   You said a couple of things there that I want to

 23   go back and get into more detail on.

 24            Stuff in common.       What sort of stuff in common

 25   did you have?




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  1       A.   Like I was like escorting and he like pretty much

  2   knew like how to take girls and like work with them,

  3   because he's familiar working with other females like

  4   that, so that's what I mean when I say in common.                  And

  5   then both was like just making money.

  6       Q.   Escort means to be in the sex trade?

  7       A.   Yeah, prostituting.

  8       Q.   When you said he had experience working in that

  9   area, what was it about your communications that led you

 10   to believe that he had that experience?

 11       A.   He was sending me pictures of, like, other women

 12   and like lingerie and like all of this money, and then

 13   saying that he could elevate me and like introduce me

 14   like to other kind of platforms and stuff, just like

 15   what I was doing.

 16       Q.   When you say "other kind of platforms," what do

 17   you mean by other kind of platforms?

 18       A.   Like he was working on adult entertainment thing

 19   he called HU$H, lingerie thing, and like I could go to

 20   that.

 21       Q.   You said "Hush."       That's H-U-S-H?

 22       A.   Uh-huh.

 23       Q.   Did you ever learn from Mr. Grant or anyone else

 24   what HUSH stood for?

 25       A.   Yeah, Have You Seen Her.




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  1       Q.   So Have You Seen Her, the acronym is HUSH?

  2       A.   Yeah.

  3       Q.   Did you ever see a logo for HUSH?

  4       A.   No.     It was like, I think he was still like going

  5   through what he wanted to use, like sometimes like a

  6   pair of like women's lips or something.             It wasn't

  7   really like a set logo made for it yet.

  8       Q.   Any other businesses or enterprises that he told

  9   you he was involved with during these initial

 10   communications?

 11       A.   No, not at that stage.

 12       Q.   Was your conversation at this time only on

 13   Facebook or did you use any other social media

 14   platforms?

 15       A.   We used Snapchat.

 16       Q.   Explain for the Court what Snapchat is.

 17       A.   It's another social media app, like more

 18   fast-paced, like -- yeah.

 19       Q.   It's a way to exchange messages and pictures and

 20   videos, correct?

 21       A.   Yeah.

 22       Q.   Both Facebook and Snapchat are apps that were on

 23   your phone or computer?

 24       A.   Yeah.

 25       Q.   And they are accessible through the internet?




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  1       A.   Yeah.    You can get on Snapchat on the internet,

  2   but like you can't go on Snapchat on like your computer.

  3   It's only smartphones.

  4       Q.   It's only on your phone?

  5       A.   Yeah.

  6       Q.   You said earlier that during this time you were

  7   an escort or in the business.           When did you first start

  8   working as an escort?

  9       A.   When I was 15.

 10       Q.   How old are you now?

 11       A.   21.

 12       Q.   Do you recall where it was when you first started

 13   to work as an escort?

 14       A.   Foster care in Alaska.

 15       Q.   I'm sorry.     What was that?

 16       A.   Foster care in Alaska.

 17       Q.   And between the ages of 15 and -- let's clear

 18   this up a little bit.        So you're 21 now, correct?

 19       A.   Yes.

 20       Q.   When you met the defendant in July of 2018, how

 21   old were you?

 22       A.   18.

 23       Q.   So between the ages of 15 and 18 when you met the

 24   defendant, where had you worked as an escort?

 25       A.   I was like pretty much like just, I don't know, I




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  1   met older people through like my foster parents and they

  2   would like just set up ads on Backpage.             And then like I

  3   would go to the trailer court in Muldoon.

  4            And then I found myself like stranded in Los

  5   Angeles due to some stuff with my mom, and then I was

  6   just like escorting from Los Angeles, Colorado, Arizona

  7   and Vegas.

  8       Q.   During that three-year period that we're talking

  9   about, between 15 and 18, were there times when you had

 10   a pimp or somebody who managed your sex trade business?

 11       A.   Yes.

 12       Q.   Do you recall how many times you had a pimp

 13   during that time?

 14       A.   It was like eight or ten times.

 15       Q.   In your communications with the defendant online

 16   through Facebook and Snap in the summer of 2018, was

 17   there anything that he said or did that gave you an

 18   indication that he might be involved in the game or the

 19   lifestyle or be a pimp?

 20       A.   At first, like no.        I just thought he was just

 21   like kind of like a rapper, some kind of like gang

 22   banger thingy.       I mean my friends were making like

 23   subtle comments about, oh, you're green, he's going to

 24   do this to you.       And I just was like ignoring it.

 25            And so we continued to talk.          And then like he




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  1   actually got here and like we elevated to like Snapchat

  2   and Facetime, and then was like more focused about like

  3   questions of like, oh, how much money am I making and

  4   just like back to the escorting thing.

  5            Because I said I was in escorting, but I wasn't

  6   doing it like as heavy as I normally was.              I was like

  7   maybe one or two guys like every other week, but I was

  8   working a regular job.

  9       Q.   So is it fair to say that your relationship with

 10   the defendant changed from when you initially met him

 11   until the time that you were eventually separated from

 12   him?

 13       A.   Yeah.

 14       Q.   And you mentioned him getting here.            We're going

 15   to get to that in a minute, but I want to clarify a

 16   couple of things that I said and ask you to define them.

 17            I used the term "the game" and being in "the

 18   life."    What do those two terms mean to you?

 19       A.   Wait, what?

 20       Q.   If I say to you "the game" or "being in the game"

 21   or "being in the life," do those terms mean anything to

 22   you?

 23       A.   Yeah, that's like -- that's like, you know,

 24   prostitution, pimping, like anything that's like drug

 25   dealing or like gang banging, like that kind of stuff.




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  1       Q.   Okay.    The videos and the pictures that he sent

  2   to you while you were talking on Facebook and Snap, what

  3   generally did those show, do you recall?

  4       A.   Huh?

  5       Q.   The pictures and videos that he sent to you when

  6   you were talking on Facebook Messenger -- or Facebook

  7   and Snap, do you recall what those showed?

  8       A.   Yeah.    It was, of course, like explicit nude

  9   photos of him and then like photos of like a few, I

 10   think it was like two or three different females

 11   counting money, taking pictures with money, like posing

 12   with him or just like nude photos that he took of them

 13   like of professional kind of matter.

 14       Q.   So at some point, did this online relationship

 15   transition into an in-person relationship?

 16       A.   Yeah.

 17       Q.   Do you recall where the defendant was when you

 18   were talking to him online?          Did he ever tell you?

 19       A.   I think he told me he was in like Virginia, but

 20   when he eventually got here, my mom went snooping and

 21   she told me like she looked at the tag or something on

 22   his bag and it said like Michigan or something.                I just

 23   cast it off when he said he came from Virginia.

 24       Q.   You mentioned him coming here with his bag.               Do

 25   you remember when it was that he got here?




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  1       A.   Early September.

  2       Q.   Again, that's September 2018?

  3       A.   Yeah.

  4       Q.   Do you know how he got the money to travel from

  5   wherever he was, Virginia or Michigan, to Alaska?

  6       A.   Yeah.    He told me he had a little bit, but then

  7   he needed some, so I ended up like sending him some

  8   money through a money order.

  9       Q.   Do you remember how much money you sent him?

 10       A.   I think it was like $100 or $150.

 11       Q.   And what was the purpose of that $100 or $150?

 12       A.   So he could pair it with what he had and get a

 13   plane ticket to Alaska.

 14       Q.   In early September, like you said, he made his

 15   way to Alaska?

 16       A.   Yeah.

 17       Q.   Was that came to Anchorage?

 18       A.   Yeah.

 19       Q.   Where were you living at the time when the

 20   defendant arrived in Anchorage?

 21       A.   On 12th and Cordova.

 22       Q.   That's 12th and Cordova in downtown?

 23       A.   Downtown Anchorage, yeah.

 24       Q.   So had you and the defendant spoken about what

 25   your relationship was going to be like when he came back




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  1   to Anchorage?

  2       A.   No.     I would call it like we were still pretty

  3   much like at the honeymoon stage.            Everything was kind

  4   of nice, yeah.

  5       Q.   Prior to him arriving, would you have considered

  6   him to be a boyfriend or somebody that you wanted to be

  7   romantic with?

  8       A.   Yeah.

  9       Q.   At some point after his arrival, did he become

 10   your boyfriend?

 11       A.   I thought so.

 12       Q.   You thought so?

 13       A.   Yeah.

 14       Q.   Okay.     When he came back to Anchorage in early

 15   September of 2018, do you recall the first night that he

 16   came back?

 17       A.   Yeah.

 18       Q.   Anything significant happen on that first night?

 19       A.   He came and I introduced him to my mom and stored

 20   his luggage in my room, and then we talked a little bit

 21   and then we smoked a blunt and then I went to sleep.

 22   And then I woke up and he was having sex with me.

 23            And I got mad, and he said something about like I

 24   liked it, and I didn't talk about it anymore.               And he

 25   just said he was going to go to the rec center, and he




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  1   left.      And I went and got in the tub because I thought

  2   like he had something and I didn't want to be a part of

  3   it.

  4         Q.   A blunt is a marijuana cigarette?

  5         A.   Yeah.   Not a cigarette, but --

  6         Q.   Somewhere between a cigar and a cigarette?

  7         A.   Yeah.

  8         Q.   And after smoking that -- did you smoke it with

  9   him?

 10         A.   Yeah.

 11         Q.   After smoking that, did you then fall asleep?

 12         A.   Yeah.

 13         Q.   You said you woke up with the defendant having

 14   sex with you.       Had you wanted to have sex with him?

 15         A.   No, because I didn't want to like, I don't know,

 16   I guess put out on like the first date kind of thing.                    I

 17   was kind of picky.        Even though like we had

 18   conversations about it through like text messages prior

 19   to his arrival, I just didn't want to start off just

 20   like that.

 21         Q.   Then you mentioned an argument and he went off to

 22   the rec center.       What rec center are you talking about,

 23   do you know?

 24         A.   He didn't tell me.      At the time, he made it seem

 25   like he had never been to Anchorage, but it was kind of




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  1   weird because my friends were saying he was from here,

  2   but when I talked to him, he didn't make it seem as if

  3   he was like from here.           So when he said, "I'm going to

  4   the rec center," I didn't even care.             I was like, okay,

  5   maybe he seen one passing by, but it was like really

  6   late at night, so I'm pretty sure there was no rec

  7   center open.

  8         Q.     After he left your apartment, what was the next

  9   thing that you heard about him or heard from him on that

 10   first day that he's back in Anchorage?

 11         A.     Well, I went to sleep, and I woke up and he

 12   wasn't here yet.           It was like getting pretty late.        So I

 13   started sending him text messages, starting to store his

 14   property because I thought he just pulled a fast one on

 15   me.        And then I called Marquita, who he introduced to

 16   me, and she told me he got shot and was in the hospital.

 17         Q.     Who is Marquita?

 18         A.     His friend.

 19         Q.     And we'll talk about that in a minute.         So

 20   Marquita told you what about what happened to the

 21   defendant?

 22         A.     He got shot in Mountain View and he was in the

 23   hospital, but they didn't know which hospital.

 24         Q.     What did you do when you found out this news?

 25         A.     I started panicking, told my mom, and then




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  1   Marquita came and picked me up and we went to

  2   Providence.       And they weren't telling us where he was.

  3   I guess it was kind of secret kind of thing.               So we

  4   snuck into like ICU and got kicked out.             And we started

  5   snooping on like the nurses' like clipboards and stuff,

  6   and we found his room number.           And I went and seen him

  7   in his room.

  8       Q.   When you got to his room, did he ask you anything

  9   or want you to do anything?

 10       A.   No.     He just told me like pretty much in vague

 11   words that he got shot, and then he thanked Marquita for

 12   bringing me.       And then he was having me do errands, like

 13   run back, get him some clothes.           And then I brought my

 14   gun, because he told me that some people that he

 15   believed was associated with the shooting had came to

 16   the hospital and pretty much intimidating or

 17   threatening, so he had me leave it with him and I left

 18   it with him.

 19       Q.   So you had a gun that you owned at this time?

 20       A.   Well, I guess you can say I owned it, yeah.

 21       Q.   It was in your possession?

 22       A.   Yeah.

 23       Q.   And the defendant asked you to leave that gun

 24   with him in the hospital?

 25       A.   Yeah.




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  1       Q.    Did you do that?

  2       A.    Yeah.

  3       Q.    Do you remember whatever happened to that gun?

  4       A.    It was seized when I got shot.

  5       Q.    We'll talk about that in a minute.           But in terms

  6   of anything happening at the hospital, do you recall

  7   anything happening with that gun?

  8       A.    Yeah, he made a video and posted it on Snapchat

  9   of him like waving it around, telling the guys like,

 10   "Aha, guys think you got me," or something like those

 11   words, and he posted it.

 12             Somebody called the hospital and told on him.

 13   And I just happened to be walking into the hospital at

 14   the time that the security searched the room for the

 15   gun.     And I heard him telling them that if there was a

 16   gun here, that it belonged to me and it was my fault.

 17   So I walked in there and that's when the security guard

 18   was telling me that he would give me a minute to take

 19   whatever out of the room that doesn't belong there, and

 20   I just took it and ran home.

 21       Q.    You said the defendant posted something.             Do you

 22   know what or where he posted that?

 23       A.    Snapchat.

 24       Q.    Snapchat.    Do you know the defendant's screen

 25   name or user name on Snapchat?




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  1       A.   Gingerbreadman.

  2       Q.   "Gingerbreadman," all one word?

  3       A.   Yeah.

  4       Q.   Did you ever talk to him about how he got that

  5   nickname or why he used that name?

  6       A.   Because he said nobody can catch him.

  7       Q.   How long was the defendant in the hospital, do

  8   you know?

  9       A.   Honestly, at the most, like five days.

 10       Q.   And do you know where he went to live after he

 11   got out of the hospital?

 12       A.   He was placed in a hotel by Applebee's, in that

 13   area.

 14       Q.   Do you know how long he stayed at the hotel?

 15       A.   Not too long.      Less than five days, I would say.

 16       Q.   And after he left the hotel, do you know where he

 17   went to live?

 18       A.   He was on and off again at my house and at his

 19   baby mom's house.       He would stay back and forth.

 20       Q.   So on/off again at your house.           Which house again

 21   was that?

 22       A.   Off of Cordova.

 23       Q.   And then you said his baby mama house.             Who was

 24   that?    Do you know who the mother of his child was?

 25       A.   Marika Alex.




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  1       Q.   Marika Alex?

  2       A.   Yeah.

  3       Q.   And on/off again means what to you?            Is it every

  4   other night?      Is it once a week?       What is on/off?

  5       A.   I mean like every other two days or like every

  6   other three days.         It just like really depends on if he

  7   gets in an argument with one of us.

  8       Q.   Now, during this time, when he's staying on/off

  9   with you and you getting shot -- and let's just provide

 10   context for the Court as to when that was.

 11            When did you get shot?

 12       A.   December 12, 2018.

 13       Q.   And who shot you?

 14       A.   Tristan.

 15       Q.   Tristan, meaning the defendant?

 16       A.   Yeah.

 17       Q.   So between when he gets released from the

 18   hospital and leaves the hotel, and December 12th of

 19   2018, what was your relationship like with the

 20   defendant?

 21       A.   Wait.    Wait.     I forgot the timeline.        What?

 22       Q.   So between him arriving in Anchorage and getting

 23   shot and going to the hotel, and then coming to stay on

 24   and off with you, so mid September until when you get

 25   shot in December of 2018, during that three-month




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  1   period, what was your relationship like?

  2       A.   Well, I thought it was like a relationship, like

  3   boyfriend/girlfriend, that we was having regular

  4   arguments and fights, but no, it was more like -- it was

  5   -- kind of like Ike and Tina Turner at the end of their

  6   good days, like fighting and then Tina trying to get

  7   away, kind of like that.

  8            It became very like violent and like demanding.

  9   It was just always fights and just drama.

 10       Q.   Did any of those fights ever involve weapons?

 11       A.   Yeah.

 12       Q.   How so?

 13       A.   Like what do you mean?

 14       Q.   Were there ever guns drawn?          Were there ever --

 15   up until you getting shot, were there ever any other

 16   instances in which triggers were pulled?

 17       A.   Not from him to me, but guns were pulled on each

 18   other, like slides were racked at each other.               Then like

 19   I was chased down with his truck.            Well, besides his

 20   hands.

 21       Q.   That was going to be my next question.             Was there

 22   ever physical violence in any of these fights?

 23       A.   Yeah.

 24       Q.   Did you hit him?

 25       A.   Of course.




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  1       Q.   Did he hit you?

  2       A.   Yeah.

  3       Q.   During this time, were you continuing to escort?

  4       A.   Yeah, but I guess I wasn't really making it a

  5   priority that I should have.

  6       Q.   You said you were not making it the priority you

  7   should have?

  8       A.   Uh-huh.

  9       Q.   What do you mean by that?

 10       A.   Like I really didn't like want to really engage

 11   in it anymore.       Like my mom was living there.          I was

 12   hiding it from her like what I was doing.              And then like

 13   I was trying to get a regular job.

 14            And then he talked me into going to SinRock, a

 15   strip club, so I was over there.           So I thought I could

 16   focus on dancing, but there still needed to be more

 17   money.    Plus, I had like three or two guys and that

 18   would be enough to like make enough money like I was

 19   supposed to and it was supposed to be that.

 20       Q.   So let's talk about the money that you made.                So

 21   you would have dates with two or three guys.               What would

 22   you do with that money?

 23       A.   I would give it to Tristan, put some to the side,

 24   pay for rent.      Yeah, like household things that I need

 25   or just like give him money when he asked for like




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  1   outfits or stuff that he needs.           At first I just seen it

  2   as like what you're supposed to do in a relationship,

  3   but then it just became, "Oh, I need $500.              I need

  4   $1,000."        It wasn't like, "I need it for something."                It

  5   was like, "You're supposed to pay me.             You just pissed

  6   me off, so you got to pay a fee," stuff like that.                   It

  7   just reminded me of like being trafficked in California.

  8   It was the same stuff.

  9       Q.    Was Tristan doing the things that other pimps had

 10   done to you?

 11       A.    Yeah, but it was different.         Other pimps in

 12   California, stuff like that, they didn't use romance or

 13   anything like that or say, "I'm your boyfriend."                   It was

 14   pretty much straightforward, "I'm your pimp," and da,

 15   da, da.     He was kind of more like acting as if he cared,

 16   and that's what made it like really toxic.

 17       Q.    So the money that you made from dates, you would

 18   give him some of the cash, correct?

 19       A.    Uh-huh.

 20       Q.    In terms of paying rent, was the defendant

 21   contributing to paying the rent at the house or the

 22   apartment at all?

 23       A.    Absolutely not.

 24       Q.    What about paying for food?

 25       A.    No.




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  1       Q.   Would he eat food when he was there?

  2       A.   Yeah.     I always cooked for him.        But like he let

  3   my mom use his car like one time, and we didn't use it

  4   ever again because it was just like a constant reminder

  5   of using the car, so she kind of just felt like

  6   indebted, so never again.

  7       Q.   Any of the other utilities, the electric bill,

  8   the gas bill, did he ever contribute anything towards

  9   that?

 10       A.   No.

 11       Q.   And money that you were making escorting was

 12   being used to pay for some of those expenses, correct?

 13       A.   Yes.

 14       Q.   Did Tristan ever give you a quota or ever tell

 15   you how much money he wanted you to earn as an escort?

 16       A.   He said $500 a day.        It was a mathematical

 17   equation that went with it to like -- he would say like

 18   $500 a day for like 30 days.          It would have made a

 19   really big amount, but I don't remember like the whole

 20   thing how it went.

 21            But I know it was 500, so that's where it

 22   started.       And then it just became, oh, you got more and

 23   stuff like that.

 24       Q.   And how were you supposed to earn that $500?

 25       A.   Escorting, posting ads.




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  1       Q.    Posting ads.     What do you mean by posting ads?

  2       A.    Posting escort ads like -- there's no Backpage,

  3   so like Skip the Games, AdultLook.

  4       Q.    Are Skip the Games and AdultLook sites that you

  5   have used in the past to post ads for your escort

  6   services?

  7       A.    Yeah.

  8       Q.    So this $500 for 30 days, what was the purpose of

  9   that quota?

 10       A.    So like he could use it like for whatever he

 11   needed.     There was like elevate to something there,

 12   trying to get like rich or wealthy.            Yeah.    I think

 13   that's what it was, yeah.

 14       Q.    If you missed the quota, would anything happen to

 15   you?

 16       A.    It was just like verbal abuse, just like, "Oh,

 17   you're lazy," and just talking down to me and stuff like

 18   that or like embarrassing me in front of his friends,

 19   making degrading comments in front of my mom.

 20       Q.    You have mentioned your mother living at the

 21   apartment with you.        Was anyone else, between mid

 22   September and when you got shot on December 12th, did

 23   anyone else live or stay at your apartment for any

 24   period of time?

 25       A.    Yeah.




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  1         Q.   Who were those people?

  2         A.   My friend JS and then her friend KC.           And then my

  3   friend Jolena.        And sometimes my friends Mariah and

  4   Elliott.

  5         Q.   Did KC go by any other names?

  6         A.   Silky.

  7         Q.   S-i-l-k-y?

  8         A.   Yeah.

  9         Q.   Ms. Lotz, if we could bring up Exhibit No. 12.4.

 10              Do you have a binder there in front of you of

 11   exhibits, Ms. Banks?         You obviously are going to see

 12   these on the screen.         If I -- just by way of

 13   articulating what we're seeing on the screen is an image

 14   that has had faces redacted.

 15              There is an unredacted image in your binder if

 16   you're not sure who these people are.             Do you recognize

 17   you on the picture?

 18         A.   Yeah.

 19         Q.   And that's you in the center?

 20         A.   Yeah.

 21         Q.   Do you recognize who is on either side of you?

 22         A.   Yeah.    On the left is Silky and on the right is

 23   JS.

 24                MR. REARDON:     Your Honor, we're using minor

 25   victims' names.         I'm going to ask that -- try not to use




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  1   the name, and I'm going to ask that the record be

  2   redacted to just use the initials "JS" whenever the name

  3   (name redacted) is mentioned.

  4               THE COURT:     Very well.

  5   BY MR. REARDON:

  6       Q.   Ms. Banks, if I could ask you to do the same.

  7   When we speak about the girl on the right of the screen,

  8   the one over your left shoulder, we'll refer to her as

  9   "J" or "JS."

 10       A.   Okay.

 11               MR. REARDON:      Your Honor, the government moves

 12   to admit Exhibit No. 12.4.

 13               MR. WENDT:     No objection.

 14               THE COURT:     It will be received without

 15   objection.

 16               (Exhibit No. 12.4 admitted.)

 17   BY MR. REARDON:

 18       Q.   Can we show Exhibit 12.5, please.

 19            Do you recognize the two individuals in this

 20   picture?

 21       A.   Yeah.

 22       Q.   And is that you on the bottom left or the lower

 23   left?

 24       A.   Yeah.

 25       Q.   Who is in the upper right?




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  1       A.   JS.

  2       Q.   Thank you.

  3               MR. REARDON:      The government moves to admit

  4   Exhibit 12.4.

  5               MR. WENDT:     No objection.

  6               THE COURT:     It will be received.

  7               DEPUTY CLERK:      I'm sorry, 12.5?

  8               MR. REARDON:      12.5.    Thank you, Camille.

  9               (Exhibit No. 12.5 admitted.)

 10   BY MR. REARDON:

 11       Q.   Now, as it concerns Silky or JS, who came to live

 12   first at your apartment in the fall of 2018?

 13       A.   JS.

 14       Q.   And do you remember when she came to live with

 15   you?

 16       A.   Late -- mid to late September.

 17       Q.   And did you know anything about what was going on

 18   in JS's life that required her to come live with you?

 19       A.   I know she just told me she was on the run until

 20   she turned 18.

 21       Q.   So she was not 18 when she came to live with you?

 22       A.   No.

 23       Q.   Do you know how old she was?

 24       A.   17.

 25       Q.   Had you met JS before?




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  1       A.    Yeah, treatment and foster home, and we went to

  2   Whaley.

  3       Q.    I'm sorry.    What was that last one?

  4       A.    Whaley School.

  5       Q.    So she had been someone in the foster system that

  6   you had come across?

  7       A.    Yeah.

  8       Q.    And had you ever been in any sort of juvenile

  9   detention facility?

 10       A.    Yeah, McLaughlin.

 11       Q.    When JS came to live you with, did she bring

 12   anything, do you recall?

 13       A.    I know she brought like a little bag of like a

 14   few of her clothes, yeah.

 15       Q.    And do you know if the defendant was ever present

 16   in your apartment when JS was there?

 17       A.    Yeah.

 18       Q.    Do you know if JS ever told the defendant that

 19   she was 17?

 20               MR. WENDT:     Objection; calls for hearsay.

 21               THE COURT:     The question was "do you know."

 22   That's a yes or no answer.

 23       A.    No.

 24       Q.    Do you know if you had ever discussed in front of

 25   the defendant the fact that you and JS had been together




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  1   at McLaughlin?

  2       A.   Yes.

  3       Q.   What about being in the foster system together,

  4   did you ever discuss that in front of the defendant?

  5       A.   Yes.

  6       Q.   What about being at Whaley, was that ever

  7   discussed?

  8       A.   No.

  9       Q.   What about being in treatment?

 10       A.   Yeah.

 11       Q.   Do you know if JS was enrolled in school at this

 12   point in time?

 13       A.   No, she was on the run.

 14       Q.   Was the fact that she was on the run ever

 15   discussed in front of the defendant?

 16       A.   Yeah.    We couldn't go certain places because I

 17   would say, "She's on the run and there is cops."

 18       Q.   What sorts of places?

 19       A.   Like LED Club or like sometimes we would go to

 20   like Costco parking lot, and then if something happened

 21   and like the cops were coming, I'll be the same, "We got

 22   to go because the cops are coming and she's on the run."

 23       Q.   How long did JS stay with you after she showed up

 24   in -- when was it again?         When did you say she came?

 25       A.   Mid, late September.        I would say like she stayed




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  1   like a week and a half.         Then she left again.        Somewhere

  2   we got in a fight.        And then she came back again like

  3   early-ish October.        That's when she brought Silky.

  4       Q.   And this was during the same time period that the

  5   defendant was staying at your apartment for two or three

  6   days at a time?

  7       A.   Yes.

  8       Q.   Do you know if -- without telling us what anybody

  9   told you, but do you know if the defendant and JS ever

 10   had any sort of sexual relationship?

 11       A.   Before she came to live with me or after?

 12       Q.   After she came to live with you.

 13       A.   Yes.

 14       Q.   Did the defendant ever tell you that they had had

 15   a sexual relationship?

 16       A.   Besides the time when I was there, no.             But then

 17   I did look through his phone and see that he was talking

 18   to her about prior sexual relationship that they were

 19   having at his friend Julissa's house, yes.

 20       Q.   Did you catch them in a sex act at your house

 21   during this time?

 22       A.   No, I never caught that.

 23       Q.   Were there later instances in which you were

 24   present when the defendant and JS were engaged in sexual

 25   acts?




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  1       A.   Yes.

  2       Q.   What sex acts did you observe being performed?

  3       A.   Well, there is the one where we're at a

  4   drive-thru and she was giving him oral sex.               And then

  5   there is this threesome video that we all did at a

  6   hotel.

  7            And then there is just like mini clips that were

  8   made where me and him were engaged in a sexual moment

  9   and JS must have come into the room and tried to join in

 10   and I had gotten mad at her.

 11       Q.   The drive-thru incident, the hotel incident, you

 12   mentioned one of them being videoed.             Were they both

 13   videoed?

 14       A.   Yeah.

 15       Q.   Who took the drive-thru video?

 16       A.   I did.

 17       Q.   What device did you use to take that video?

 18       A.   My iPhone 6.

 19       Q.   Do you know what device was used to take the

 20   hotel video?

 21       A.   His camcorder and then iPhones.

 22       Q.   Do you remember what the camcorder looked like?

 23       A.   A big black camera.        I don't know if it was a

 24   Sony or like a Panasonic.          It was expensive.

 25       Q.   At some point when JS was living with you, do you




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  1   know if she ever started escorting?

  2       A.   Yes.

  3       Q.   And how do you know that?

  4       A.   She kept asking me at first, and I was just like

  5   no because she's like -- because like the escorting that

  6   I learned how to do in California is way more severe,

  7   and so I was thinking like escorting in Alaska would be

  8   more severe.      And it took me a long time to understand

  9   that it's dangerous in California, like you can get

 10   yourself killed if you're not alert.

 11            And I didn't feel like teaching JS all of that,

 12   but she asked and asked, and so then eventually I had a

 13   friend who I went to do a date with and she tagged along

 14   with me, and she ended up wanting to do a date with him,

 15   so he paid her.

 16       Q.   So you were present when JS was was introduced

 17   into the game or into the business?

 18       A.   Yes.

 19       Q.   Do you know if JS ever started doing dates with

 20   the defendant?

 21       A.   Yes.

 22       Q.   And how do you know that?

 23       A.   Because she came back and told me.            We would be

 24   telling each other a lot, and she had came back --

 25               MR. WENDT:     I object to this testimony.             This




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  1   is hearsay.

  2                THE COURT:     Sustained.

  3   BY MR. REARDON:

  4         Q.   Did you ever do dates with JS where money from

  5   those dates went to the defendant?

  6         A.   Yes.

  7         Q.   How would those dates get set up?

  8         A.   Through online, AdultLook, Skip the Games.

  9         Q.   When money was earned on those dates, what would

 10   happen to that money?

 11         A.   We would give it to Tristan.

 12         Q.   Do you recall how much you gave to him?

 13         A.   I know she had -- she did a date for $1,000.              She

 14   managed to keep like $500 of it, and then she gave $500

 15   to him.

 16                MR. WENDT:     I would object to foundation, Your

 17   Honor.      I don't know where she's getting this

 18   information from.

 19                THE WITNESS:     I was there.

 20                THE COURT:     Sustained.    Go ahead and clear it

 21   up.

 22   BY MR. REARDON:

 23         Q.   The date that you were present at --

 24         A.   The date that I was present?

 25         Q.   Was that just once or were there multiple dates




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  1   where you were present?

  2       A.   There was multiple dates where I wasn't present.

  3   I was present with her for two dates.

  4       Q.   On those two dates, what happened to the money?

  5       A.   On the first date, it was with a military guy,

  6   and she got $1,000.        And she kept $500 to herself and

  7   then she gave $500 to Tristan, because it happened in my

  8   living room and I was sitting on the couch.

  9            Then she left with Tristan, went to his friend's

 10   house, and the rest of the money disappeared to one of

 11   his friends.      The second date was $800, and she went

 12   shopping with us and just brought him a bunch of stuff

 13   from Footlocker, like track suits and Jordans.

 14       Q.   Who were those track suits and Jordans for?

 15       A.   Tristan.

 16       Q.   How would you describe the relationship between

 17   JS as an escort and Tristan?

 18       A.   JS as an escort and Tristan?          I think JS was only

 19   doing it like because she thought it was like what would

 20   get her attention from him.

 21               MR. WENDT:     Objection; speculation, Your Honor.

 22               THE COURT:     Well --

 23               MR. REARDON:      I'll withdraw the question, Your

 24   Honor.

 25   BY MR. REARDON:




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  1       Q.    Do you recall if the defendant ever tried to get

  2   a fake ID for JS?

  3       A.    Yes.

  4       Q.    What do you recall about that?

  5       A.    He was trying to have her take pictures in my

  6   kitchen like up against the wall, but like the lighting

  7   was off, so he kept trying to get her picture, text it

  8   to his connections that he had in another state and have

  9   them make her a debit card or credit card to go with it.

 10             But JS ended up leaving during the course of

 11   that, so Silky became the next one.

 12       Q.    Did the defendant ever make any comments to you

 13   about JS's ability to make money as an escort compared

 14   to your ability to make money as an escort?

 15       A.    Yeah.

 16       Q.    What did he say to you?

 17       A.    He would just say like she can make more money

 18   because she is white, so she's like -- it's a term we

 19   use.     I can't remember it right now, but he just said

 20   that because she was a white girl, she would be able to

 21   make more money than me.

 22       Q.    Did he ever say anything to you about posting her

 23   online so that she would get more dates?

 24       A.    Yeah.

 25       Q.    What did he say?




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  1       A.    He told me that she -- he didn't understand why I

  2   was like pretty much -- what's that word he used?                   When

  3   a person is like beating around the bush.              He would ask

  4   me why I didn't post her yet, I was jealous because

  5   she's a different kind of money, but I still never

  6   posted her.

  7       Q.    Why were you beating around the bush?            Why were

  8   you not posting her like he asked?

  9       A.    Because I felt like no.        At the time, there was

 10   pressure but the pressure wasn't really intense.                   And I

 11   was just still like -- I was confident that JS would

 12   eventually leave and she just like wouldn't come back

 13   around as much as she used to, like she would find

 14   another place to go to.

 15             And because I felt like if something happened to

 16   her, like she gets like raped or stuff that I went

 17   through, I didn't want to have her blood on my hands.                      I

 18   just didn't want to do that.          And I was just like, "No,

 19   JS."     For years of being her friend, I was just like

 20   stuff that she will not pick up.           It would be just too

 21   dangerous.     I was just like no.

 22       Q.    Why were you concerned about JS in particular?

 23   What was it about JS that caused you to be concerned?

 24       A.    Well, like I know like ever since we like hung

 25   around and was around stuff growing up, she just always




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  1   been like just innocent, just oblivious to like danger

  2   that's right in front of her.           Like she can't pick up on

  3   stuff like that.       She usually is at the last minute

  4   before she realizes she's in danger.

  5            And plenty of times I have had to intervene.                And

  6   one of those things like, no.           Like yeah, she knows

  7   stuff, but she's not like at the time was not like

  8   mentally that advanced.

  9       Q.   During the time that the defendant was living

 10   with you on and off, would you communicate via text

 11   message?

 12       A.   Yes.

 13       Q.   In any of those messages, do you recall

 14   discussing JS?

 15       A.   Yeah.

 16       Q.   In any of those messages, do you recall

 17   discussing dates?

 18       A.   Yeah, but I can't like remember exact details of

 19   what I said, but if I was to see like what I said, I

 20   would remember.

 21       Q.   Do you remember your phone number at that time?

 22       A.   Yeah.    907-312-4914.

 23       Q.   Do you recall what the defendant's phone number

 24   was?

 25       A.   It was 907-406 -- I want to say like the last




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  1   four digits had like a 2 or something in it.               Something.

  2       Q.   Do you recall what kind of phone he had during

  3   that time?

  4       A.   iPhone 4.

  5       Q.   At the time that you were texting with him in the

  6   fall of 2018, did you know his phone number?

  7       A.   Yeah.

  8       Q.   Is there anything that would refresh your

  9   recollection as to what that phone number was?

 10       A.   Well, if I was to be given my phone.

 11       Q.   Can't get into your phone.          If I could ask you to

 12   turn to Exhibit No. 12 in front of you.

 13       A.   In this thing right here?

 14       Q.   There is two binders.        Specifically, Exhibit

 15   No. 12.9.     One binder has just Exhibit No. 12 and one

 16   binder has everything but Exhibit No. 12.

 17       A.   Is it supposed to be a picture?

 18       Q.   No, it's a printout of a blue color field on the

 19   top and an exhibit sticker on the bottom.

 20       A.   I don't know how to use this thing.            I don't know

 21   how to use this.

 22       Q.   12.9 is what I'm asking you.          Do you see the tabs

 23   on the right-hand side?

 24       A.   Not in this one.

 25       Q.   Let me ask you to look in the other binder.




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  1       A.    I think I see it.

  2       Q.    Before you tell me anything, has your memory been

  3   refreshed as to what his phone number was?

  4       A.    Yeah.

  5               DEPUTY CLERK:      Can you please pull the

  6   microphone in front of you.

  7               THE WITNESS:      Yeah.

  8   BY MR. REARDON:

  9       Q.    Close the binder and tell us what Mr. Grant's

 10   phone number was.

 11       A.    907-406-4531.

 12       Q.    I'm going to ask you to open that binder again

 13   and turn it to 12.16.

 14             Can you put 12.16 up, please?          I'm asking

 15   Ms. Lotz to put 12.16 on the screen so you'll have it in

 16   front of you as well as in the binder.

 17       A.    Okay.

 18       Q.    Looking at 12.16, do you see your phone number

 19   listed on that report?

 20       A.    Yeah.

 21       Q.    That's the 4914 number?

 22       A.    Yeah.

 23       Q.    Do you see Mr. Grant's phone number on that

 24   report?

 25       A.    Yeah.




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  1       Q.   That's the 4531 number, correct?

  2       A.   Yeah.

  3       Q.   Now, the first message there, if you look into

  4   the table and you will see a number of columns and rows.

  5   I want you to focus on row number one.

  6            Can you highlight that, please, Ms. Lotz?

  7            Do you see your phone number listed, 4914?

  8       A.   Yeah.

  9       Q.   And you see a direction?

 10       A.   Yeah.

 11       Q.   And what does the direction say?

 12       A.   Outgoing.

 13       Q.   Do you see a body?

 14       A.   Yeah.

 15       Q.   Is there something written under the body?

 16       A.   Yeah, "Wys."

 17       Q.   Does that mean anything to you?

 18       A.   It was a typo for the "S," but it is supposed to

 19   be "what you doing" or "where you at."

 20       Q.   WYA or WYD?

 21       A.   Yeah.

 22       Q.   If we bring that down, please, Ms. Lotz, and go

 23   to line three.

 24            So your phone number again there in the second

 25   column; is that correct?




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  1       A.   Yeah.

  2       Q.   And whose number there is in the next column

  3   over, 4531?

  4       A.   Tristan's.

  5       Q.   Do you see direction again?

  6       A.   Incoming.

  7       Q.   And what does the body say?

  8       A.   "Yo."

  9       Q.   What is the date on these messages?            Do you see

 10   the timestamp there?

 11       A.   October 21, 2018.

 12               MR. REARDON:      Your Honor, the government moves

 13   to admit Exhibit No. 12.16 into evidence.

 14               MR. WENDT:     We don't object to that, Your

 15   Honor.

 16               THE COURT:     You have no objection, is that what

 17   you said?

 18               MR. WENDT:     Yes.

 19               THE COURT:     Very well.     It will be received.

 20               (Exhibit No. 12.16 admitted.)

 21   BY MR. REARDON:

 22       Q.   So just by way of explanation, Ms. Banks, you

 23   will see the first page of 12.16 again in front of you

 24   or on the screen has a number one, first page.               If you

 25   go to the next page, you will see that it's skipped




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  1   ahead to 104.        Is that what you have there in your

  2   binder?

  3       A.    Turn the page?

  4       Q.    You can turn the page from 12.16 to the next page

  5   in the binder.

  6       A.    Okay.

  7       Q.    Are you there on page 104?

  8       A.    Yeah.

  9       Q.    It should be a column or a line that's 438 if you

 10   look to the far left.

 11       A.    Yeah.

 12       Q.    Okay.   Can I ask you just to read that message.

 13   You don't have to read it out loud, just read it to

 14   yourself.

 15             (Pause.)

 16       A.    Yeah.

 17       Q.    That is an incoming message.         What's the number

 18   that that is incoming from, do you know?

 19       A.    Want me to say it or who it is?

 20       Q.    Who is that message from?

 21       A.    Tristan.

 22       Q.    And when you read that message, what is Tristan

 23   telling you in that message?

 24       A.    That I ain't shit and that it looks like -- he's

 25   saying I accused him of stealing some cocaine and that




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  1   he sent somebody to my house to get something.               And he

  2   listed his time and he's threatening with his homies.

  3       Q.   So I want to skip ahead to line 452, so that

  4   would be page 107.        Now, that message that you just

  5   read, he's angry at you and accusing you of something.

  6            As you sit here now and as you think about that

  7   message, do you know what you were fighting about or why

  8   he was angry?

  9       A.   Because I was working at a strip club, and when I

 10   came back, I left like some cocaine on the counter.

 11   When I came back, like my friend Jolena said it was

 12   gone, so I just like called him and asked him why he

 13   came to my house and stole the cocaine and called him a

 14   crack head, and he started like cussing me out.

 15       Q.   Were drugs something that were present in your

 16   apartment during the time the defendant would stay on

 17   and off with you?

 18       A.   Yeah.    It was a little before.         When he first got

 19   there, it was just like just marijuana.

 20       Q.   Were there other drugs then that were later

 21   brought into the apartment?

 22       A.   Yeah, cocaine and Xanny bars.

 23       Q.   Xanny bars, what are those?

 24       A.   Xanax.

 25       Q.   Do you know if any of those drugs were ever




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  1   shared or given to any of the people who you described

  2   having stayed at your apartment during this time?

  3       A.   Yeah.

  4       Q.   What was given to whom?

  5       A.   Well, I know like Jolena, Silky, they were doing

  6   cocaine, and Silky kept getting Xanax from Tristan.

  7       Q.   So let's look at line 452.          I have put it up on

  8   the screen, and I just want to walk through this a piece

  9   at a time.

 10            The message says, "Next week I'll be another

 11   state.    Bandz up.     You gone be out here if I let you

 12   live.    Still talking shit."

 13            "Bandz up," what does that mean?

 14       A.   Like he's going to have a lot of money.

 15       Q.   And this is, again, an incoming message from the

 16   4531 number, correct?

 17       A.   Yeah.

 18       Q.   That was the number you knew to be Tristan?

 19       A.   Yeah.

 20       Q.   The next line says, "Bout Goo.           Man, you think

 21   you're the first goofy I win off instead of being a

 22   smart bitch and waited till I won and got me or got up.

 23   U leave with nothing.        No game, no nothing, bitch.

 24   Can't even make five a day.          What I need you for."

 25            "Bout Goo," what does "Goo" mean to you?




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  1         A.   It's a typo.     I think he was trying to say about

  2   good.      He's about good, like done.

  3         Q.   Did the defendant have a nickname that he used at

  4   this time?

  5         A.   Yeah, his name was Goo.

  6         Q.   He used the nickname Goo?

  7         A.   Yeah.

  8         Q.   So that section I just read to you, as the

  9   recipient of this message, what did that mean to you?

 10         A.   Like he's in the game.       You would call it like

 11   firing you, that he's going to go find another bitch and

 12   leave you.

 13         Q.   Meaning he's going to go find another escort to

 14   work for him?

 15         A.   Yeah.

 16         Q.   "No game, no nothing," what does that say to you?

 17         A.   He's downplaying the way that I make money.

 18         Q.   I'm sorry.     What was that?

 19         A.   He's downplaying the way that I make money, how I

 20   go about getting money.

 21         Q.   Downplaying is what you're saying?

 22         A.   Yeah.   Saying I don't make enough or that I'm not

 23   dedicated to seeing him and me come up or just him come

 24   up.

 25         Q.   Can we say "come up," what do you mean come up?




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  1       A.    Like become like rich or wealthy, like that.

  2   Like have a lot of money and be able to get whatever you

  3   want.

  4       Q.    So if we read on, "I rather do it on my own.               You

  5   can't help me.       Can't even help yaself.        I was just at

  6   no bread the other day.         I got 1100 in my pockets for

  7   nothing."

  8             So "bread," what does bread mean?

  9       A.    Money.

 10       Q.    And then when we continue on, "I get bread every

 11   day.     Even ya lil white home girl JS broke bread today,

 12   200 on some two second shit."

 13             What does that segment or section mean to you?

 14       A.    Saying that she did a date that took two seconds,

 15   it was so quick, and she gave him the $200.

 16       Q.    During this time, what was the quota that the

 17   defendant was asking you to make for him?

 18       A.    $500 a day.

 19       Q.    "A lil white home girl, J," is that a reference

 20   to JS, the one we have been talking about that came to

 21   live with you?

 22       A.    Yes.

 23       Q.    And then he goes on, "LOL.         You got no real

 24   bitch.     You a game thief that's gone forever scramble.

 25   Dnt let me see you nowhere before I leave and that weak




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  1   azz club job you ain't going to have that for long.

  2   Trust."

  3             What does that last section mean?

  4       A.    Just telling me that I'm not a real prostitute

  5   and that pretty much I have to go into hiding until he

  6   leaves the state or I'm going to get shot or something

  7   or hurt, and that he's going to sabotage my job with the

  8   strip club.

  9       Q.    Were you worried about getting hurt?

 10       A.    Yeah.

 11       Q.    Why was that?

 12       A.    Because I didn't want to die.

 13       Q.    Were you worried about being hurt by the

 14   defendant?

 15       A.    Yeah.

 16       Q.    And why was that?

 17       A.    Wait.   What?

 18       Q.    So what caused you to be concerned for your

 19   safety as it concerned the defendant?

 20       A.    Because like he's done stuff.          Like he's hit me.

 21   Like he's bust out my window with his gun and just like

 22   tried to run me over in like daylight and stuff.                   And

 23   just -- and I really felt -- and he was sending text

 24   messages saying like he was going to kill me.

 25             And then I was with him as he's like looking to




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  1   kill other people.        So --

  2       Q.   The date of this message is what there, looking

  3   at the timestamp?

  4       A.   November 9, 2018.

  5       Q.   If we look down -- if we bring that down, please,

  6   Ms. Lotz.

  7            You responded in the --

  8            We should be on page 108, please, Ms. Lotz.               I'm

  9   sorry.    I apologize.      We're still on 107.

 10            If you look down, he then sends another incoming

 11   message, "LOL.       Do you."     Correct?

 12       A.   Yeah.

 13       Q.   If we go to the next page, please.            And this

 14   message actually starts on the prior page.              This is an

 15   outgoing message.       What is your response?

 16       A.   I said, "Awww.      Good for you.       Enough for the

 17   cops to know you are pimping and pandering minors."

 18       Q.   Now, in looking at the messages there in front of

 19   you both on the screen and in the Exhibit No. 12.16, did

 20   the defendant ever respond to your statement about

 21   pimping and pandering minors?

 22            Well, before we ask that, let me withdraw that

 23   question and ask another question.

 24            What did you mean when you wrote "pimping and

 25   pandering minors"?




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  1       A.    Like taking money from them, having them do sex

  2   for money, like what happened to me.

  3       Q.    Who were the minors you were referring to?

  4       A.    JS -- J and V.

  5       Q.    If we go down to line 456.         Is this the next

  6   incoming message after your comment about pimping and

  7   pandering?

  8       A.    Yeah.

  9       Q.    And what is the defendant's response to your

 10   threat to go to the cops about him pimping and pandering

 11   minors?

 12       A.    Read it?

 13       Q.    Read it, and then if you can just tell us what it

 14   says.

 15       A.    Read it out loud or just to myself?

 16       Q.    Read it to yourself, and then --

 17       A.    He's just telling me that by the time I tell the

 18   police, he's going to already be in another state,

 19   accomplished his goal as far as getting money and

 20   whatever it takes to leave.          And that he's going to take

 21   my friends with him and use his IDs, because they are

 22   legit and they can work.

 23             And then he's trying to get me to regret my

 24   decision, or trying to get a response from me of begging

 25   to stay with him and not be fired.




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  1       Q.   And so the mention of the IDs, were those the

  2   same IDs that you were describing earlier?

  3       A.   Yes.

  4       Q.   If we could go to page 111, please, line 469 to

  5   470.

  6            Looking at page 111 at 1216, it's the last page

  7   of this exhibit.       You sent an outgoing message in which

  8   you mentioned minors as well, correct?

  9       A.   Yeah.

 10       Q.   And, again, in the defendant's response, did he

 11   address that accusation about minors?

 12       A.   Yeah, it looks like it.

 13       Q.   What does he say in his response when you tell

 14   him to, "Run ya game on minors real women kno," and then

 15   you use the "P" word?

 16       A.   He just responds laugh out loud, and is acting

 17   like he's not offended by the fact I call him a pussy

 18   and telling me I'm stupid.

 19       Q.   Okay.    But says nothing about the fact that you

 20   had said he was running his game on minors?

 21       A.   Yeah.    He didn't deny it.

 22       Q.   When you say "run ya game," what does that mean?

 23       A.   Like pimp them instead of pimping me.

 24       Q.   "Pimp them," who are the "them"?

 25       A.   My friends, JS and Silky.




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  1         Q.     Let's talk about Silky.     Again, we're going to

  2   use the nickname, but you had said her name earlier.

  3                Her real name is the initials KC; is that

  4   correct?

  5         A.     Yes.

  6         Q.     Silky was someone who lived at your apartment

  7   during the time the defendant was there?

  8         A.     Yes.

  9         Q.     Do you recall when Silky came to stay with you?

 10         A.     Mid October.

 11         Q.     Do you remember how it was that Silky ended up

 12   staying with you?

 13         A.     Yeah.     JS was over at my house.    She was spending

 14   the night.           And she -- I was getting ready to cook.         I

 15   was cleaning.           And Tristan was in the bathroom.

 16                And JS came to me and said that her friend needed

 17   somewhere to go because she had a problem with her dad,

 18   and she wanted to see if she can come to my house.

 19                So I asked how old she was, and she said she's

 20   15.        I was like, "Okay, sure, she can come," and just

 21   tell her that she'll be safe here, because I didn't want

 22   her to feel uncomfortable like when I was in that

 23   predicament trying to go live at strangers' houses.

 24                So she came over and she came with a backpack and

 25   a PlayStation, and with promises to bring a laptop.                  And




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  1   was like just begging to stay, saying like she'll give

  2   us her PlayStation, she'll give us a laptop.               I just

  3   felt really bad.       I just told her, "Keep your

  4   PlayStation and your laptop.          You will be fine here."

  5            I just told her, "I pretty much pay all the bills

  6   here, so you will be fine.          We won't kick you out.

  7   We'll give you -- everything is fine.             Relax, I'm

  8   cooking."

  9            And JS and her started sitting on the couch

 10   relaxing.       Tristan came out of the bathroom.          He

 11   overheard the conversation, and came out and like

 12   snatched the PlayStation and all the games from her and

 13   was like, "We're not in the" -- and started laughing and

 14   tucked the PlayStation in his backpack.

 15            I could see automatically that Silky got scared,

 16   so I started watching her.          And Tristan left that night.

 17   And that's when I just talked to her and was like,

 18   "Don't let people talk to you like that and don't let

 19   them see you're scared."

 20       Q.   So the first night that Silky came to stay at

 21   your apartment, the defendant was staying there?                   That's

 22   one of the nights he was on as opposed to off?

 23       A.   Yes.

 24       Q.   And the conversation that you had with JS about

 25   Silky staying there and if she could come and stay with




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  1   you, was that a conversation that was had the day that

  2   Silky arrived or was it something that was had maybe the

  3   day before or several days before?

  4       A.   The day, like mere hours before she arrived.

  5       Q.   Do you know if the defendant was present during

  6   that conversation?

  7       A.   He was sitting on the couch on his phone.

  8       Q.   And it was during that conversation that you

  9   asked how old Silky was?

 10       A.   Yes.

 11       Q.   And JS told you how old she was?

 12       A.   15.

 13       Q.   When Silky arrived, did JS end up staying that

 14   night?

 15       A.   No, she left.

 16       Q.   Do you know why she left?

 17       A.   She wanted to go somewhere and do something.                She

 18   was texting people on her Instagram.             I didn't pay

 19   attention.

 20       Q.   Just to be clear, JS is there, invites Silky

 21   over, you allow her to stay, and then that night JS

 22   leaves, and so it's just you, the defendant, and Silky

 23   at the apartment?

 24       A.   Yes.

 25       Q.   Again, your apartment?




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  1       A.   Yes.

  2       Q.   Do you know if at any point Silky ever did any

  3   dates or worked as an escort?

  4       A.   Yes.

  5       Q.   How do you know that?

  6       A.   I posted an app for her, and then she did -- she

  7   tried to do a date at my house, at the apartment, but it

  8   was just like a scam.

  9            And then the second time, me, Silky and JS, we

 10   all went on the date together, just sitting in a car,

 11   making sure nothing happened to her.

 12            And there was a third time where just me and

 13   Silky and some military guys.

 14       Q.   Let's talk about the first date.           You said you

 15   created the ad for her to post online?

 16       A.   Yes.

 17       Q.   Was the defendant involved in the creation of

 18   that ad at all?

 19       A.   Yes.

 20       Q.   What role did he play?

 21       A.   He was the voice that -- he was the one saying to

 22   post her, because right away, I think like the second

 23   day JS reappeared back at the apartment and was trying

 24   to tell Silky about escorting, like, "Oh, you could get

 25   yourself a phone, you could get yourself nails," and




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  1   stuff like this, encouraging things to glamify being an

  2   escort.     She's like, "Tell Ajela you want to do it."                  So

  3   I told her no at first.         I was just, "No."

  4             And so Tristan overheard it, and he came to me

  5   and he was like, "Don't invite anybody to be living here

  6   for free.        That white girl need to be making some money.

  7   Why is she here?"

  8             I put it off for so long, and then that's when

  9   the pressure picked up.         It became like fights and just

 10   like arguments and just violence, and it was all because

 11   I was showing resistance against like not wanting to put

 12   her an ad.        So I said, "Fine, all I'm going to do is

 13   write the body, the words to say, and I'm not using real

 14   pictures, but you have to go get an Apple card or Amazon

 15   card."     He went and bought the card, and that's when I

 16   used it and posted her ad.

 17       Q.    So the defendant told you that you should post

 18   Silky because she shouldn't be able to stay there for

 19   free; is that correct?

 20       A.    Yes.

 21       Q.    Do you know if Silky made any money from any of

 22   her dates?

 23       A.    Yes.

 24       Q.    What happened to that money?

 25       A.    I know some of it she like spent on whatever she




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  1   wanted, just like when we would all go shopping she

  2   would buy like stuff she wanted.           Then she would give

  3   some to Tristan, just pass him some.             She tried to give

  4   me some like as a courtesy because she was staying

  5   there, but I told her no.          So she kept that money, but

  6   any time she would leave with Tristan and JS, she would

  7   just come back empty handed.

  8            So I was like, "Leave your money at the house.

  9   Don't go anywhere with your money."            So she was able to

 10   keep like $600 at the house.

 11       Q.   There were times that you saw Silky leave with

 12   money and the defendant, but then come back without any

 13   money?

 14       A.   Yeah.

 15       Q.   In addition to making the ad, were there any

 16   other steps you had to take to get Silky posted online?

 17       A.   No.     We just used -- took a picture.          She already

 18   was like taking selfies on my phone because she didn't

 19   have a phone.       So we just took a picture, and then

 20   Googled a fake picture from Google and just used that.

 21            And then we set up an email account because she

 22   didn't have a cell phone and we couldn't use my number

 23   because I already had an account.

 24       Q.   If I could direct your attention to Exhibit

 25   No. 3.    Do you have it there in front of you?




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  1       A.   Yeah.

  2       Q.   The redacted copy has been put on the screen.

  3   You have an unredacted copy in the binder if you need to

  4   refer to that.

  5            Take a moment and look at Exhibit No. 3 and then

  6   tell me if you recognize Exhibit No. 3.

  7       A.   Is it in the same binder or the other one?

  8       Q.   It's a different binder.

  9       A.   All right.     What did you want me to do?

 10       Q.   This is two pages, two-page exhibit.             Just take a

 11   look at it and then tell me if you recognize what is

 12   shown in Exhibit No. 3.

 13       A.   Yeah.

 14       Q.   How do you recognize it?

 15       A.   It's the ad that I made.

 16       Q.   The ad that you made for whom?

 17       A.   For Silky.

 18               MR. REARDON:      Your Honor, the government moves

 19   to admit Exhibit No. 3 into evidence.

 20               MR. WENDT:     No objection.

 21               THE COURT:     It will be received.

 22               (Exhibit No. 3 admitted.)

 23   BY MR. REARDON:

 24       Q.   If we look on the second page, if we could

 25   publish that, please.        Pull up the bottom screen shot,




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  1   Ms. Lotz.

  2            On the left side there are two pictures that have

  3   been redacted, one is black and white and one is color.

  4            Where did those pictures come from?

  5       A.   The picture on the left is Silky.            She took it on

  6   my phone just like on Snapchat.           And then the picture on

  7   the right is from Google.

  8       Q.   The picture on the right is not an image of

  9   anybody that you know?

 10       A.   No.

 11       Q.   So why did you go to Google to get an image?

 12       A.   Because like I didn't want to like -- I don't

 13   know.    It just felt weird like having her post a nude

 14   like that.       I didn't want to be the one to go in there

 15   and take that kind of picture, so I said we'll just use

 16   this from Google.

 17       Q.   Okay.     In the binder in front of you, you have

 18   got Exhibits 12.2 and 12.3.          Let's leave those down and

 19   not display those, please.

 20       A.   12 point what?

 21       Q.   12.2 and 12.3.

 22       A.   Is that in the other binder?

 23       Q.   Yeah.     You got to go back to the other one.

 24       A.   What did you say it was?

 25               THE COURT:     12.2.




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  1       A.   Okay.

  2       Q.   Do you recognize both of those exhibits?

  3       A.   Yeah.

  4       Q.   What are they?

  5       A.   They are pictures of Silky.          This first picture

  6   is from Google.       And the second picture is of Silky.

  7       Q.   These are the pictures that were used in the ad

  8   we just saw?

  9       A.   Yes.

 10       Q.   Can we bring up Exhibit 3 again on the screen?

 11            You don't have to open it in front of you.                I'm

 12   going to put it on the screen for you, Ms. Banks.

 13            And if we go to the -- highlight the bottom of

 14   the first page, Ms. Lotz.

 15            So this is an ad for an escort, correct?

 16       A.   Yes.

 17       Q.   What gets posted in that ad?          Can you read the

 18   description?

 19       A.   "Hey guys.     Silky lady here in town.          Ready to

 20   deliver you a very sensational time.             So don't waste

 21   time.    Text or call now.       Ready when you are."

 22       Q.   And did you provide a contact number or way for

 23   people to respond to that ad?

 24       A.   Email address.

 25       Q.   Do you know how that email was created?




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  1       A.   Gmail.

  2       Q.   Was this something that Silky had already?

  3       A.   No.     We created that as a point of contact

  4   because she didn't have a cell phone and we couldn't use

  5   my number because I already had a registered account.

  6       Q.   Was the defendant present when you were making

  7   this ad?

  8       A.   He was walking around throughout the apartment.

  9   When it was done, I showed it to him.

 10       Q.   And what did he say when you showed it to him?

 11       A.   He just said it was good, and I finalized it.

 12       Q.   Do you recall how long Silky stayed with you?

 13       A.   She got there like mid October and it was

 14   early-ish November she was gone.

 15       Q.   Is it fair to say roughly two weeks?

 16       A.   Yeah.

 17       Q.   Were there any times you were present when Silky

 18   told her age to the defendant?

 19       A.   Yes.

 20       Q.   How old did Silky say she was?

 21       A.   15.

 22       Q.   And did the defendant have any reaction or

 23   comment to that fact?

 24       A.   No.

 25       Q.   Do you know why Silky was on the run?




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  1       A.   No.     She just told me that she kept having

  2   problems with her dad.

  3       Q.   When she came to live you with, do you know if

  4   she had any sort of ID?

  5       A.   She had her high school ID from East High School.

  6       Q.   You had mentioned an ID for JS.           Were there ever

  7   any plans or attempts to make an ID for Silky?

  8       A.   Yes.

  9       Q.   Describe those.

 10       A.   Well, he was trying to take pictures of me, and

 11   then I guess the person he sent it to didn't like the

 12   way the picture came out.          And then he responded by

 13   going off on me saying I was too dark.

 14            So then he told Silky to come over, and he took

 15   the picture of Silky and sent it and was telling her how

 16   good it would feel to just like make all of this money

 17   going through banks in different states.              And then he

 18   sent the picture to his person and he got an ID and

 19   credit card.

 20       Q.   I'm going to ask you to open up Exhibit No. 12

 21   again and turn to 12.10.         Do you have that there in

 22   front of you?

 23       A.   Yeah.

 24       Q.   Again, just to establish, who are the phone

 25   numbers involved in this series of text messages?




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  1       A.   Me and Tristan.

  2       Q.   And the -- if we turn to page two, the date of

  3   these messages, date range?

  4       A.   October 21, 2018.

  5       Q.   Okay.

  6               MR. REARDON:      Your Honor, the government moves

  7   to admit Exhibit No. 12.10 into evidence.

  8               MR. WENDT:     No objection.

  9               THE COURT:     It will be received.

 10               (Exhibit No. 12.10 admitted.)

 11   BY MR. REARDON:

 12       Q.   If I can direct your attention to the third page.

 13   Let's not put it on the screen, Ms. Lotz.

 14            There is a series of pictures down there.                 Are

 15   you familiar with those pictures?

 16       A.   Yeah.

 17       Q.   What are those?

 18       A.   Those are the attempts to get head shots to send

 19   to make the fake IDs.

 20       Q.   If we go to page four there is another head shot?

 21       A.   Yeah.

 22       Q.   So what did you say had happened when you took

 23   pictures of yourself and Silky and then had to take ones

 24   of just Silky?

 25       A.   He told me I was too dark, nobody would trust me,




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  1   an African-looking ass.

  2       Q.    And so asked for just a picture of Silky?

  3       A.    Yes.

  4               MR. REARDON:      Your Honor, at this point, I

  5   think it's a good time to take a break.

  6               THE COURT:     Very good.      Take a 15-minute

  7   recess.     Thank you.

  8               DEPUTY CLERK:      All rise.     This matter now

  9   stands in recess for 15 minutes.

 10               (Recessed from 2:28 p.m. to 2:46 p.m.)

 11               DEPUTY CLERK:      His Honor, the Court, the United

 12   States District Court is again in session.

 13               Please be seated.

 14               THE COURT:     Okay.    Mr. Reardon.

 15               MR. REARDON:      Thank you, Your Honor.

 16               Your Honor, we have a physical exhibit we would

 17   like to show the witness.          May I approach?

 18               THE COURT:     Very well.

 19               MR. REARDON:      Exhibit No. 12.

 20               (Mr. Reardon approaches the witness.)

 21   BY MR. REARDON:

 22       Q.    Ms. Banks, I handed you what's been marked as

 23   Government Exhibit No. 12.          Do you recognize Government

 24   Exhibit No. 12?

 25       A.    Yeah.




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  1       Q.   What does it appear to you to be?

  2       A.   An iPhone 6-Plus.

  3       Q.   Is that the same kind of phone that you had?

  4       A.   Yeah.    I don't know if this one is mine or not.

  5   Mine had a case on it.

  6       Q.   But that's an iPhone 6-Plus, and you had an

  7   iPhone 6-Plus?

  8       A.   Yeah, we both did.

  9               MR. REARDON:      I'm retrieving Exhibit No. 12

 10   from the witness.

 11               (Mr. Reardon approaches the witness.)

 12   BY MR. REARDON:

 13       Q.   Just to clean up a couple of things from your

 14   testimony before the break.

 15            You had mentioned in your initial communications

 16   with the defendant when he was not in Alaska that you

 17   had seen videos and other things that he had sent you.

 18            What again were the nature of those videos?               What

 19   were those videos?

 20       A.   Women counting stacks of money, like a girl

 21   laying down on her belly, kind of like a nude shot kind

 22   of of her buttocks.        And then like another girl in a

 23   bathtub, like just kind of progressional kind of shoots.

 24   And then the majority of it was like just little sex

 25   little clips like that.




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  1       Q.   Did the defendant ever send you any pictures of

  2   himself with money?

  3       A.   Yeah.

  4       Q.   If we could play 13.4.         I'm going to ask you to

  5   take a look at 13.4, and then I'll ask you some

  6   questions.       It's a short 10-second video.

  7               (Exhibit No. 13.4 playing in open court.)

  8   BY MR. REARDON:

  9       Q.   Do you recognize the person in that video?

 10       A.   Yes.

 11       Q.   Who was that?

 12       A.   Tristan.

 13       Q.   Do you recognize the location of that video,

 14   where it was filmed?

 15       A.   No, I wasn't there.

 16       Q.   Okay.     The couch or the floor didn't look

 17   familiar to you?

 18       A.   No.

 19       Q.   Can we play 13.5, please.

 20            (Exhibit No. 13.5 playing in open court.)

 21   BY MR. REARDON:

 22       Q.   Who was the person in that video?

 23       A.   Tristan.

 24               MR. REARDON:      Your Honor, government moves to

 25   admit Exhibit No. 13.4 and 13.5 into evidence.




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  1               MR. WENDT:     I object to relevancy, Your Honor.

  2   I don't see the relevancy of this.            This is video from

  3   California.

  4               THE COURT:     How is it relevant?

  5               MR. REARDON:      Your Honor, the videos are

  6   consistent with ones that the witness described being

  7   sent to her as part of her, in the government's view,

  8   recruitment of the defendant with stacks of cash.

  9               THE COURT:     Okay.    It will be admitted.

 10               (Exhibit Nos. 13.4 and 13.5 admitted.)

 11               MR. WENDT:     Are you waiting on me?

 12               THE COURT:     No, I admitted it.        We're ready for

 13   the next question.

 14               MR. WENDT:     All right.     Thank you.

 15               MR. REARDON:      I'm going to approach the witness

 16   with another exhibit.

 17               THE COURT:     Very well.

 18               (Mr. Reardon approaches the witness.)

 19   BY MR. REARDON:

 20       Q.    Ms. Banks, I'm showing you what's been marked as

 21   Government's Exhibit 19.         Do you recognize Government's

 22   Exhibit 19?      I can bring it closer if you need to see it

 23   closer.

 24       A.    That was like all the attachments on it?

 25       Q.    Let me bring it closer and just ask if you




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  1   recognize it.

  2       A.    Oh, yeah.    Yeah.

  3       Q.    What is Government Exhibit 19?

  4       A.    Tristan's camera.

  5       Q.    And you said "Tristan's camera."          The defendant's

  6   camera?

  7       A.    Yeah.

  8               MR. REARDON:       Your Honor, the government moves

  9   to admit Exhibit 19 into evidence.

 10               MR. WENDT:     No objection.

 11               THE COURT:     It will be received.

 12               (Exhibit No. 19 admitted.)

 13   BY MR. REARDON:

 14       Q.    You had spoken earlier about some videos, one

 15   that you had produced with your phone, one that had been

 16   produced with a camera provided by the defendant.

 17             Is that the camera that was used in one of those

 18   instances to produce videos that you described earlier?

 19       A.    I want to say yes.

 20       Q.    Okay.   But you're not sure as you sit here now?

 21       A.    Because there was more -- there was that camera

 22   and then there was another one, but that one looks like

 23   the most -- I believe that's the one that was there.                     I

 24   just didn't see it with that long thing in it.

 25               MR. REARDON:       And then, Your Honor, the




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                                                                         181


  1   government had previously offered Exhibits 12.2 and

  2   12.3.    We would ask that those be admitted into

  3   evidence.

  4               MR. WENDT:     I have no objection.

  5               THE COURT:     They will be admitted without

  6   objection.

  7               (Exhibit Nos. 12.2 and 12.3 admitted.)

  8   BY MR. REARDON:

  9       Q.   Now, in terms of Silky, do you recall instances

 10   in which you and her were videotaped with a lot of

 11   money?

 12       A.   Yeah.

 13       Q.   And what do you remember about that instance or

 14   that incident?

 15       A.   We had just got done doing some coke, and my

 16   friend Jolena was there and Tristan was there, and we

 17   were just like in the hallway kind of by my bedroom.

 18   Tristan was recording like me, Jolena, Silky were all

 19   just like twerking and like throwing money on each

 20   other.

 21       Q.   And where did that money come from?

 22       A.   Like from our escorting.

 23       Q.   Can we please play Exhibit No. 13.15?

 24            (Exhibit No. 13.15 playing in open court.)

 25   BY MR. REARDON:




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  1         Q.   You're in that video, correct?

  2         A.   Yeah.

  3         Q.   Who was the other person that is having money

  4   dropped on them in that video?

  5         A.   Silky.

  6         Q.   You heard a voice at the end.         Do you recognize

  7   that voice?

  8         A.   Tristan.

  9                MR. REARDON:     Your Honor, the government moves

 10   to admit 13.15 into evidence.

 11                MR. WENDT:     Exhibit No. 13 and 15?

 12                MR. REARDON:     13.15.

 13                MR. WENDT:     No objection.

 14                THE COURT:     It will be received.

 15                (Exhibit No. 13.15 admitted.)

 16   BY MR. REARDON:

 17         Q.   Can we play 13.17, please.

 18              (Exhibit No. 13.17 playing in open court.)

 19   BY MR. REARDON:

 20         Q.   Who is present in that video in 13.17?

 21         A.   Me, Silky and Tristan.

 22         Q.   Tristan, the defendant, you heard his voice?

 23         A.   Yes.

 24         Q.   Where was -- what location was that video made

 25   in?




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  1       A.    My apartment, in the kitchen.

  2       Q.    And the money that is in those videos -- I'm

  3   sorry.

  4               MR. REARDON:      The government moves to admit

  5   Exhibit No. 13.17 into evidence.

  6               MR. WENDT:     No objection.

  7               THE COURT:     It will be received.

  8               (Exhibit No. 13.17 admitted.)

  9   BY MR. REARDON:

 10       Q.    The money that's in 13.15 and 13.17, where did

 11   that money come from?

 12       A.    Our escorting.

 13       Q.    To whom did some of that money go to?

 14       A.    Tristan.

 15       Q.    I want to go back to the text messages that we

 16   looked at before, so if you could get Exhibit No. 12

 17   out, the binder.

 18       A.    Just plain old 12?

 19       Q.    We're going to start with Exhibit No. 12.12.               Do

 20   you have it there open in front of you?

 21       A.    Yeah.

 22       Q.    Who are the two numbers that are referenced in

 23   this report, the phone numbers that are texting in this

 24   report?

 25       A.    Me and Tristan.




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  1       Q.    And if we turn to page 2 of Exhibit No. 12.12,

  2   the starting date or the date timestamp for these

  3   messages?

  4       A.    October 29, 2018.

  5               MR. REARDON:      Your Honor, the government moves

  6   to admit Exhibit No. 12.12 into evidence.

  7               MR. WENDT:     No objection.

  8               THE COURT:     It will be received.

  9               (Exhibit No. 12.12 admitted.)

 10   BY MR. REARDON:

 11       Q.    We don't have to bring it up, Ms. Lotz.

 12             But, Ms. Banks, I would ask you to look at the

 13   messages in the back and forth on page 15, the second

 14   page of Exhibit No. 12.12, and see if you can recall

 15   this conversation.

 16               So having looked at the first few messages in

 17   Exhibit No. 12.12, do you recall, or are you aware of

 18   what's going on in these messages?

 19       A.    Yeah.   I believe this is the day where I called

 20   him accusing him of having sex with V's sister, and he

 21   was trying to get me and my friend Jolena to come pick

 22   him up.

 23       Q.    Come pick him up from where?

 24       A.    At that time, he was at Marika Alex's house.

 25       Q.    So you were angry at him because you had heard he




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  1   had had sex with another woman?

  2         A.     Yeah.

  3         Q.     If we go to page 16, page 3 of the exhibit, there

  4   is back and forth about that allegation, correct?

  5         A.     Yeah.

  6         Q.     And then again on page 17, the argument

  7   continues.           And I want to highlight line 71.

  8                Can we highlight that, please?

  9                So on line 71, there is a mention of Silky,

 10   correct?

 11         A.     Yeah.

 12         Q.     And this is the same Silky we have been talking

 13   about for the last hour?

 14         A.     Yeah.

 15         Q.     That message says, "Shit ask Silky what just

 16   happened.        You always believing bitches and not asking

 17   me.        I have nothing to hide.     Only thing I've ever done

 18   was let V give me head.           I never fucked her or her

 19   sister."        Is that what the message says?

 20         A.     Yeah.

 21         Q.     "Head" means oral sex?

 22         A.     Yeah.

 23         Q.     But in this message, oral sex is different from

 24   fucking or having vaginal sex; is that correct?

 25         A.     Yeah.




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  1       Q.   Okay.    If we go to the next page, specifically

  2   line 73.     This is an incoming message from the

  3   defendant's phone, correct?

  4       A.   Yeah.

  5       Q.   And there is another mention of Silky?

  6       A.   Yeah.

  7       Q.   I want you to read this message and then tell me

  8   if you can recall what's going on at this point in time,

  9   what the back and forth is about Silky and the other

 10   people mentioned.

 11       A.   Read it to myself?

 12       Q.   Yes, please.

 13       A.   We are arguing.       Just prior to this message, we

 14   were at a lingerie store to buy me an outfit to go to

 15   the club.     And I had run into V and she told me that

 16   Tristan needs to be her pimp and that they made a video

 17   together.

 18            So I got upset.       And she was following him

 19   throughout the store calling him daddy, and like he

 20   wasn't like telling her to stop or anything, like wasn't

 21   denying anything she pretty much told me.              So I called a

 22   cab when I was done and just went home.             And Jolena

 23   dropped Silky, V, and Tristan off at his homeboy's

 24   house.

 25            And she came over to my house, and just were




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  1   having dinner, just going to ignore them and just

  2   talking.     And Tristan Facetimed me and was asking why I

  3   was tripping and stuff.         And I told him like why are you

  4   fucking V, and that's when he grabbed her, but she was

  5   like smiling, and like he put a gun to her face and was

  6   like, "Tell her that you lied," and she was smiling

  7   saying, "Oh, I was just kidding," blah, blah, blah, but

  8   I could just tell it was just all fake.

  9            So I just hung up and said, "I'm not coming to

 10   get you guys."       He was asking Jolena, me, to come pick

 11   them up, and I said no.         So then he sent this message to

 12   use Silky, and I kind of felt bad because we did just

 13   leave Silky over there like she had no parts in it.

 14            So he said V is trying to steal Silky from him,

 15   but us, like he made it look like a joint thing, steal

 16   Silky from me and him to give to his homeboy Crazy for

 17   pimping, and if I let that happen and I don't come pick

 18   him up and he has to take Silky and V to a hotel room

 19   for the night, then the only way he's ever going to fuck

 20   with me again on any kind of relationship level is if I

 21   pay him a fee, which means like normally $1,500.

 22       Q.   Let's go through a couple terms.           Silky is the

 23   person that we have been talking about, correct?

 24       A.   Yes.

 25       Q.   "Snatch Silky for Crazy," what does that mean?




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  1       A.   That means like knock her, recruit her, like

  2   bring her to another pimp.

  3       Q.   Is it -- okay.      So to bring Silky to another --

  4       A.   Pimp.

  5       Q.   In this case, it's a person by the name of Crazy?

  6       A.   Yeah.

  7       Q.   And then "spend bread" means spend money?

  8       A.   Yeah.

  9       Q.   And then "pay a fee," you explained what that

 10   was, but can you say it again?

 11       A.   That means like I have to pay like $1,500 or

 12   whatever he decides he wants me to pay to be able to

 13   fuck with him on any kind of relationship level any

 14   time.

 15       Q.   And this would be in addition to the quota or the

 16   other requirements that he had said you had to make?

 17       A.   Yes.

 18       Q.   If we go to the next page, please, so still on

 19   the same series of messages, but if we highlight 79 and

 20   80, please, Ms. Lotz.

 21            You send an outgoing message at 12:08 and an

 22   incoming message from the defendant's phone at 12:15.

 23   You reference pills.        What did you understand was going

 24   on when you sent that outgoing message?

 25       A.   We had just picked Silky up from hanging out with




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  1   Tristan at some boy's house, and we went to go get some

  2   food at like Denny's.        And it was me and Jolena.             And

  3   Silky was fine getting into the car, but then like when

  4   we got to the restaurant, she kept like nodding out,

  5   couldn't feed herself.

  6            So we were getting scared because like she wasn't

  7   communicating with us, and I thought she was going to

  8   lose consciousness.        So me and Jolena are like freaking

  9   that we have to take her to the hospital.              And then she

 10   told me that Tristan gave her some more Xanax, so I got

 11   frustrated because this isn't the first time it happened

 12   and like he always give her Xanax but not me.

 13            So I text him and that's when I said to stop

 14   giving her pills because pretty much if she like dies or

 15   passes out, I'm going to have to try to explain why a

 16   15-year-old girl had Xanax in her system and I'm not

 17   giving her any.

 18       Q.   In addition to having Xanax in her system, when

 19   you picked Silky up, was there anything else about her

 20   appearance that you noticed?

 21       A.   Yeah.    Like before she left my house, I had let

 22   her wear this brown pullover sweatshirt with a Victoria

 23   Secret zip-up jacket.        I had just bought it, so I told

 24   her don't lose it.        When she left, she had it on.

 25            But the jacket on the outside is like pure




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  1   fishnet.     So when she left and she came back, she wasn't

  2   wearing the undershirt, she was just wearing the all

  3   fishnet jacket.       And so I got mad and I asked her where

  4   my shirt was, and she was like, "Oh, I accidentally left

  5   it at the house.       It got too hot so I took it off."

  6            The house meaning the house she was at with

  7   Tristan and his friends.         And so I had my suspicions,

  8   but I was like, "We'll just go get it later," and she

  9   just had on my jacket.

 10       Q.   When you left her, she had a shirt on; when you

 11   picked her up, she didn't?

 12       A.   Yeah.

 13       Q.   Do you know who else was over at the house that

 14   you picked her up at?

 15       A.   It was V, pretty much like all the Sly gang

 16   members, like all his homeboys.

 17       Q.   When you say homeboys --

 18       A.   Like Crazy, Banzo, like Isaiah Finger, like --

 19   yeah, like all of them.

 20       Q.   And do you know those people's relationship to

 21   the defendant?

 22       A.   Those are his homeboys.         Those are like his

 23   goons, like -- do I really have to talk about that part?

 24       Q.   The homeboys, his goons?

 25       A.   Yeah.




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  1       Q.   So the next message there is an incoming message

  2   from the defendant's phone.          And what does he say in

  3   that message?

  4       A.   Read out loud or to myself?

  5       Q.   There is a mention of of a Xanny in there.

  6       A.   "What I gave her a zany that they gave me last

  7   night and dnt be checking me bout doing nothing."

  8            What is "zany"?

  9       A.   Xanax bar.

 10       Q.   That's a Xanax?

 11       A.   Yeah.

 12       Q.   Can we go to the next page, please.            Again, if we

 13   highlight line 82.        I'm sorry, like 81 and 82, Ms. Lotz.

 14            So an incoming message, "Are you catching a

 15   fucking cab cause it just hit my phone."              And then you

 16   reply with a reference to "zans."            Is that a reply to

 17   the earlier message about "zany"?

 18       A.   Yes.

 19       Q.   What did you say?

 20       A.   Starting from "zans"?

 21       Q.   Starting with "that's beside the point."

 22       A.   I said, "That's beside the point.            I don't need

 23   this bitch passing out in public with me.              What the

 24   fuck, nigga.      U don't give me zans nun so what the fuck

 25   is ya problem with her, nigga.           She younger then me and




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  1   yea, that's coo, stop giving her shit period."

  2       Q.    So what were you trying to tell or get across to

  3   the defendant in that message?

  4       A.    So like stop giving her Xanax, because she's so

  5   young that I was afraid she would die from them.                   And I

  6   just wanted to be just blunt, like what was really going

  7   on with you two to where you feel like you can give her

  8   Xanax bars, and you don't even engage with me on that

  9   kind of level.

 10       Q.    Can we go to the next two messages, please,

 11   Ms. Lotz?     These would be lines 83 and 84.

 12             There is another message from you.           "I don't give

 13   a shit.     And if something happened u ain't gone take her

 14   to the ER.        So fucking stop, okay, no argument."

 15             What are you saying in that message?

 16       A.    I'm pretty much saying, yeah, if she was to like

 17   fall on her face and like OD, he's not going to drive

 18   her to the ER, he would just have me take her to the

 19   hospital.     And I just wanted it to just be done, him not

 20   respond, anything to try to like discourage what I'm

 21   saying.     Just stop, just don't give her anything else.

 22       Q.    And just to be clear, the "her" we're talking

 23   about in all of this is Silky?

 24       A.    Yeah.

 25       Q.    So the next message is an incoming message from




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  1   the defendant's phone.         It says, "Got you, but you do

  2   give her shit and I do give you shit.             She was over

  3   there with me.       They gave it to me.       I don't fuck with

  4   them so I gave it to her.          Tf and what you doing.          If

  5   you so worried about her age, then why you got her

  6   around cause if something happens, then you going to

  7   jail."

  8             So "give her shit" and "I do give her shit," what

  9   is the "shit" that's being referenced there?

 10       A.    He's talking about drugs, cocaine, marijuana.

 11       Q.    And then "worried about her age.          If something

 12   happens, then you going to jail," what would be the

 13   concern about Silky's age?

 14       A.    Meaning like if what led us to court today ever

 15   happened, I would be the one who would go to jail

 16   because she's at my house, stuff is happening on my

 17   phone, so it would just look like I'm doing something

 18   terrible.

 19       Q.    Okay.   If we could go to page 22, please.

 20             Again, in the same series of messages, at line 90

 21   and 91, can we highlight that, please.

 22             So you send a message that says, "Your half our

 23   age.     That's the matter."       Can you explain that message?

 24       A.    Well, because when I first met him, he said that

 25   he was like 20-something, so this whole time I thought




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  1   he was in our age bracket.          Around this time, we had got

  2   like some kind of -- I called the cops or something like

  3   that and they told me his real age, so that's when it

  4   became weird.      Because me and my friend Jolena were just

  5   looking at him as like nobody to be 30-something years

  6   old hanging out with all of us.

  7             So I brought that up, like you shouldn't even be

  8   hanging out with us if you actually want to just like be

  9   honest.

 10       Q.    Your age again in October of 2018?

 11       A.    I was 19.

 12       Q.    That mentions you're half our age.           Did you mean

 13   you're twice our age?

 14       A.    Yes.

 15       Q.    Or I'm half your age?

 16       A.    Yeah.

 17       Q.    But that's a reference to --

 18       A.    His age, yeah.

 19       Q.    And at this point, how old did you learn that he

 20   was or think that he was?

 21       A.    At this point, I was told he was like 33, 34.

 22       Q.    Okay.   So the next message is an incoming

 23   message.     "You give her everything.         I gave her one

 24   pill.     Dnt try and make it seem like I've been giving

 25   her shit and I'm that man.          Where you at so I can grab




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  1   my shit."

  2            Again, referencing the drugs; is that correct?

  3       A.   No, he's talking about like his clothes, like his

  4   luggage.

  5       Q.   When he wants his shit, it's his clothes and

  6   luggage?       What did he have at your house?

  7       A.   He left his duffel bag, his Jordan backpack that

  8   had his PlayStation in it, like shoes, like his camera

  9   equipment.

 10       Q.   Okay.     And then the next line or the next section

 11   is, "That's ya ho, right, cause she ain't mines.                   You

 12   breaking her."

 13            So when it's a reference to "ya ho," your whore,

 14   who is that a reference to?

 15       A.   Silky.

 16       Q.   And "breaking her" means what?

 17       A.   Taking her money.

 18       Q.   Were you taking her money?

 19       A.   No.

 20       Q.   Okay.     And then there is -- continue on.           "You

 21   been breaking her for the last couple of days like you

 22   the pimp.       LOL.   So do you wish success shorty.          I just

 23   need my camera."

 24            So, again, were you Silky's pimp?

 25       A.   No.     I was just like a middleman.         Like dates




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  1   would happen and like Silky would hand me her half, and

  2   then I would put my half together.            Like say she didn't

  3   meet $500 quota, she had $200 and I had may $300, we'll

  4   put that together and I'll just give it to Tristan.

  5            Or sometimes she directly gave it to Tristan.                   It

  6   was never, "I'm going to take her money and keep it for

  7   my own stuff."       It was always it went from us to him.

  8            Whatever I managed to like stash away in my bank

  9   account is what I put towards rent.            Or stuff I made at

 10   the club, I really didn't -- he didn't get on me as much

 11   about that kind of stuff.

 12       Q.   So you were making money from two places at this

 13   point, escorting and working at the strip club?

 14       A.   Yeah.

 15       Q.   Again, some portion of the escort money would be

 16   given to the defendant?

 17       A.   Yes.

 18       Q.   If we can go to page 25, please.           Actually, I'm

 19   sorry, 24.       Sorry, once again, Ms. Lotz, 25.          And

 20   highlight the first message.

 21            Ms. Banks, have you ever used the term "vogue

 22   over hustler"?

 23       A.   What?

 24       Q.   Have you ever used the term "vogue over hustler"?

 25       A.   Vogo?




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  1       Q.    "Vogue over hustler."       If say the word "vogue

  2   over hustler," does that mean anything to you?

  3       A.    No, that's my first time like ever hearing that

  4   phrase.

  5       Q.    Can we go back to page 23, please, and the very

  6   last message.

  7       A.    Oh, okay.

  8       Q.    I'm worried that you didn't understand what I

  9   said.     There is an outgoing message from you, "vogue

 10   over hustler."

 11       A.    I was like reference to like model, cutesy.

 12       Q.    Okay.   So you understand what I said?

 13       A.    Yeah.

 14       Q.    That's a message from you, correct?

 15       A.    Yeah.

 16       Q.    Now, if we go to page 25 and highlight the first

 17   message there on 25.

 18             There is again discussion about people that have

 19   been talked about before.          And then if we start midway

 20   down, "All that.       I'm not mad or beefing wit you.              We

 21   just dnt fit.      Thnk you for what you have done.            Your

 22   special.     You gone go places.        Just stay humble.          Hit me

 23   when you get out PO visit.          Pick up my camera man.

 24   Vogue culd never out beat hustle.            I can hustle

 25   anything, wich mean I can get money from everywhere."




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  1            That's a message from the defendant's phone,

  2   correct?

  3       A.   Yes.

  4       Q.   When you hear, "I can hustle anything," what does

  5   that mean to you?

  6       A.   Talking about pretty much any revenue that he

  7   picks to go through, he's going to financially benefit

  8   from, whether it's girls, whether it's drugs, whether

  9   it's fraud, whether it's robberies, he's always just

 10   going to get money.

 11       Q.   Is it fair to say when you look at these messages

 12   that you were pretty upset with the defendant?

 13       A.   Yeah.    Yeah.

 14       Q.   You make a lot of accusations and statements

 15   about him?

 16       A.   What?

 17       Q.   And you make a lot of accusations and you say a

 18   lot of things about him in these messages?

 19       A.   Yeah, but I wouldn't call them accusations,

 20   because like accusations are most likely not real.                 I

 21   think I was stating like fact, like stuff that was

 22   actually happening.

 23       Q.   If we could go to page 28, please, and highlight

 24   line 113.

 25            If you look at line 113, that's an incoming




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  1   message, correct?

  2       A.   Yeah.

  3       Q.   And we'll just walk through it.           I'll read.      "And

  4   I just seen all ya other messages.            What you mean you

  5   want ya money and then I can leave."

  6            So had you made a demand earlier for getting some

  7   money from the defendant?

  8       A.   Wait.    What?

  9       Q.   Had you asked the defendant earlier for some

 10   money?

 11       A.   Yeah, because I felt like --

 12       Q.   What money did you want from him?

 13       A.   I wanted him -- like all the money that I turned

 14   over, I felt like he should at least give me that or at

 15   least give me something if it was like a relationship.

 16   I was testing to see if it was really a relationship,

 17   because I was still confused if it was a relationship or

 18   if it's just like pimping.

 19       Q.   If you look earlier in the messages, had you made

 20   comments about videos that he had taken of you?

 21       A.   Yeah.

 22       Q.   And so when we read on, "And then I can leave and

 23   you keep talking shit bruh and then videos you seen are

 24   home collections.         Those are not production or

 25   professional done.         We got shit for that.       LOL."




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  1             So you had been involved in videos that the

  2   defendant had made at this point?

  3       A.    I went through his phone.

  4       Q.    What did you see in terms of videos?

  5       A.    A bunch of videos of females.

  6       Q.    And so this is a response to your comments about

  7   those videos?

  8       A.    Yeah.     That was on the -- I was on the phone and

  9   we were arguing.

 10       Q.    So then continuing, "You can't catch up.              If you

 11   wanted to you gone see I ain't never pimped, bitch.                    You

 12   got the game fucked up.           You ain't never seen pimping

 13   like this.        You confused.     Dnt know what to do.        This

 14   ain't no play book.        I got my own rules.        This my

 15   world."

 16             So what does that message mean to you?

 17       A.    Can't call like game goofy, not experienced with

 18   his like -- like I said earlier, there is like the kind

 19   of pimping I was used to and then like his kind of

 20   pimping.     I was like blind-sided and he could tell that.

 21       Q.    There is some comments about sexual acts and a

 22   mention of his age.        "I'm 33."     That was the age you

 23   understood him to be now?

 24       A.    Yeah.

 25       Q.    And then to conclude, "And bitch I like fucking.




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                                                                         201


  1   Catch me on film.       Dnt hate.     We better off as friends

  2   and just do business together cause you know how to run

  3   a nigga away.      Get money, Pebbles.        Dnt know goofy

  4   bitch.     By this time next week I'll be all the way up.

  5   How bout you."

  6             "Pebbles," what does the name Pebbles mean to

  7   you?

  8       A.    That's my family nickname.

  9       Q.    When you say family nickname?

 10       A.    Meaning my older brother named me that when I was

 11   a baby.

 12       Q.    Was that a name that you some would sometimes use

 13   in ads?

 14       A.    No.   I did like just Lady Velvet.          He just heard

 15   my mom and my sisters calling me that.

 16       Q.    And when it says, "This time next week I'll be

 17   all the way up, how about you," what does "all the way

 18   up" mean?

 19       A.    He'll have a lot of money.

 20       Q.    Bring that down, please, and go to the next line.

 21             Another incoming message, "I need my camera."

 22   Did you know which camera he was referring to?

 23       A.    The one that I seen at the house that he was

 24   using to make videos, like the big one that you showed

 25   me earlier.




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  1       Q.   The one I showed you earlier, the Exhibit 19?

  2       A.   Yeah.

  3       Q.   Okay.    If we go to page 29, and line 116, please.

  4            So it's a message from you and there is words in

  5   there I want to ask you about.           "Pimping" and "simping."

  6   Pimping we have discussed.

  7            What does simping mean?         What is that slang for?

  8       A.   Simping is like a boyfriend pimp.            They are not

  9   -- they are pretty much what Tristan does.              Like they

 10   are like not very blunt or assertive.             They will play

 11   like with your head and make you think that it's love

 12   and like, you know, there is some pimps who you don't

 13   really have intimacy.        And boyfriend pimps, which are

 14   simps, they do that.

 15       Q.   If we can go to the next page, please, line 121.

 16   This message reads, "I take advice frm myself and you

 17   right I was simping.        That's why I'm falling back cause

 18   I let other shit get in the middle of my pimping and you

 19   ran loose and outta control so it's no reverse.                I

 20   fucked that up, but I'm back on my shit and I'm getting

 21   my shit lined so when it's pimping again my shit strong

 22   and no distraction so whatever.           Like I said, do you.

 23   Let me get my camera."

 24            So again the reference to simping is what?

 25       A.   It's boyfriend pimp.




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  1       Q.    What did you understand that the defendant is

  2   telling you in this message?

  3       A.    That I was right when I called him a simp and

  4   he's not ashamed of being a simp.            He doesn't care, but

  5   I got like so out of hand pretty much, I let it go to my

  6   head and now he goes to back out and all he wants is his

  7   camera.

  8       Q.    If we could go to page 32, please, one last

  9   message at line 128, an incoming message from the

 10   defendant's phone number.

 11             "How dnt I see what's in front of me.            Just

 12   because you choose me, I let you cause I seen what I

 13   seen.     We just gotta stop all this dumb shit damn and

 14   get an understanding.        We still playing games with each

 15   other.     No trust."

 16             How did you take this message?

 17       A.    Pretty much that he saw that I had some potential

 18   for his way of making money and so he wanted to put that

 19   into me.     And I guess when he found out that I wasn't

 20   trying to go that way but another way, it just -- he

 21   thought it wasn't going to work and I was not on the

 22   same mentality that he wants me to be.

 23       Q.    The term "choose" or "choose up," are those terms

 24   you've heard before?

 25       A.    Yeah.




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  1       Q.    What does that mean?

  2       A.    "Choose up," meaning like if you have had a past

  3   pimp or a prior pimp or former pimp, you can leave him

  4   and go to a new pimp, so like you choose up.               And

  5   sometimes they make you pay a fee to do that or some

  6   will let you do it for free.

  7             And then like cocky pimps will say, "Oh, yeah,

  8   you chose me, but I chose you too."            So even though you

  9   choose a pimp, the cocky ones will say you're not good

 10   enough, blah, blah, blah, like that.             Just -- it just

 11   makes you question yourself, that's it.

 12       Q.    And the explanations and definitions that you're

 13   providing, those are things that you have learned as an

 14   escort?

 15       A.    Yeah.

 16       Q.    If we could go to 12.13 in front of you.

 17               MR. REARDON:      Your Honor, the government moves

 18   to admit 12.13 into evidence.

 19               MR. WENDT:     No objection.

 20               THE COURT:     It will be received.

 21               (Exhibit No. 12.13 admitted.)

 22   BY MR. REARDON:

 23       Q.    If we could publish page 2 of 1213.           It's page 39

 24   on the Bates stamp.

 25             These are messages from October 31st; is that




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  1   correct?

  2       A.   Yeah.

  3       Q.   If we go to line 160 and 61.          160 and 61, please,

  4   Ms. Lotz.

  5            Again, a reference to Silky, a message from the

  6   defendant's phone number?

  7       A.   Yeah.

  8       Q.   And your response?

  9       A.   "Silky is at home."

 10       Q.   So you had described Silky leaving sometime in

 11   early November.       Around Halloween, she was still at your

 12   house?

 13       A.   Yeah.

 14       Q.   The term "whip," what does that mean in slang?

 15       A.   Whip?

 16       Q.   Yeah.

 17       A.   Car.

 18       Q.   Can we go to the third page, please.

 19            We're going to start on line 171.            It's an

 20   incoming message that starts, "And you left Silky wit no

 21   money, no" -- and continue onto page 42.

 22            Can we bring both of those up and scroll it down,

 23   please, Ms. Lotz.

 24            The whole message is, "And you left Silky wit no

 25   money, no phone.       She got a key at least."




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  1            Where was Silky at this point?

  2       A.   She was at my apartment.

  3       Q.   Did she have a phone that you were aware of?

  4       A.   No.

  5       Q.   Had that been something that you and the

  6   defendant had talked about, getting her a phone?

  7       A.   Yeah.

  8       Q.   And why -- whose idea was it to get her a phone?

  9       A.   It was mine, because I didn't -- it was just hard

 10   to channel her dates and my dates on the same phone.                     It

 11   was just confusing.

 12       Q.   So you had posted Silky's ad?

 13       A.   Yeah.

 14       Q.   Were people responding to that ad?

 15       A.   Yeah.

 16       Q.   Were you reposting it?

 17       A.   I mean like you pay for like a day or like seven

 18   days, or you can pay for automatic repost.              It just

 19   depends on what option you pick.           I just put automatic

 20   repost, so it will regenerate her ad like every 24 hours

 21   for like 30 days.

 22       Q.   When you had created that ad earlier, you talked

 23   about showing it to the defendant when you finalized it.

 24   Why did you show it to him before you finalized it?

 25       A.   To see if I like did it right, just to see if it




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  1   was like good enough to attract male attention.

  2       Q.   So for his approval?

  3       A.   Yeah.

  4       Q.   Okay.    The issue of phone, so when somebody

  5   wanted to set up a date with Silky, how would they get

  6   in touch with her?

  7       A.   I had like another tab open and I had like the

  8   Gmail app, so like her account was logged in on there.

  9   When I'm at home, I would just let her have my phone

 10   because I had like two iPhones at the time, but they

 11   have the same like cell phone number rigged to it.

 12            So I would like let her use my phone.             Some she

 13   responds to if she wanted to talk with guys, or then I

 14   would communicate and I would tell her what they are

 15   saying, like that, through Gmail.

 16       Q.   Would there ever be -- would these conversations

 17   ever leave Gmail and go to text messaging or anywhere

 18   else?

 19       A.   Yeah.    If it got too complicated to keep up with

 20   Gmail, I will just ask for a phone number, and then they

 21   will be texting my phone and Silky would be responding,

 22   or I would be responding.          And then it would get

 23   confused because I would have a date and she would have

 24   a date and so you get them mixed up.

 25       Q.   Why was there a need to get Silky her own phone?




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  1       A.   So she could better manage her dates and have

  2   like contact information.

  3       Q.   And how many people were contacting you or Silky

  4   about her ad?

  5       A.   I mean you can get like -- the least amount of

  6   hits you can get is like 15.          So like on a slow day, you

  7   will see 15, but we just had a lot.            It was a lot.       Some

  8   we just blocked, like weirdos.           Some we responded to.

  9            It was a lot.      My phone was pretty much full.               I

 10   had to start deleting some.

 11       Q.   Bring that down, please.

 12            If we can go to 12.14.

 13               MR. REARDON:      The government would move to

 14   admit 12.14 into evidence.

 15               MR. WENDT:     No objection.

 16               THE COURT:     It will be received.

 17               (Exhibit No. 12.14 admitted.)

 18   BY MR. REARDON:

 19       Q.   Publish page 2, please, Ms. Lotz, and highlight

 20   line 202.

 21            There is an outgoing message with a weight, eye

 22   color and size.       Who is that in reference to?

 23       A.   Silky.

 24       Q.   Do you know why you were sending weight, eye

 25   color and size in a text message to the defendant's




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  1   phone?

  2         A.   See, this is what I mean.       I got -- his number

  3   didn't have a contact name on it.            It was just like

  4   blended in with like all the other like trick's numbers,

  5   and so like that was a message that was supposed to go

  6   to a former customer.

  7         Q.   Okay.

  8         A.   And it just got like sent to the wrong person.

  9         Q.   Okay.   If we go to then page 52, line 217,

 10   Ms. Lotz.      I'm sorry, line 218.

 11              Sorry again, let's go to 217 and 218.

 12              Looking at the two messages, 217 and 18, there is

 13   an incoming message.        Looking at that message and the

 14   messages immediately prior that are part of Exhibit

 15   No. 12.14, do you have any recollection of what's going

 16   on that day?

 17         A.   I was arguing with him about something.           I think

 18   this was -- I want to say it was either Silky getting

 19   locked up or I found out like he was messing around with

 20   JS.

 21         Q.   But at the end of your message there in line 218,

 22   you say, "Goodnight fucking Tristan!"             That's a message

 23   for the defendant?

 24         A.   Yeah.

 25         Q.   If we go to the next page, and highlight the




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  1   message there on the top, please, Ms. Lotz.

  2            This is a response, "No, not good night, but bye.

  3   I promise you I'm not coming around and you a dumb bitch

  4   who wouldn't get the bitch a phone."

  5            So referencing not getting a phone for someone,

  6   who is that a reference to?

  7       A.   Silky.

  8       Q.   "So she can hit dates.         Why you working more

  9   money.    But like I said, I'm a do me and get me right

 10   cause I'm worried bout what you need and what the next

 11   bitch.    Not no more and not laid up.           I'm out in traffic

 12   as we speak."

 13            This is a message about what?

 14       A.   Messing with me because I didn't get Silky a

 15   phone, so I was losing out on money.

 16       Q.   So if we go to page 54, please.           Highlight 224.

 17            "Gingerbread Slim catch me if you can," in that

 18   incoming message.       Gingerbread Slim, does that name mean

 19   anything to you?

 20       A.   Yeah, that's Tristan's name.

 21       Q.   You had said earlier that his Snap name was

 22   Gingerbreadman?

 23       A.   Yeah.

 24       Q.   Gingerbread Slim is another nickname that you

 25   heard?




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                                                                         211


  1         A.   Yeah.

  2         Q.   If we go to 226.     One more, please, Ms. Lotz,

  3   226.

  4              Another incoming message, "I dnt chase bitches.

  5   They choose who they want over here."

  6              The reference to "choose" in that means what to

  7   you?

  8         A.   What?

  9         Q.   In that message, there is a reference to choose,

 10   "They choose who they want."          What is that a reference

 11   to?

 12         A.   Meaning they choose their pimp, hos choose their

 13   pimps.

 14         Q.   We can go ahead to page 62, please.          I ask you

 15   just to briefly look at the messages in the pages

 16   preceding 62.       Are you and Mr. Grant having an argument

 17   in those messages?

 18         A.   Did you say go to the second page too or just the

 19   first page?

 20         Q.   Just look at the messages preceding that, and how

 21   would you describe the conversation that you're having

 22   with the defendant?

 23         A.   Angry.

 24         Q.   Arguing about something?       Do you recall what you

 25   were arguing about?




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  1       A.    Yeah, we're arguing because I felt like he was

  2   still messing around with Mariah, my friend, and pretty

  3   much that he wasn't saying -- he wasn't like owning up

  4   to looking like what he claimed he was, just was -- he

  5   just wanted to be a pimp, like just co-pimping himself

  6   like that.        And I told him I wanted my gun.         I don't

  7   want anything else to do with him.

  8       Q.    And the gun that you mention that you wanted, is

  9   that the gun that you described earlier from the

 10   hospital?

 11       A.    Yeah.

 12       Q.    And who had the gun at this time?

 13       A.    Tristan.

 14       Q.    How do you know that?

 15       A.    Because like that was the night he choked me on

 16   the couch, and I grabbed my gun and tried to hit him

 17   with it after Silky pulled him off of me.              And he took

 18   my gun and left.        He snatched it out of my hand and took

 19   it and left.

 20       Q.    Can we go to page -- I apologize, Your Honor.

 21             Can we go to page 62, please.          And if we

 22   highlight line 256, please.          This is an outgoing message

 23   to you.     What did you write to the defendant?

 24       A.    I said, "Laugh my ass off.         There is a difference

 25   too.     I don't need just wanted to make money wit you,




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  1   but you co-pimping an u ain't brought shit into my life

  2   but drama yelling everything else I did so it's fair to

  3   say u a punk bitch."

  4       Q.    Co-pimping, what does that mean?

  5       A.    Meaning I found out there was text messages

  6   between him and Marika Alex where Marika was telling him

  7   to pimp me.

  8       Q.    So this is -- okay.       Some agreement between him

  9   and another person about pimping you out?

 10       A.    Yeah.

 11       Q.    So then if we go to page 64 and highlight line

 12   263.     There is a message, "I'm not beefing wit you or

 13   nothing.     Shot fareal fareal.        I'm buying me a plane

 14   ticket today or tmrw so it dnt matter.             I almost bought

 15   this car today to help but for what.             I'm a wait to my

 16   money right and get something real.            And you right, I

 17   was co-pimping.       That's why ya shot like it is now.

 18   Nowhere.     You'll see."

 19             What did you interpret this message to mean?

 20       A.    That what I stated that he did earlier with me

 21   finding out that Marika told him to pimp me was true,

 22   that he was working with Marika.

 23       Q.    Bring that down, please.

 24             So that message is November 3rd.          We had seen one

 25   earlier from early November with a mention of Silky




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  1   being at home.       And you also have talked about Silky

  2   getting locked up.        So what do you recall about Silky

  3   leaving your apartment and why she didn't come back?

  4       A.   I want to say it was like -- it was like the

  5   first-ish week of like November.           I was at home

  6   cleaning.     It was just me and Silky, because I wasn't

  7   talking to Tristan for some reason.

  8            And Silky was using my phone to like talk to

  9   somebody, text somebody, and I was just cleaning.                  And

 10   she told me that she was going to go out.              And I just

 11   had a feeling like she shouldn't go out, so I just told

 12   her, "No, I don't think you should go out anywhere

 13   tonight, like you should just stay in the house, there

 14   is nothing to do."

 15            She persisted, so I just said fine, whatever.

 16   She's like it's JS, and she is with some other people.

 17   I was like, "Well, ask her if I can come too."               She

 18   said, "Oh, no, they said you can't come, only I can

 19   come."

 20            I said, whatever, fine, and she left.             And I

 21   didn't think to go outside and see what car she got in.

 22   I just let her leave.        And I just got my phone.          And

 23   then like, almost like morning, like kind of midnight

 24   hour, Tristan came back and was like just trying to play

 25   it off as like he didn't -- he wasn't with them.




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  1            But JS had already called me and told me, "Oh,

  2   yeah, Silky is in jail."         And then she texted like,

  3   "Where is Silky," and you just said she's in jail.                 So

  4   then when Silky's grandma called me and told me that

  5   Silky went to jail and she was crying for me and that

  6   she got caught with 80 Xanax up her vagina going to

  7   Girdwood.

  8            And I automatically knew it was Tristan because

  9   prior to that, days before that he was trying to like

 10   talk her into, "Hey, hey, you want to make some money.

 11   I got this thing where we can get some for sure money.

 12   All you got to do is make one little drop."

 13            I told her ignore him, you don't have to tell him

 14   anything.     And she snapped at him and was like she don't

 15   have to listen to him.         And that's when he called her a

 16   bitch and acted like he was going to hit her.               And I was

 17   like he's not going to do anything, we're in a store.

 18            I stopped it from happening then, but it happened

 19   again when she left that night.           And I asked him about

 20   it, and he's like, "It doesn't matter.             There's nothing

 21   to prove.     We had nothing to do with it," and just left

 22   it at that.

 23       Q.   Can I ask you to look at 12.15.

 24               MR. REARDON:      Your Honor, the government moves

 25   12.15 into evidence.




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  1               MR. WENDT:     No objection.

  2               THE COURT:     It will be received.

  3               (Exhibit No. 12.15 admitted.)

  4   BY MR. REARDON:

  5       Q.   Let's go to the third page, please, message 273.

  6   What's the date of this message, Ms. Banks?

  7       A.   November 4, 2018.

  8       Q.   At 1:20 in the morning?

  9       A.   Yeah.

 10       Q.   The incoming message is what?

 11       A.   "Why Silky ain't wit you?"

 12       Q.   Then if we go to the next page, highlight the

 13   first two messages, please, Ms. Lotz.

 14            So then a follow-on message from the defendant's

 15   phone.    What does he say?

 16       A.   He said, "what you trying to do, set me up?               Ha."

 17       Q.   So that reference to set me up, what did you take

 18   that to mean?

 19       A.   Like he was saying I was trying to make it look

 20   like -- he gave himself away too early because I didn't

 21   even know Silky was in jail yet, but he thought I knew

 22   and was trying to set -- make it look like he was

 23   responsible for whatever happened to Silky, but I didn't

 24   even know she was in jail.          I thought she was still out.

 25       Q.   So the next message is your response.             What did




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  1   you say to him in response?

  2         A.   I said, "What the fuck.       Are u serious right now.

  3   And no, she want to go out and party with JS and some

  4   kids so I let her.          Shit."

  5         Q.   So the person mentioned in that specifically is

  6   JS?

  7         A.   Yeah.

  8         Q.   So at least by early November, JS was back at

  9   your apartment hanging out?

 10         A.   Yeah.

 11         Q.   Okay.     And she and Silky went out that night?

 12         A.   Yeah.

 13         Q.   After Silky was arrested, did she ever return to

 14   stay at your apartment?

 15         A.   No.     No.   Her grandma -- I told her grandma to

 16   come and like get her stuff, but her grandma, we lost

 17   communication.

 18         Q.   But after Silky left and JS is back, did JS stay

 19   at your apartment?

 20         A.   Yeah, JS came back.

 21         Q.   And describe JS, how often would she be there,

 22   how frequently?          Do you have any recollection of that?

 23         A.   She was just there on and off again, just like a

 24   day or two, or maybe just a night or just like call me

 25   if she wanted to drive around for a few hours, stuff




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  1   like that.

  2       Q.   Do you know if she ever spent any time with the

  3   defendant from November 4th on?

  4       A.   Yeah.

  5       Q.   How do you know that?

  6       A.   Well, I was there on a few occasions.             And then

  7   when I would go through his phone, I would see they were

  8   together.

  9               MR. REARDON:      If I could have just a moment,

 10   Your Honor.

 11               (Pause.)

 12   BY MR. REARDON:

 13       Q.   Do you know if after JS came back that she did

 14   dates for the defendant?

 15       A.   I know she did, because I was staying -- I was at

 16   my friend Mariah's house hanging out, and like her and V

 17   were together with Tristan and they were just calling me

 18   because I had blocked his number at one point.

 19            So they were calling me and like sending stupid

 20   texts, but I could tell he was telling them to text me

 21   and say stupid stuff.        JS, when I had picked up on her

 22   call, she's like, "I'm at a hotel and I just made $300,"

 23   stuff like that, and I just hung up.             I was irritated.

 24       Q.   I want to switch gears a little bit.             You had

 25   talked earlier about videos that you were aware of that




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  1   showed JS and the defendant engaged in sex acts?

  2       A.   Uh-huh.

  3       Q.   One of those videos I think you described as

  4   taken at a drive-thru.         Can you describe that video

  5   again?

  6       A.   We were sitting in the car.          JS was in back.         I

  7   don't think this is the day -- Tristan had got

  8   frustrated because he had been driving around the same

  9   complex looking for her and she couldn't give an exact

 10   location where she was, so he was leaning on me to hurry

 11   up and get her to get in the car.

 12            He's like, "When she get in the car, knock the

 13   shit out of that bitch."         So she got in the car, and she

 14   brought me a teddy bear, and she had told me it was for

 15   me, so I took it, and then I reached over and I told

 16   her, "Just pretend, just pretend," and I just lightly

 17   slapped her in the face.         And I was like, "That's

 18   because you made him drive around for hours and stuff."

 19            So we just drove around to another place.                 And we

 20   went back to my house.         And then he was like, "Oh, we

 21   should go get a hotel," or something like that.                But I

 22   said I was hungry, so we went to a drive-thru.               And he

 23   was trying to like do one of his little games that he

 24   did that pissed me off by while we're at the Popeye's

 25   drive-thru, he like made a just a rude comment talking




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  1   about to suck his dick.

  2            I was like, "No, why don't you tell your funny

  3   looking bitches to do it."          So he looked at JS and he

  4   was like, "Oh, record it, record it."             So I grabbed my

  5   phone and recorded it and just act like it didn't hurt

  6   me, it matter.

  7            And she leaned over the seat and did it.              And he

  8   told me to send it to his phone and I sent it to his

  9   phone.

 10       Q.   Do you remember when this was?

 11       A.   I want to say like -- I want to say

 12   November 19th, that timeframe.

 13       Q.   This was you said Popeye's.          The Popeye's in

 14   Anchorage?

 15       A.   Uh-huh.

 16               MR. REARDON:      Your Honor, at this time, I would

 17   like to show the witness Exhibit No. 12.6.              I would like

 18   to note for the record that this image does contain

 19   contraband, approximately a 10- to 15-second video.                  I

 20   have turned off the outward facing monitors so the

 21   gallery cannot see what's about to be played.

 22               And we have turned off our monitors here at the

 23   table so nobody behind us can see, so --

 24               THE COURT:     Very well.

 25               MR. REARDON:      Ms. Lotz, can we play Exhibit




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  1   No. 12.6, please.

  2                (Exhibit No. 12.6 playing in open court.)

  3   BY MR. REARDON:

  4         Q.   So that's the video that you just described?

  5         A.   Yeah.

  6         Q.   And that's the video that the defendant directed

  7   you to make?

  8         A.   Yeah.

  9         Q.   You're in the passenger seat taking the video.

 10   The person in the back was whom?

 11         A.   JS.

 12         Q.   And the defendant is in the driver's seat?

 13         A.   Yeah.

 14         Q.   Do you know how old JS was at the time that this

 15   video was made?

 16         A.   17.

 17         Q.   What did the defendant ask you to do with this

 18   video after you made it?

 19         A.   To text it to him, send it to him.          I sent it via

 20   text message and Snapchat.

 21         Q.   Sent it to his phone?

 22         A.   Yeah.

 23         Q.   Did you ever see that video again after you took

 24   it?

 25         A.   Yeah, it was posted on his Snapchat.




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  1       Q.   Do you know if changes or anything were made to

  2   it after it was posted?

  3       A.   Just the HU$H logo was added.

  4       Q.   Can we play Exhibit No. 12.7, please.

  5               MR. REARDON:      Your Honor, the government would

  6   move 12.6 into evidence.

  7               MR. WENDT:     No objection.

  8               THE COURT:     It will be received.

  9               (Exhibit No. 12.6 admitted.)

 10               (12.7 playing in open court.)

 11   BY MR. REARDON:

 12       Q.   Can I have a moment, Your Honor.           So looking at

 13   12.7, is this the same video, as best you can tell, with

 14   the logo, the HU$H logo that you described earlier?

 15       A.   Yes.

 16       Q.   That is H-U-$-H?

 17       A.   Yes.

 18       Q.   Where did you see this video posted?

 19       A.   Snapchat.

 20       Q.   Whose Snapchat account?

 21       A.   Tristan's.

 22       Q.   And that was the Gingerbreadman account?

 23       A.   Yes.

 24               MR. REARDON:      Your Honor, the government moves

 25   to admit 12.7 into evidence.




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  1               MR. WENDT:     No objection.

  2               THE COURT:     It will be received.

  3               (Exhibit No. 12.7 admitted.)

  4   BY MR. REARDON:

  5       Q.    Now, there was another instance that you

  6   described at a hotel.        Can you remind us what took place

  7   at the hotel where images of JS and the defendant were

  8   videotaped?

  9       A.    Just their part?

 10       Q.    Well, let's talk about -- so do you remember when

 11   this happened, the hotel incident?

 12       A.    It was like right after Thanksgiving, like the

 13   26th or the 27th-ish.

 14       Q.    Do you remember which hotel?

 15       A.    Guest House.

 16       Q.    Do you remember where that was?

 17       A.    Downtown Anchorage like by the soup kitchen

 18   almost.

 19       Q.    Right by the where?

 20       A.    Like by the soup kitchen, Bean's Cafe or

 21   something.

 22       Q.    Do you remember who got that room or how it was

 23   paid for?

 24       A.    I bought it with my credit card.

 25       Q.    If I could ask you to open up -- close the binder




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  1   we have been looking at with the text messages and open

  2   up the other one and turn to Exhibit 20, please.

  3             There are two pages in that sleeve.           If you can

  4   access them, I'm going to ask you to pull them both out.

  5   You see those two pages?

  6       A.    Yeah.

  7       Q.    Do you recognize your signature on the credit

  8   card receipts there on page two?

  9       A.    Yeah.

 10       Q.    And on page two, there is a photocopy of a

 11   receipt.     It's tough to read.        Is your signature on the

 12   bottom of that?

 13       A.    Yeah.

 14       Q.    Then looking at page one, is there a photocopy of

 15   your ID?

 16       A.    Yeah.

 17       Q.    And there is a credit card there as well, a

 18   photocopy of a credit card.          Does that look familiar?

 19       A.    Yeah.

 20               MR. REARDON:      Your Honor, the government moves

 21   to admit Exhibit 20 into evidence.            I would note for the

 22   record it is a business record that's accompanied by

 23   business record certification at 20 cert in Mr. Wendt's

 24   binder.

 25               MR. WENDT:     I have no objection.




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  1               THE COURT:     It will be received.

  2               (Exhibit No. 20 admitted.)

  3   BY MR. REARDON:

  4       Q.   Can we publish page two of this, please, of

  5   Exhibit 20.

  6            Looking at Exhibit 20, this is a hotel receipt

  7   for a room you purchased, correct?

  8       A.   Yeah.

  9       Q.   Is this the receipt for the room for the hotel

 10   where the videos we have been referencing was made?

 11       A.   Yeah.

 12       Q.   And that's at the Anchorage Uptown Suites?

 13       A.   Yeah.

 14       Q.   And the date on there is November 26th and

 15   November 27th for the return receipt, correct?

 16       A.   Yeah.

 17       Q.   Bring that down.

 18            So describe what happened -- well, let's describe

 19   -- whose idea was it to go to a motel?

 20       A.   Tristan's.

 21       Q.   Did he tell you why he wanted to go to a motel?

 22       A.   It was originally just supposed to be for me like

 23   to do a video with him and like some pictures.

 24       Q.   What kind of video and what kind of pictures?

 25       A.   Like it was supposed to be like a sex video and




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  1   then just like modeling pictures, like lingerie.

  2       Q.   Is that what ultimately happened?

  3       A.   In a sense.

  4       Q.   Well, tell us the rest of the sense then.

  5       A.   Well, it just turned into like a drug-induced

  6   threesome.

  7       Q.   Between whom?

  8       A.   Me, Tristan and JS.

  9       Q.   Was there a video camera recording any of this

 10   that you remember?

 11       A.   Yeah.

 12       Q.   Do you remember which camera that was?

 13       A.   The one you showed me.

 14       Q.   This one, Exhibit 19?

 15       A.   Yes.

 16       Q.   So what happened when you got to the motel?

 17       A.   So when we got there and I got the room, the

 18   first room we went to it smelled like death, like

 19   somebody died or something, so like I went back down to

 20   get a different room and she put us in another room.

 21            And then like me and JS carried up my bag and her

 22   bag upstairs to the hotel.          And like we just kind of

 23   looked around and stuff.         And then Tristan was texting

 24   saying he was going to call some more homeboys over and

 25   stuff.




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  1            And I was like sitting on the couch, and then he

  2   suggested like, oh, we need some Ecstasy.              And I was

  3   like, "Oh, I know this person that I can go to to get

  4   some Ecstasy."       He is like, "Yeah, yeah, go pick up

  5   some."

  6            So I went over there.        I drove with JS to this

  7   guy's house, we picked it up, came back.              I gave it to

  8   Tristan.     And I was like, "But I don't want to take any,

  9   I'm just fine with this marijuana."            And he was like,

 10   "Well, if I take one, then you all going to take one for

 11   sure."     And so JS was already like messing around with

 12   heroin and stuff, so she took it really quick, no water.

 13            And I just grabbed my eyes and like just kind of

 14   dropped it into my shirt, because I was like fine with

 15   marijuana.     And he was like, "Did you take yours, did

 16   you take yours," and I was like, "Yeah."              He was like,

 17   "I know you didn't, you lied," and then he went like

 18   this and the pill came out, so I just like took it,

 19   whatever.

 20            So then he is like, "Okay, now go get ready.

 21   Stop wasting time."        Like that's when we started feeling

 22   like pressure to like move and don't waste this hotel.

 23   So I went and took a shower, and then JS took a shower.

 24   And we started playing around with makeup and stuff.

 25            He told me to go in the room, and I went in the




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  1   room.     And it started out with him taking pictures of me

  2   and JS like posing on the bed.           He gave us all this

  3   money that he had saved up and stuff and had us take

  4   pictures with it on the bed.

  5             And then I just started getting really

  6   uncomfortable, and I just told him, "Oh, go outside in

  7   the main area, we'll call you back when we're done, when

  8   we're ready."      So he went out there, and I just told JS

  9   we're just going to lock him out there and just stay in

 10   the room, because I wasn't feeling it.             I didn't know I

 11   was pregnant, but it was symptoms of my pregnancy

 12   showing up that was making me just tired.

 13             So he went out there, and he kept trying to come

 14   in.     So we just ended up locking the door again.                And me

 15   and JS are just taking pictures and making like little

 16   videos dancing to music to post on our Snapchats and

 17   social medias to look cool and shit.

 18             And JS told me she got a text message from one of

 19   our old friends that we hadn't seen in like years, Mary

 20   Rotzler (phonetic).        So Mary asked to come over because

 21   she was in the area.        She came over and came upstairs,

 22   and we like were just like, "Oh, Mary can take the

 23   pictures for us."

 24             So Mary started taking the pictures for me and JS

 25   while we were dancing and stuff.           And that's when




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  1   Tristan opened the door and was like, "Man, you ain't

  2   playing."      And I'm like I'm getting too much pressure so

  3   we might as well just do it.          So he came in and that's

  4   when he started like throwing out ideas on like how he

  5   wanted the video to play out.

  6              And JS threw out an idea, and I was like no,

  7   that's stupid, let's do this.           And he was like I'm just

  8   coming in and giving you money.           Like we all like

  9   pitched in small parts on like what the script should

 10   be.

 11              So that's when -- yeah.

 12         Q.   So this evolved into an attempt to make a movie

 13   with dialogue?

 14         A.   Yeah.

 15         Q.   Okay.   You talked about initially the defendant

 16   was out of the room?

 17         A.   Yeah.

 18         Q.   And you and JS were on camera being filmed?

 19         A.   Yeah.

 20                MR. REARDON:     Your Honor, at this point I would

 21   like to play Exhibit 19.3.          It is a non-contraband

 22   video, but it does show a minor in her underwear.                  We've

 23   turned off the outfacing videos as before, and it's

 24   approximately 14 seconds long.           Can we play that please,

 25   19.3.




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  1               (19.3 playing in open court.)

  2   BY MR. REARDON:

  3       Q.   So when you talk about you and JS making videos

  4   and just trying to -- without the defendant present, is

  5   that the type of video we're talking about?

  6       A.   Yeah.

  7       Q.   And the money there in that video in that scene,

  8   who did that come from?

  9       A.   Tristan.

 10       Q.   You're present in the red lingerie.            Just for the

 11   record, who is the person in the nude color lingerie?

 12       A.   JS.

 13       Q.   Do you know if there were several videos of that

 14   type that were made, several sections or segments and

 15   clips?

 16       A.   Yeah.    We were alternating between like the

 17   camera, her cell phone, my cell phone, yeah.

 18               MR. REARDON:      Your Honor, the government would

 19   move to admit Exhibit 19.4 and 19.5 into evidence, and

 20   19.6.

 21               MR. WENDT:     No objection.

 22               THE COURT:     They will be received.

 23               MR. REARDON:      Can I add 19.7 on that as well?

 24               MR. WENDT:     No objection.

 25               THE COURT:     Very well.




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  1                (Exhibit Nos. 19.4, 19.5, 19.6 and 19.7

  2   admitted.)

  3   BY MR. REARDON:

  4         Q.   In mentioning ideas about how this movie would

  5   play out, what was the defendant's part or his role that

  6   you all created for him?

  7         A.   I mean he was pretty much just like going to play

  8   like he was coming to collect, to pick up the money from

  9   us.

 10         Q.   When he came to collect, what would he find?

 11         A.   Us like laying on the bed in lingerie, trying to

 12   engage in like light-weight foreplay and telling him --

 13   giving him the money that we made for him.

 14         Q.   Can we show 19.8, please, Ms. Lotz.

 15                (19.8 playing in open court.)

 16                THE COURT:     Do you want this played over here?

 17                MR. REARDON:     It's tilted away.

 18                THE COURT:     Okay.   I don't know why you need to

 19   play it over there.        You can see it on your own.

 20                MR. REARDON:     I'm sorry, Your Honor.        You had a

 21   question during the --

 22                THE COURT:     I didn't know why you were playing

 23   it up there when you each have it on your screens.

 24                MR. REARDON:     We have turned our screens off so

 25   as to not allow the gallery to see it.




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  1   BY MR. REARDON:

  2       Q.    So you and JS are in that video and the person

  3   seen in the gray sweatshirt walking up the steps and

  4   into the room is the defendant?

  5       A.    Yes.

  6       Q.    There is another voice.        You referred to somebody

  7   else who is present in the room.           Is that Mary?

  8       A.    Yeah.

  9       Q.    Were there several attempts to get that scene

 10   right, as far as you know?

 11       A.    Yeah.

 12               MR. REARDON:      Your Honor, the government would

 13   move to admit Exhibits 19.8, 19.9, 19.10 into evidence.

 14               MR. WENDT:     No objection.

 15               THE COURT:     Very well.

 16               (Exhibit Nos. 19.8, 19.9 and 19.10 admitted.)

 17   BY MR. REARDON:

 18       Q.    And then at some point, was the plot of the

 19   movie, for lack of a better term, to have the defendant

 20   join into sex acts with you and JS?

 21       A.    Yes.

 22       Q.    Can we please play Exhibit 19.11?

 23               THE COURT:     So clear this up for me.         I'm not

 24   comfortable playing all of this stuff on this big

 25   screen.




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  1               MR. REARDON:      We can turn that off, Your Honor.

  2   That's fine.

  3               THE COURT:     I'm talking about the big screen.

  4   It's not necessary.        Do you have it squared away?

  5               MR. REARDON:      We do, Your Honor.

  6               THE COURT:     Thank you.

  7               MR. REARDON:      I would note for the record that,

  8   again, while we have attempted to protect the minor's

  9   privacy, there was no CP in any of those videos that we

 10   saw just yet.

 11               THE COURT:     I appreciate that.        I can see it,

 12   the defendant can see it, the witness can see it, and we

 13   know what's on it.

 14               MR. REARDON:      Can we play 19.11, please?

 15               (Exhibit 19.11 playing in open court.)

 16               MR. REARDON: I have asked this video to be

 17   paused at approximately the 44 second mark.

 18               We would ask that it be -- we offer it into

 19   evidence.     If there is any objection --

 20               MR. WENDT:     No objection.

 21               THE COURT:     It will be received.

 22               (Exhibit No. 19.11 admitted.)

 23   BY MR. REARDON:

 24       Q.   We paused it at 44 seconds.          Can you see the

 25   screen, Ms. Banks?




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  1       A.   Yeah.

  2       Q.   Did you see the defendant reach into his

  3   waistband and pull anything out?

  4       A.   Yeah.

  5       Q.   Can you tell what that is?

  6       A.   His gun.

  7       Q.   You say "his gun."        Was this something that you

  8   had seen him with previously?

  9       A.   Yeah, that's his gun.

 10       Q.   And in terms of seeing the defendant with guns,

 11   was that something that you saw frequently?

 12       A.   Yeah.

 13       Q.   What types of guns would you see him with?

 14       A.   I mean, for the most part, I only seen him with

 15   that one as like his go-to, but I mean there would be

 16   like people around with guns that maybe he'll either

 17   pick up and take a picture with, but that wasn't like

 18   what he would have on him like every day.              The one you

 19   see in that video, that's his go-to.

 20       Q.   Did you ever hear the defendant reference that

 21   gun or call it by any particular name?

 22       A.   No.

 23       Q.   Like the model?       You would call your car a Ford

 24   or you would call your phone an iPhone.             Did he ever

 25   reference the model or type of gun?




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  1         A.   No, but I could tell it was like a Glock 10.

  2         Q.   How can you tell that?

  3         A.   Because like I had other friends who said it.

  4         Q.   So after that video that we saw in 19.12, did the

  5   defendant then engage in sexual acts with both you and

  6   JS?

  7         A.   Yeah.

  8                MR. REARDON:     Your Honor, the government would

  9   move to admit Exhibits 19.12 through 19.19 into

 10   evidence.

 11                MR. WENDT:     19.12 --

 12                MR. REARDON:     19.12 through 19.19.

 13                MR. WENDT:     No objection.

 14                THE COURT:     They will be received.

 15                (Exhibit Nos. 19.12 - 19.19 admitted.)

 16   BY MR. REARDON:

 17         Q.   And over the course of the evening, were you

 18   videotaped performing sexual acts on JS?

 19         A.   Yeah.

 20         Q.   And over the course of the evening, were you --

 21   did you observe JS performing sexual acts on the

 22   defendant?

 23         A.   Yeah.

 24         Q.   At some point the camera that we have looked at a

 25   couple of times, do you know if anything happened to




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  1   that camera in terms of its ability to continue taking

  2   videos?

  3       A.    It died.

  4       Q.    What happened after it died?

  5       A.    We started using our cell phones.

  6       Q.    Did you use your cell phone to take an additional

  7   video?

  8       A.    Yeah.

  9       Q.    Do you recall what that video was of?

 10       A.    JS giving Tristan like head.

 11       Q.    JS performing oral sex?

 12       A.    Oh, yeah, sorry.

 13       Q.    JS performing oral sex on the defendant?

 14       A.    Yeah.

 15               MR. REARDON:      Your Honor, the government would

 16   move to admit Exhibit No. 12.8 into evidence.

 17               MR. WENDT:     No objection.

 18               THE COURT:     It will be received.

 19               (Exhibit No. 12.8 admitted.)

 20               MR. REARDON:      Can I just ask, 19.3 was offered.

 21   Has that been admitted into evidence yet?

 22               The government would offer 19.3 into evidence

 23   as well, Your Honor.

 24               MR. WENDT:     No objection.

 25               THE COURT:     It will be received.




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  1               (Exhibit No. 19.3 admitted.)

  2   BY MR. REARDON:

  3       Q.   In one of the videos we looked at there was a gun

  4   that we observed that Mr. Grant pulled from his pants.

  5   Do you ever recall being present with Mr. Grant when

  6   there were any guns purchased or bought at gun stores?

  7       A.   Yes.

  8       Q.   Describe for the Court the incidents that we're

  9   talking about.

 10       A.   We were like driving around, me, Tristan and two

 11   of his friends -- yeah, two of his friends.               They were

 12   in the back.      I was the passenger.        Tristan was driving.

 13   They had went to like one gun store to find a Nano mini

 14   compact gun that he wanted really bad.             They didn't have

 15   it at one gun store, so like we left.

 16            Then we went to Granny's Guns and they had it.

 17   So the girl that was with us, I think she was like 18 or

 18   19, but she didn't have a record or nothing so she could

 19   buy the gun, but on the way there, like, I don't know,

 20   Tristan was in one of his episodes going off about

 21   something and the girl started to feel uncomfortable

 22   purchasing the gun because she had a fear it was going

 23   to be used in a crime, so she started to like back out.

 24            And the guy that was like her boyfriend at the

 25   time was just like trying to calm her down.               And then




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  1   Tristan got mad and was like, "Why would I have you buy

  2   something that's going to get me in trouble and you in

  3   trouble," and went on that rant.           The girl's boyfriend

  4   was like, "Oh, she's just saying that because you

  5   talking about killing people."           And Tristan was like,

  6   "I'm just kidding."

  7              So the girl calmed down and went to the store,

  8   went in with her boyfriend.          They purchased the gun, but

  9   they wouldn't be able to pick it up for a day or maybe

 10   three-day hold or something like that.             They eventually

 11   got the gun.       It never made it in my house, but they got

 12   it.

 13         Q.   That was a gun you described as a Nano?

 14         A.   Yeah.

 15         Q.   Did you ever see that gun?

 16         A.   Yeah, I saw it like one time when he was on his

 17   phone like looking at the video that he took on

 18   Snapchat.      He's just like looking.        I think he decided

 19   he wanted to post it, but I don't know if he posted it

 20   or not.      All I know is I was sitting on the couch by him

 21   and he was going through Snapchat and I seen him

 22   watching the video.

 23         Q.   Can we pull up 13.19, please.

 24              You mentioned seeing a video of Mr. Grant with

 25   that gun.      I'm going to show you 13.19.




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  1            13.18.    I apologize, Ms. Lotz.

  2               (13.18 playing in open court.)

  3   BY MR. REARDON:

  4       Q.   Can we play 13.19, please.

  5               (13.19 playing in open court.)

  6   BY MR. REARDON:

  7       Q.   Do you recognize either of those two videos,

  8   13.18 or 13.19?

  9       A.   Yeah.

 10       Q.   How do you recognize them?

 11       A.   Because it was on his phone as he was going

 12   through his phone.        I was on the couch.

 13       Q.   Are those the videos that you referenced before?

 14       A.   Yes.

 15       Q.   Do you recognize the location those videos were

 16   filmed in?

 17       A.   Julissa's house.

 18       Q.   Who is Julissa?

 19       A.   His like best friend.

 20       Q.   Is her name Julissa Carter?

 21       A.   Yeah.

 22       Q.   Does she also go by the name Red?

 23       A.   Yeah.

 24       Q.   The voice that you heard in those videos, do you

 25   recognize that voice?




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  1       A.   Yeah, Tristan.

  2       Q.   And the clothing or the shoes or anything else,

  3   did you recognize that as being associated with the

  4   defendant?

  5       A.   Yeah.

  6       Q.   What did you recognize?

  7       A.   His pants and like his sweater.

  8               MR. REARDON:      Your Honor, the government moves

  9   to admit Exhibit No. 13.18 and 13.19 into evidence.

 10               MR. WENDT:     No objection.

 11               THE COURT:     They will be received.

 12               (Exhibit Nos. 13.18 and 13.19 admitted.)

 13   BY MR. REARDON:

 14       Q.   Other than seeing the video, had you seen the

 15   actual gun?

 16       A.   No, I never seen it in person.

 17       Q.   Okay.

 18       A.   But I was told like it was left in the back of

 19   people's cars.

 20               MR. WENDT:     Objection; hearsay, Your Honor.

 21               THE COURT:     Sustained.

 22   BY MR. REARDON:

 23       Q.   The purchase of the gun, it was you and the

 24   defendant and two other people.           The two other people

 25   went into the store to buy it?




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  1       A.   Yeah.

  2       Q.   And one of those was an 18- or 19-year-old you

  3   said who didn't have a record?

  4       A.   Yeah.

  5       Q.   Do you know where she got the money -- do you

  6   know if the other person had a record?

  7       A.   Yeah, I believe so, yeah.

  8       Q.   And do you know where they got the money or the

  9   18- or 19-year-old got the money to buy the gun?

 10       A.   Tristan.

 11       Q.   How do you know that?

 12       A.   Because he passed it to her as she was getting

 13   out of the car.       She came back and told him the price,

 14   and then he gave it to her and she went in the store and

 15   bought it.

 16       Q.   During the time that you were with the defendant,

 17   were you familiar with a documentary that he was

 18   attempting to make?

 19       A.   Yeah.

 20       Q.   And what was going on as it concerned a

 21   documentary?

 22       A.   He was just kind of like, from my understanding

 23   of what he told me, like he was trying to capture his

 24   life and what it's like to be the Gingerbread Man, so he

 25   would have like his cameraman, Speedy, follow him around




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  1   and do occasional interviews with like is homeboys and

  2   stuff.     Just really like glorifying his lifestyle and

  3   what he chooses to do.         I want to say after he got out

  4   of the hospital his cameraman asked me a few questions.

  5   I didn't really know him at the time.             I was just going

  6   based off of like first impressions, thoughts and stuff.

  7   So I just made a comment like, "Oh, like he's really

  8   smart," like that.

  9       Q.   Did you ever see that documentary or any scenes

 10   from it?

 11       A.   No.   I know I came home and everybody was in the

 12   living room with their shoes on, and I got really upset.

 13   And they had all these computers going with all of these

 14   keyboards and internet, but it was the shoes.               And I

 15   said, "Take your shoes off or get out," and his friends

 16   are like, "This is not your apartment, this is Goo's

 17   apartment."

 18            And Tristan got mad and looked at me like I

 19   dished his friends, so his friends ended up wrapping up

 20   all their stuff and then got out.

 21       Q.   You didn't see what they were working on?

 22       A.   It was the video.       It was his documentary, but I

 23   didn't like care.       I did not think it was going to go

 24   anywhere.

 25       Q.   You haven't seen any sort of final product?




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  1       A.    No.

  2       Q.    You have mentioned it several times.            I want to

  3   ask you about being shot.          You were shot on

  4   December 12th of 2018?

  5       A.    Uh-huh.

  6       Q.    You were shot by whom?

  7       A.    Tristan.

  8       Q.    Can you explain for the Court what happened, what

  9   happened when you were shot?

 10       A.    I had just got done revoking my mom's restraining

 11   order on me, because she had one on me to stop me from

 12   coming to my house, so I squashed hers and got another

 13   one.     And my mom left for the night to my sister's

 14   house.

 15             I was with my friend Lance, a 16-year-old.               We

 16   were at my house pretty much just like cleaning up

 17   everything my mom left behind.           And Tristan was supposed

 18   to pick me from the courthouse, but he never followed

 19   through, so I ended up just walking home with Lance.

 20             When we got home, I was in contact with some

 21   detectives from Los Angeles who were going to fly me up

 22   like the next day early in the morning, so I had like a

 23   plane to catch.       And I was like making last-minute

 24   things to pack up my stuff so I can catch the flight to

 25   be a witness in another state.




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  1             And I had called Tristan and told him that I had

  2   wanted some marijuana and I couldn't get it because I'm

  3   not 21.     So he came and picked up me and Lance, and he

  4   was in the passenger seat and Rubin was in the driver

  5   seat and I was behind Tristan, and Lance was on my side,

  6   but Lance was like super scared of Tristan, because

  7   whatever he's heard.

  8             So I had told him to like go to this dispensary.

  9   On the way to the dispensary, they like stopped over at

 10   Wal-Mart for some reason.          And Rubin was asking about

 11   what happened to the blue truck that Tristan had

 12   brought.     And Tristan made a reference to like selling,

 13   he sold it or something.         And I was like, "You sold the

 14   truck," like shocked.

 15             And then he got mad and like turned around, like

 16   grabbed me by my collar and like yelled at me and said I

 17   talked too much.       And he was like, "You stink," and he

 18   threw me out of the car.         And me and Lance, he like

 19   stranded us at Wal-Mart, so we ended up catching a cab

 20   from Wal-Mart.       I went back home and I cooked some food.

 21             I felt bad because I felt like it was my fault I

 22   pissed him off.       So I texted him and was like, "I made

 23   some food, just come home and calm down.              We just doing

 24   too much."     Plus, I wasn't planning on coming back to

 25   Alaska because I felt like as long as I'm in Alaska,




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  1   he's always going to be around and always in control.

  2            So I got him to come over.          He calmed down.           We

  3   managed -- he dropped off Rubin.           He took me and Lance

  4   out again, bought some weed from one of our friends

  5   because the dispensaries were closed.             He was looking

  6   for cars.     There was cars driving around, so he was

  7   paranoid thinking they were going to shoot him, so I was

  8   helping him identify, oh, is that the person.               He got

  9   mad.

 10            We went home, and I just seen he was in a very

 11   argumentative mood.        I just didn't want to bother, so I

 12   went straight into my room and slammed the door.                   I

 13   said, "You're sleeping on the couch or getting out."

 14   Lance was on the couch still, and my cell phone was in

 15   the kitchen on the counter, but my SIM card was in

 16   Lance's phone.

 17            So Tristan was like, "I'm not eating this fucking

 18   food.    It looks disgusting," just like degrading the

 19   cooking.     I'm like, "You didn't even have anything to

 20   cook."     We were arguing through the door.           I said, "Stop

 21   banging on my door.        I'm going to call the cops."

 22            He said, "Yeah, that's if you make it this time."

 23   I never heard him talk that menacing and sinister, so I

 24   kind of got scared.        He left something in my room.               He

 25   left a gun in there.        He left his gun, because when he




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  1   came in, he dropped it off, but he left it in there.                     He

  2   was asking for it.

  3            So I tried to slide it under the door to give it

  4   to him because I didn't want to confront him, but it

  5   wouldn't fit.      So I opened the door and I handed it to

  6   him, and I was like scared of just his presence because

  7   he was just like really quiet looking like he was going

  8   to choke me.      He has vice-grip hands.

  9            So I was just scared, and I was trying to walk

 10   past him.     And I didn't even hear when he shot me.              I

 11   just know I made it past him, I got into the hallway,

 12   and he was like, "Yeah, that's how you shot yourself."

 13   And I looked at him.        My friend was like in the living

 14   room like just scared looking at me.             That's when I

 15   looked and realized that he had shot me.              He was

 16   standing there holding the gun looking at me.

 17            I was like, "I'm not going to sit here and be

 18   like, you shot me," so then he can like shoot me in the

 19   head.    So I slid down on the floor.          That's when the

 20   adrenaline started wearing off.           He ran and tried to

 21   give the gun to my friend, Lance.            And my friend, Lance,

 22   was like, "No," and he just took off running.

 23            He left the apartment.         And my friend, I told him

 24   to go call the ambulance.

 25       Q.   The gun that he shot you with, do you remember




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  1   that gun?

  2       A.   Yeah.

  3       Q.   Was that the same gun that we saw in the video

  4   earlier?

  5       A.   Yeah.

  6       Q.   When he left the apartment, how long between when

  7   he shot you and ran out of the apartment?

  8       A.   It was less than 60 seconds.

  9       Q.   Do you know if he ran out with that gun or not?

 10       A.   Yeah.    It was in his hand, because my friend

 11   wouldn't take it.

 12       Q.   Now, after being shot, did you ever have any

 13   contact or communication with the defendant?

 14       A.   Yeah.    I mean, while I was in the hospital, after

 15   they brought me back to, he had Julissa calling the

 16   hospital trying to see if I was dead or alive.               And my

 17   sister ended up cussing her out and stuff, telling her

 18   not to call and that I was alive.

 19            So that's when I got my phone back from

 20   detectives and he called from jail and was pretty much

 21   just trying to rehash the story.           "Yeah, you

 22   accidentally shot yourself," and da, da, da.

 23            And that's when for the first time me and Marika

 24   Alex were able to have like good communication to try to

 25   help him.     So he was telling her pick me up to do this,




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  1   pick me up to tell me to do a notarized statement to say

  2   I shot myself, just so many intimidating factors.                   And

  3   then Julissa posted up outside the house, and it was so

  4   much.    So I ended up recanting all of my statements.

  5   And, yeah, he was calling.

  6            And then he called me when I was at the hotel and

  7   just told me like pretty much that the police aren't

  8   trying to help me and stuff like that.             And so I was

  9   just overwhelmed, and I just told the detective I don't

 10   want anything else to do with it.

 11       Q.   So you said that you ended up recanting all of

 12   your statements.       Did you change your story?

 13       A.   Yeah.

 14       Q.   Why did you do that?

 15       A.   Well, because that's what Tristan was telling me

 16   to do via Marika, via Julissa, via his other friends,

 17   like male friends.        And I felt like word was getting on

 18   the street that I could potentially lose my life because

 19   they feel I'm responsible for his actions.

 20            And so I have my mom and my sister there.                 People

 21   are threatening my sister, my mom.            So I just went and

 22   did it, because I'm like I can't just be selfish and

 23   look at it's just my life, it's my sisters' lives now.

 24   And then his baby mom wouldn't stop coming to the house,

 25   like in the middle of night coming to the house.                   And I




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  1   had already seen like what he does when he wants to kill

  2   people, so there wasn't any question in my mind that I'm

  3   going to go and do what he says.

  4       Q.   You said that you were concerned for your safety

  5   back then.       Are you still concerned for your safety?

  6       A.   Absolutely.

  7       Q.   What about the safety of your family?

  8       A.   Yeah.

  9       Q.   At the time you were shot, were you pregnant?

 10       A.   Yeah.

 11       Q.   Who is the father of that child?

 12       A.   Tristan.

 13       Q.   Did he know that you were pregnant at that time?

 14       A.   Yeah, because he made a bunch of comments.                When

 15   like I would go off on him, he would, "Oh, what are you

 16   pregnant or something."         Like he could tell, but I was

 17   like so stressed out and couldn't even pay attention to

 18   my own body, because of just what was going on with the

 19   relationship and everything that was happening.                And it

 20   was just so overwhelming.

 21            So he would point it out, but I never like took

 22   the time to actually look into it.            And, yeah, he

 23   referenced statements and then, "Why are you walking

 24   like a monkey?"       Like I didn't know that.         And then he

 25   noticed that I picked up an eating habit, and so he was,




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  1   "Oh, yeah, you fat ass, you got a baby in there or

  2   something," like comments like that that I didn't really

  3   take too much weight to because I thought it was shit

  4   talk, but it -- like he knew.           I feel like honestly he

  5   knew.    That's why I was shot in the area I was shot

  6   instead of anywhere else.

  7       Q.   Where were you shot?

  8       A.   In the stomach and the vagina.

  9               MR. REARDON:      Can I have just a moment, Your

 10   Honor.

 11               (Pause.)

 12   BY MR. REARDON:

 13       Q.   One more exhibit I would like to show you.

 14               MR. REARDON:      May I approach, Your Honor?

 15               THE COURT:     Very well.

 16               (Mr. Reardon approaches the witness.)

 17   BY MR. REARDON:

 18       Q.   I have put up in front of you what's been marked

 19   as Exhibit 17.       Do you recognize Exhibit 17?

 20       A.   Can I like touch it?

 21       Q.   Sure.

 22       A.   I can't see the back.        I can't reach it.        Can you

 23   do it?    Is that an iPhone 4 or something?            I want to say

 24   this is Tristan's phone.

 25       Q.   Just to be clear, Exhibit 17 looks like




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  1   defendant's phone?

  2       A.    Yeah.   I just remembered it being smaller.

  3               MR. REARDON:      No further questions, Your Honor.

  4               THE COURT:     Okay.    You want to wait until

  5   tomorrow for cross examination, or what's your thinking,

  6   Mr. Wendt?

  7               MR. WENDT:     We can wait until tomorrow.

  8               THE COURT:     Unless you can finish up in a few

  9   minutes.

 10               MR. WENDT:     I cannot finish up in a few

 11   minutes.

 12               THE COURT:     Let's take this up tomorrow at

 13   8:30.     She can go.

 14               There are a few things I want to take up with

 15   counsel.

 16               Thank you, ma'am.       Just to be back tomorrow at

 17   8:30.

 18               (Witness exits courtroom.)

 19               THE COURT:     So we're going to start tomorrow

 20   with this witness.        What does it look like from the

 21   government?

 22               MR. REARDON:      Your Honor, Ms. Banks.        I think

 23   we would like to do Officer McMillan still.               Then we

 24   will call Silky.        And then likely an FBI witness, Lisa

 25   Watson.     And then JS.     And then likely an FBI agent,




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  1   Daryl Allison.

  2               THE COURT:     So it's a full day tomorrow?

  3               MR. REARDON:      Detective Torres and Special

  4   Agent Goeden.

  5               THE COURT:     Let's go for it like crazy

  6   tomorrow.     I have a problem -- not a problem.            I have a

  7   question for the government about your jury -- about I

  8   guess the jury instruction about sexual exploitation of

  9   a child.

 10               I looked at the one that the government gave

 11   me.    They don't -- for Counts 6, 7 and 8, are you with

 12   me, 6, 7 and 8, the instructions that the government

 13   gave me didn't have as an element knowledge of age or

 14   the fact that the person was a minor.             I think that may

 15   have been an oversight.

 16               But then I looked up the exploitation of a

 17   child jury instruction, and it has as the element that

 18   the person has to be under the age of 18.              It doesn't

 19   say anything about knowingly under the age as an

 20   element.

 21               So I need to know what the law is with regard

 22   to Counts 6, 7 and 8, and I'm confused about what has

 23   been given to me.

 24               MR. REARDON:      Does Your Honor want it now?

 25               THE COURT:     You know right now?




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  1               MR. REARDON:      The law in the Ninth Circuit is

  2   that the United States -- well, the law everywhere is

  3   the United States does not have to prove that the victim

  4   is a minor.

  5               THE COURT:     Say that again. Does not?

  6               MR. REARDON:      Does not have to prove.         However,

  7   in the Ninth Circuit, I wouldn't characterize it as a

  8   strict liability offense.          The Ninth Circuit does permit

  9   a limited mistake of age defense, and that case is U.S.

 10   District Court for the Central District of California,

 11   it's called Kantor, 858 F.2d 534, a 1988 case.               It holds

 12   that knowledge of a minor's age is not necessary for

 13   conviction under Section 2251, but does permit a limited

 14   mens rea defense.

 15               What is required is the defendant to show,

 16   quote, "by clear and convincing evidence that he did not

 17   know and could not reasonably have learned that the

 18   minor was under 18 years of age."            There is a Nevada

 19   case that interprets that, United States versus Ditirro

 20   2018 Westlaw 4934080.        It's from October 11th of 2018.

 21   And it lays out additional factors.

 22               There is also a United States versus Dickerson,

 23   735 Fed.Appx. 349, a Ninth Circuit case from 2018 that's

 24   unpublished.      And specifically in the Dickerson case,

 25   there was a situation where the victim told others her




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  1   true age.     Her true age was known to others and the

  2   defendant failed to take any steps to inquire about the

  3   victim's age.

  4               Under the Kantor case and its subsequent cases,

  5   the clear and convincing standard is a high one, but it

  6   is again a defense that the defendant may offer in this

  7   limited circumstance.        All of those cases and that

  8   explanation is at pages 19, 20 and 21 of the

  9   government's trial brief.

 10               THE COURT:     I'm looking at the government's

 11   proposed jury instruction at Docket 162.              It has two

 12   elements for this crime for 6, 7 and 8.             It doesn't

 13   mention that the person was a juvenile or a minor.                 I

 14   think it needs one more element.

 15               I'm not talking about whether he knew it or

 16   not.     I'm talking about whether the person -- all the

 17   other counts have that as required.            I'm just trying to

 18   get the proper law.

 19               So if you look again at your proposed

 20   instruction at Docket 162 and tell me if that's really

 21   what you want the law to be in this case, or if it's

 22   missing an element because it appears to be missing an

 23   element.     If I go to the criminal -- to the federal

 24   proposed instructions, 8-181, sexual exploitation of a

 25   child.     I'm just trying to get it right.




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  1               MR. REARDON:      I understand, Your Honor.            The

  2   only element the United States would add is that for JS,

  3   the element that JS was a minor.

  4               THE COURT:     Okay.     So it needs that element in

  5   there.

  6               MR. REARDON:      It does.

  7               THE COURT:     That's not in this proposal.             I'm

  8   going to fix that one.         I don't even know all the other

  9   stuff you're talking -- are you telling me you want a

 10   different instruction with regard to the defense or are

 11   you just happy with this instruction?

 12               MR. REARDON:      This is the instruction, Your

 13   Honor.    This is the Ninth Circuit's instruction with the

 14   additional element that the Court commented on.

 15               I misunderstood the Court's question.             That is

 16   the defendant's burden to show.           They can argue that

 17   law.

 18               THE COURT:     Okay.     As a defense they can say he

 19   didn't know that this was a minor, but --

 20               MR. REARDON:      Yes.

 21               THE COURT:     All you have to do under your

 22   theory is prove that she was a minor.             Beyond that, his

 23   knowledge you don't think is relevant except under the

 24   limited purpose you just discussed.

 25               MR. REARDON:      Correct, Your Honor.




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  1               THE COURT:     I think I understand.        Okay.

  2               Mr. Wendt, what do you have to add?

  3               MR. WENDT:     I have nothing at this time, Your

  4   Honor.

  5               THE COURT:     So we're ready to start 8:30 sharp

  6   tomorrow morning.       I am still working, frankly, on

  7   written findings of fact and conclusions, so that's why

  8   I'm interested in these details.           And I'm going to be

  9   working late at night so that we can get this done at

 10   the end of the trial.

 11               MR. REARDON:      Thank you, Your Honor.

 12               THE COURT:     Anything else?

 13               DEPUTY CLERK:      All rise.     This matter stands in

 14   recess until tomorrow morning at 8:30 a.m.

 15               (Recessed at 4:43 p.m.)

 16

 17                                CERTIFICATE

 18      I, Sonja L. Reeves, Federal Official Court Reporter
      in and for the United States District Court of the
 19   District of Alaska, do hereby certify that the foregoing
      transcript is a true and accurate transcript from the
 20   original stenographic record in the above-entitled
      matter and that the transcript page format is in
 21   conformance with the regulations of the Judicial
      Conference of the United States.
 22
          Dated this 18th of April, 2021.
 23

 24
                                       /s/ Sonja L. Reeves
 25                                   SONJA L. REEVES, RMR-CRR
                                      FEDERAL OFFICIAL COURT REPORTER


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